 Case 21-30037        Doc 128     Filed 02/08/21 Entered 02/08/21 16:11:35          Desc Main
                                  Document      Page 1 of 214



                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MINNESOTA


In re:

Tea Olive I, LLC d/b/a Stock+Field,                      Case No.: 21-30037
                                                         Chapter 11 Case
                Debtor.



  GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY, AND
     DISCLAIMER REGARDING DEBTOR’S SCHEDULES OF ASSETS AND
          LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS


         Debtor Tea Olive I, LLC d/b/a Stock+Field (the “Debtor”) submit this set of Schedules of

Assets and Liabilities (the “Schedules”) and Statement of Financial Affairs (the “Statement” and,

together with the Schedules, the “Schedules and Statement”) pursuant to section 521 of title 11

of the United States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”).

         On January 10, 2021 (the “Filing Date”), the Debtor commenced the above-captioned

chapter 11 case by filing a voluntary petition for relief under chapter 11 of the Bankruptcy Code

with the United States Bankruptcy Court for the District of Minnesota (the “Bankruptcy Court”).

The Debtor is authorized to operate its business as debtor-in-possession pursuant to sections

1107(a) and 1108 of the Bankruptcy Code.

         The Schedules and Statement were prepared by the Debtor’s management and are

unaudited.    While those members of management responsible for the preparation of the

Schedules and Statement have made a reasonable effort to ensure that the Schedules and

Statement are accurate and complete based on information known to them at the time of

preparation after reasonable inquiries, inadvertent errors or omissions may exist and/or the
 Case 21-30037        Doc 128     Filed 02/08/21 Entered 02/08/21 16:11:35              Desc Main
                                  Document      Page 2 of 214



subsequent receipt of information may result in material changes in financial and other data

contained in the Schedules and Statement. Accordingly, the Debtor reserves the right to amend

and/or supplement its Schedules and Statement from time to time as may be necessary or

appropriate, but there can be no guarantees that the Debtor will do so.

       The Debtor and its agents, attorneys, and financial advisors do not guarantee or warrant

the accuracy or completeness of the data that is provided herein and shall not be liable for any

loss or injury arising out of or caused in whole or in part by the acts, errors, or omissions,

whether negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,

communicating, or delivering the information contained herein. While commercially reasonable

efforts have been made to provide accurate and complete information herein, inadvertent errors

or omissions may exist. The Debtor and its agents, attorneys, and financial advisors expressly do

not undertake any obligation to update, modify, revise, or re-categorize the information provided

herein, or to notify any third party should the information be updated, modified, revised, or re-

categorized, except as required under the Bankruptcy Code or the Bankruptcy Rules. In no event

shall the Debtor or its agents, attorneys, and financial advisors be liable to any third party for any

direct, indirect, incidental, consequential, or special damages (including, but not limited to,

damages arising from the disallowance of a potential claim against the Debtor or damages to

business reputation, lost business or lost profits), whether foreseeable or not and however caused,

even if the Debtor or its agents, attorneys, and financial advisors are advised of the possibility of

such damages. These Global Notes and Statements of Limitations, Methodology and Disclaimers

Regarding Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs

(these “Global Notes”) are incorporated by reference in, and comprise an integral part of, the

Schedules and Statement, and should be referred to and reviewed in connection with any review
 Case 21-30037        Doc 128     Filed 02/08/21 Entered 02/08/21 16:11:35               Desc Main
                                  Document      Page 3 of 214



of the Schedules and Statement. In the event that the Schedules and Statement differ from these

Global Notes, these Global Notes shall control.

General Comments

       Reservation of Rights. The Debtors reserve the right to dispute, or to assert setoff or

other defenses to, any claim reflected in the Schedules and Statement as to amount, liability, and

classification. The Debtors also reserve all rights with respect to the values, amounts, and

characterizations of the assets and liabilities listed in its Schedules and Statement.

       Basis of Presentation.       The Schedules and Statement do not purport to represent

financial statements prepared in accordance with Generally Accepted Accounting Principles

(“GAAP”), nor are they intended to reconcile to the financial statements previously distributed to

lenders, major creditors, or others on an intermittent basis.

       The Schedules and Statement have been signed by Matthew Whebbe (“Whebbe”). In

reviewing and signing the Schedules and Statement, Whebbe necessarily relied upon the efforts,

statements, and representations of the Debtor’s accounting and non-accounting personnel who

report to, or work with, Whebbe, either directly or indirectly. Whebbe has not, and could not

have, personally verified the accuracy of each such statement and representation, including

statements and representations concerning amounts owed to creditors.

       Date of Valuation. Except as otherwise noted in these Global Notes or in the Schedules

and Statement, all liabilities, as well as cash, inventory, and vendor debit balances, are valued as

of the Filing Date. All assets also are valued as of the Filing Date, to the extent possible. All

values are stated in United States currency. In certain instances, the Debtor used estimates or

pro-rated amounts where actual data as of the Filing Date was not available. The Debtor made a

reasonable effort to allocate liabilities between the pre- and post-petition periods based on the
 Case 21-30037        Doc 128      Filed 02/08/21 Entered 02/08/21 16:11:35          Desc Main
                                   Document      Page 4 of 214



information and research that was conducted in connection with the preparation of the Schedules

and Statement. As additional information becomes available and further research is conducted,

the Debtor may modify the allocation of liabilities between the pre- and post-petition periods and

amend the Schedules and Statement accordingly.

       Book Value. Except as otherwise noted, each asset and liability of the Debtor is shown

on the basis of net book value of the asset or liability in accordance with the Debtor’s books and

records. Therefore, unless otherwise noted, the Schedules and Statement are not based upon any

estimate of the current market values of the Debtor’s assets and liabilities, which may not

correspond to book values. It would be cost prohibitive and unduly burdensome to obtain

current market valuations of the Debtor’s property interests. Except as otherwise noted, the

Debtor’s assets are presented as they appear on the Debtor’s accounting sub-ledgers. As such,

the information may include error corrections and value adjustments. The Debtor believes that

certain of its assets, including goodwill, may have been significantly impaired by, among other

things, the events leading to, and the commencement of, the Debtor’s chapter 11 case. The

Debtor has not yet formally evaluated the appropriateness of the carrying values ascribed to its

assets prior to the Filing Date.

        Property and Equipment. Owned property and equipment are recorded at cost and are

shown net depreciation.      Depreciation is recorded using the straight-line method over the

estimated useful lives of the assets, which range from 3-7 years for furniture, fixtures,

equipment, and software. Leasehold improvements are amortized on the straight-line method

over the shorter of the lease term or estimated useful life of the asset.

       Causes of Action. The Debtor has made its best efforts to set forth known causes of

action against third parties as assets in their Schedules and Statement. The Debtor reserves all of
 Case 21-30037       Doc 128      Filed 02/08/21 Entered 02/08/21 16:11:35            Desc Main
                                  Document      Page 5 of 214



its rights with respect to causes of action it may have, whether disclosed or not disclosed, and

neither these Global Notes nor the Schedules and Statement shall be deemed a waiver of any

such causes of action.

       Litigation. The Debtor made reasonable efforts to accurately record litigation or similar

proceedings in which it was involved in the past year (the “Litigation Actions”). The inclusion

of any Litigation Action in these Schedules and Statement does not constitute an admission by

the Debtor of liability, the validity of any Litigation Action, or the amount of any potential claim

with respect to any Litigation Action, or the amount and treatment of any potential claim

resulting from any Litigation Action currently pending or that may arise in the future.

       Application of Vendor Credits. In the ordinary course of its business, the Debtor

applies credits against amounts otherwise due to vendors. These credits arise because, among

other matters, (i) materials ordered and paid for may not be delivered, (ii) materials delivered

may be damaged or unusable, (iii) co-marketing arrangements, and (iv) vendor provided volume

rebates and cash discounts. Certain of these credits are subject to change. Vendor claims are

listed at the amounts entered on the Debtor’s books and records, which may or may not all reflect

credits or allowances due from such creditors to the Debtor. The Debtor reserves all rights with

respect to such credits and allowances.

       Claims. Certain of the Debtor’s Schedules list creditors and set forth the Debtor’s

estimate of the claims of creditors as of the Filing Date. By estimating certain invoices, the

Debtor is not representing that they have sought to identify and estimate all un-invoiced charges,

such as vendor charges. Given that many claims are an aggregate of multiple invoices, the

Debtor has generally not attempted to identify the date or dates debt was incurred. The Debtor

intentionally has not included “non-cash” accruals, i.e. accruals to recognize expense or liability
 Case 21-30037        Doc 128      Filed 02/08/21 Entered 02/08/21 16:11:35           Desc Main
                                   Document      Page 6 of 214



over multiple periods where no specific obligations to perform is established, such as accruals to

equalize lease payments, in the Schedules and Statement.

       The Bankruptcy Court has authorized the Debtor, among other matters, to (i) continue

certain customer practices, (ii) pay certain prepetition wages, salaries, employee benefits and

other related obligations, (iii) pay certain prepetition taxes, and (iv) make deposit arrangements

with utility providers. Because the claims stated herein are as of the Filing Date, certain of these

types of adjustments are not captured in the information set forth herein. Accordingly, the actual

unpaid claims of creditors that may be allowed in this case may differ from the amounts set forth

in the Schedules and Statement. For example, the Debtor has not attempted to reflect any alleged

recoupments in the claims of utility companies or other parties holding prepetition deposits that

may assert (or have asserted) a recoupment right. Additional information regarding how specific

types of claims are reflected in the Schedules and Statement is provided below.

       Any failure to designate a claim listed on a Schedule as “disputed,” “contingent,” “or

“unliquidated” does not constitute an admission by the Debtor that the claim is not “disputed,”

“contingent,” or “unliquidated.” The Debtor reserves the right to (i) object to or otherwise

dispute or assert setoff rights, cross-claims, counterclaims or defenses to, any claim reflected on

the Schedules as to amount, liability or classification or (ii) otherwise to designate subsequently

any claim as “disputed,” “contingent” or “unliquidated.”

       The claims listed on the Schedules do not reflect any analysis of claims under section

503(b)(9) of the Bankruptcy Code. Accordingly, the Debtor reserves all of its rights to dispute or

challenge the validity of any asserted claims under section 503(b)(9) of the Bankruptcy Code or

the characterization of the structure of any such transaction or any document or instrument

related to any creditor’s claim.
 Case 21-30037        Doc 128      Filed 02/08/21 Entered 02/08/21 16:11:35          Desc Main
                                   Document      Page 7 of 214



         The Debtor has excluded potential rejection damage claims of counterparties to executory

contracts and unexpired leases that may or may not be rejected, to the extent such damage claims

exist.

         Employee Claims and Notice.        The Bankruptcy Court entered an order granting

authority to, but not requiring, the Debtor to pay prepetition employee wages, salaries, benefits,

and other related obligations. With the possible exception of certain prepetition severance and

deferred compensation obligations, the Debtor currently expects that most prepetition employee

claims for wages, salaries, benefits and other related obligations either have been paid or will be

paid in the ordinary course of business and, therefore, the Schedules and Statement do not

include such claims. Notwithstanding the foregoing, the Debtor reserves its rights to (i) evaluate

whether to modify or terminate any employee plan or program and (ii) modify or terminate, with

respect to discretionary obligations, or seek to modify or terminate any such plans or programs.

Although the Schedules and Statement do not list employees as creditors, the Debtor has

attempted to give notice of this case and the claim deadline to all current and former (within the

last year) employees, pursuant to the notice procedures approved by the Court. Accordingly, if

employees believe they hold a claim against the Debtor, they should have the information

required to assert such a claim.

         Customer Programs and Obligations. The Bankruptcy Court entered an order granting

authority to, but not requiring, the Debtor to honor and pay prepetition amounts related to

customer programs and obligations, such as returns and refunds and gift cards or rewards

certificates. As a result, the Debtor currently expects that any claims that may otherwise exist

related to such programs and obligations either have been paid or will be paid in the ordinary

course of business and therefore, the Schedules and Statement generally do not include such
 Case 21-30037       Doc 128      Filed 02/08/21 Entered 02/08/21 16:11:35            Desc Main
                                  Document      Page 8 of 214



claims. The Schedules and Statements do, however, provide the total outstanding amount of

purchased gift cards and the Ag Plus account credits as of the Filing Date. The Debtor does not

expect that the full face amount of such obligations will be satisfied, mainly because a substantial

amount of such obligations relate to many years ago, and if such gift cards or merchandise cards

have not already been used, it is unlikely that they will be in the future. The Debtor has or is in

the process of complying with the Court-approved notice procedures related to notice to gift card

holders.

Schedules

Schedule A/B – Real and Personal Property

       Item No. 21 – Finished goods, including goods held for resale. Inventory is shown as of

the Filing Date and includes inventory adjustments. Inventory is shown net of reduction for

shrink, lower of cost or market, and inventory reserves, as well as the unamortized portion of

vendor entitlements and other credits not recorded at the SKU level.

       Item No. 25 – Has any of the property listed in Part 5 been purchased within 20 days

before the bankruptcy was filed? The amount listed represents receipts of inventory by the

Debtor in the 20 days prior to the Filing Date, which is not necessarily consistent with the date of

purchase. In addition, there can be no assurance that a portion of these receipts were not sold to

third parties prior to the Filing Date. Moreover, the Debtor paid for a portion of the inventory

received within 20 days before the Filing Date.

       Item No. 39 – Office furniture. In the normal course of the Debtor’s business, the Debtor

does not maintain records of specific types of office equipment, including computer and

communications equipment. Consequently, the office furniture listed includes computer and

communications equipment that would normally be listed under Item No. 41.
 Case 21-30037           Doc 128   Filed 02/08/21 Entered 02/08/21 16:11:35            Desc Main
                                   Document      Page 9 of 214



Schedule D – Creditors Holding Claims Secured by Property

        Except as otherwise ordered by the Bankruptcy Court, the Debtor reserves its rights to

dispute or challenge the validity, perfection, or immunity from avoidance of any lien purported

to be granted or perfected in any specific asset for the benefit of a secured creditor listed on the

Debtor’s Schedule D. Moreover, although the Debtor may have scheduled claims of various

creditors as secured claims, the Debtor reserves all rights to dispute or challenge the secured

nature of any such creditor’s claim or the characterization of the structure of any such transaction

or any document or instrument related to such creditor’s claim (unless otherwise provided in any

orders entered by the Bankruptcy Court).

        The descriptions provided in Schedule D are intended only to be a summary. Reference

to the applicable loan agreements and related documents is necessary for a complete description

of the collateral and the nature, extent, and priority of any liens. Nothing in these Global Notes or

the Schedules and Statement shall be deemed a modification or interpretation of the terms of

such agreements.

        Schedule D does not include beneficiaries of letters of credit. Although the claims of

these parties may be secured by a letter of credit, the Debtors’ obligations under the letters of

credit run to the issuers thereof, and not to the beneficiaries thereof.

        Except as specifically stated herein, real property lessors, utility companies, and other

parties which may hold security deposits have not been listed on Schedule D. The Debtors have

not included parties that may believe their Claims are secured through setoff rights or inchoate

statutory lien rights.

        Item No. 2.1 – Blackwood Pet Food, LLC. Blackwood Pet Food, LLC d/b/a Brightpet

(“Brightpet”) filed a filed a financing statement under the Uniform Commercial Code, asserting a
 Case 21-30037         Doc 128     Filed 02/08/21 Entered 02/08/21 16:11:35         Desc Main
                                   Document     Page 10 of 214



purchase money security interest in all products sold by Brightpet to the Debtor. As of the Filing

Date, the Debtor has been unable to locate any agreement between the Debtor and Brightpet in

which the Debtor agreed to provide a purchase money security interest to Brightpet. Due to the

existence of the financing statement, the Debtor has listed Brightpet as a secured creditor on the

Schedules, but the Debtor reserves all rights to challenge the amount of Brightpet’s claim and the

validity, extent, and priority of its asserted security interest.

        Item No. 2.3 – Stihl, Inc. Stihl, Inc. (“STIHL”) asserts a purchase money security

interest in all products sold by STIHL to the Debtor. The Debtor purchases STIHL products

through three distributors. One of the distributors, Midwest Stihl, is a direct subsidiary of

STIHL. The other two distributors are independent entities that are not owned by STIHL.

Consequently, the Debtor has identified STIHL as a secured creditor, but only identified the

inventory supplied by Midwest Stihl as the collateral of STIHL’s purported secured interest.

The Debtor reserves all rights to challenge the amount of STIHL’s claim, and the validity, extent,

and priority of its asserted security interest.

        Item No. 2.4 – Worldwide Distributors. The Debtor’s books and records show a liability

owing to Worldwide Distributors (“Worldwide”), which was calculated on the basis of invoices

received from Worldwide. However, it is currently unknown whether that liability is owed to

Worldwide or to the vendors whose goods were purchased by the Debtor. The Debtor reserves

all rights to challenge the amount of Worldwide’s claim, and the validity, extent, and priority of

its asserted security interest.

Schedule E/F – Creditors Holding Unsecured Claims

        Certain of the claims of state and local taxing authorities set forth in Schedules E and F

ultimately may be deemed to be secured claims pursuant to state or local laws. Certain of the
 Case 21-30037        Doc 128     Filed 02/08/21 Entered 02/08/21 16:11:35          Desc Main
                                  Document     Page 11 of 214



claims owing to various taxing authorities to which the Debtor may be liable may be subject to

ongoing audits. The Debtor reserves its right to dispute or challenge whether claims owing to

various taxing authorities are entitled to priority, and the listing of any claim on Schedule E/F

Part 1 does not constitute an admission that such claim is entitled to priority treatment pursuant

to section 507 of the Bankruptcy Code.

       The Debtor receives utilities from certain municipal utilities. The Debtor was unable to

distinguish between municipal utilities that were taxing authorities, which would be listed as

priority claim holders, or solely utility provides, which would be listed as general unsecured

claim holders. Consequently, the Debtor listed all municipal utilities as holders of general

unsecured claims on the Schedules. The Debtor reserves all rights to dispute or challenge

whether any such municipal utility holds a claim entitled to priority.

       Certain of the Debtors’ liabilities do not lend themselves to identification of individual

claims/claimants. Specifically, as described above, Schedule E/F Part 2 includes the total face

amount of liabilities for the outstanding store gift cards, merchandise cards, AgPlus account

credits, and gift certificates without identifying the holders thereof.

       Schedule E/F does not include certain deferred charges, deferred liabilities, accruals, or

general reserves. Such amounts are, however, reflected on the Debtor’s books and records as

required in accordance with GAAP. Such accruals are general estimates of liabilities and do not

represent specific claims as of the Filing Date.

       Item 4 – Others to be notified. The Debtors have listed their known creditors in Schedule

E/F. To the extent attorneys have entered appearances on behalf of such creditors, those

appearances are noted on the docket of the Debtors’ chapter 11 cases and are not separately listed
 Case 21-30037        Doc 128    Filed 02/08/21 Entered 02/08/21 16:11:35           Desc Main
                                 Document     Page 12 of 214



in Item 4, with the exception of certain counsel and administrative agencies related to pending

litigation or similar proceedings.

Schedule G – Executory Contracts and Unexpired Leases.

       The Debtor’s business is complex and, while every effort has been made to ensure the

accuracy of Schedule G, inadvertent errors or omissions may have occurred. The Debtor hereby

reserves all rights to (i) dispute the validity, status, or enforceability of any contracts,

agreements, or leases set forth in Schedule G and (ii) amend or supplement such Schedule as

necessary. Furthermore, the Debtor reserves all of its rights, claims, and causes of action with

respect to the contracts and agreements listed on the Schedules, including the right to dispute or

challenge the characterization or the structure of any transaction, document, or instrument. The

presence of a contract or agreement on Schedule G does not constitute an admission that such

contract or agreement is an executory contract or an unexpired lease.

       The contracts, agreements and leases listed on Schedule G may have expired or may have

been modified, amended, or supplemented from time to time by various amendments,

restatements, waivers, estoppel certificates, letter and other documents, instruments, and

agreements that may not be listed therein. Certain of the real property leases listed on Schedule

G may contain renewal options, guarantees of payments, options to purchase, rights of first

refusal, rights to lease additional space and other miscellaneous rights. Such rights, powers,

duties, and obligations are not set forth on Schedule G. Additionally, the Debtor may be a party

to various other agreements concerning real property, such as easements, rights of way,

subordination, non-disturbance, supplemental agreements, amendments/letter agreements, title

documents, consents, site plans, maps, and other miscellaneous agreements. Such agreements, if
 Case 21-30037       Doc 128    Filed 02/08/21 Entered 02/08/21 16:11:35               Desc Main
                                Document     Page 13 of 214



any, are not set forth in Schedule G. Certain of the agreements listed on Schedule G may be in

the nature of conditional sales agreements or secured financings.

Statement

       Question 1 – Gross revenue from business. As is customary in the retail industry, sales

are reflected net of returns and allowances, coupons, discounts, and shipping and handling.

       Question 2 – Non-business revenue. Items that may otherwise be categorized as

nonbusiness revenue—such as royalty income, interest, and internet advertising revenue—are

not separately tracked by the Debtor, so are included in the response to Question 1.

       Question 3 – Certain payments or transfers to creditors within 90 days before filing this

case. The Debtor has listed all payments made to creditors in the 90 days prior to the Filing Date

on an individual payment basis, and have not aggregated payments by unique creditor. Question

3 includes any disbursement or other transfer made by the Debtor within 90 days before the

Filing Date including payments that are listed in response to other questions on the Statement,

including payments to: (i) insiders (which payments appear in response to Statement question 4);

(ii) employees; (iii) pass-thru transfers or payments to agencies which funds did not constitute

the Debtors’ property; and (iv) bankruptcy professionals (which payments appear in response to

Question 11). The amounts listed in Question 3 reflect the Debtor’s disbursements netted against

any check level detail. All disbursements listed in response to Question 3 were made through the

Debtors’ cash management system.

       Question 6 – Setoffs. The Debtor is not currently aware of any setoffs that had occurred

as of the Filing Date; however, there may be instances, including, without limitation, credits due

to landlords and holdbacks made by credit card processors, where such a setoff has occurred

without the Debtor’s knowledge.
 Case 21-30037        Doc 128    Filed 02/08/21 Entered 02/08/21 16:11:35              Desc Main
                                 Document     Page 14 of 214



        Question 7 – Legal actions, administrative proceedings, court actions, executions,

attachments, or governmental audits. The Debtor does not have a centralized system for tracking

all litigation, so the response represents the Debtor’s best efforts to gather such information. The

Debtor also does not track (i) certain litigation for which they are indemnified and a third-party is

defending the action or (ii) informal demands; those matters are not identified on the Schedules

and Statement.

        Question 11 – Payments related to bankruptcy. Prior to the Filing Date, the Debtor

employed     Clear   Thinking    Group    LLC    (“CTG”)     and    Steeplechase    Advisors    LLC

(“Steeplechase”) to assist with preparing for the bankruptcy filing and other non-preparation

services, including without limitation, marketing the business for a going-concern sale, analyzing

potential new financing opportunities, and providing general financial advice. For purposes of

answering Question 11, the Debtor did not attempt to distinguish between bankruptcy

preparation and non-bankruptcy preparation work and listed all fees and expenses paid to CTG

and Steeplechase prior to the Filing Date.

        Question 14 – Previous Addresses. Due to the voluminous nature of the Debtor’s store

base and the undue burden involved in identifying and documenting all changes to store

addresses over the last three years, the Debtor has not included store or distribution center

addresses in the Statement.

        Question 26d – Issuance of Financial Statements. The Debtor issued many financial

statements during the 2 years prior to the Petition Date, including to secured lenders, select

vendors, and others. Given the volume of information and lack of tracking, the Debtor has not

listed individual recipients.
 Case 21-30037       Doc 128     Filed 02/08/21 Entered 02/08/21 16:11:35            Desc Main
                                 Document     Page 15 of 214



        Question 27 – Have any inventories of the debtor’s property been taken within 2 years

before filing this case? The Debtor does not generally conduct PP&E (property, plant, and

equipment) inventories. The Debtor does, however, arrange for annual inventories of its

inventory for resale at the store level. These inventories typically occur between December and

February in any given year. No inventory was conducted at the end of 2020 or the beginning of

2021.

        Question 30 – Within 1 year before filing this case, did the debtor provide an insider with

value in any form, including salary, other compensation, draws, bonuses, loans, credits on loans,

stock redemptions, and options exercised? The Debtor identified payments made to Whebbe in

response to Question 30, but did not identify any payments made to Whebbe’s other businesses.

Instead, the payments to Whebbe’s other businesses are listed in response to Question 4.

                               ***END OF GLOBAL NOTES***

        **SCHEDULES AND STATEMENT BEGIN ON THE FOLLOWING PAGE**



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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                   Desc Main
                                                                     Document     Page 16 of 214




 Fill in this information to identify the case:

 Debtor name         Tea Olive I, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MINNESOTA

 Case number (if known)         21-30037
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          February 8, 2021                        X /s/ Matthew F. Whebbe
                                                                       Signature of individual signing on behalf of debtor

                                                                       Matthew F. Whebbe
                                                                       Printed name

                                                                       Chairman and Chief Executive Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
                Case 21-30037                            Doc 128                 Filed 02/08/21 Entered 02/08/21 16:11:35                                                          Desc Main
                                                                                 Document     Page 17 of 214
 Fill in this information to identify the case:

 Debtor name            Tea Olive I, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF MINNESOTA

 Case number (if known)               21-30037
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $       57,801,795.98

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       57,801,795.98


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       32,379,081.97


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $        8,153,296.49

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       29,474,138.42


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         70,006,516.88




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                  Desc Main
                                                                     Document     Page 18 of 214
 Fill in this information to identify the case:

 Debtor name         Tea Olive I, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MINNESOTA

 Case number (if known)         21-30037
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest
 2.        Cash on hand                                                                                                                           $4,950.00


 2.        Cash on hand                                                                                                                        $139,147.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                          Last 4 digits of account
                                                                                                         number


           3.1.    Bank of America                                           Disbursement Account        0728                                     $2,813.97




           3.2.    Bank of America                                           Deposit Account             8486                                  $350,996.13




           3.3.    Bank of America                                           Main Account                8481                                             $0.00




           3.4.    Gateway Bank                                              Checking Account            2359                                    $11,652.51




           3.5.    First Financial Bank                                      Deposit Account             3293                                    $81,816.46



 4.        Other cash equivalents (Identify all)

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                        page 1
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35             Desc Main
                                                                     Document     Page 19 of 214
 Debtor           Tea Olive I, LLC                                                           Case number (If known) 21-30037
                  Name




           4.1.     Cash In Transit                                                                                              $1,810,210.00




 5.        Total of Part 1.                                                                                                    $2,401,586.07
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit
                    Eversole Run 50% deposit required for processing of store uniforms. Remaining amount
           7.1.     owed not paid and uniforms not received.                                                                           $8,518.50



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment
                    ST Services - Snow Plowing pre-pay - waiting for copies of invoices to determine if any of this
           8.1.     balance was expensed prior to January 10, 2021                                                                     $6,500.00




           8.2.     Schommer Construction - Snow Plowing pre-pay balance as of January 10, 2021                                          $440.00




           8.3.     EZ Arms - FFL                                                                                                      $4,950.00




           8.4.     Chubb                                                                                                            $15,175.57




           8.5.     First Insurance Funding                                                                                        $138,221.01




           8.6.     Liberty Mutual                                                                                                 $194,379.02




           8.7.     CSU (Firearms)                                                                                                   $22,428.98




 9.        Total of Part 2.                                                                                                     $390,613.08
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                             page 2
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                       Desc Main
                                                                     Document     Page 20 of 214
 Debtor         Tea Olive I, LLC                                                                   Case number (If known) 21-30037
                Name



        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                            167,358.00    -                                   0.00 = ....                 $167,358.00
                                              face amount                            doubtful or uncollectible accounts




           11b. Over 90 days old:                               255,014.28    -                                  0.00 =....                   $255,014.28
                                              face amount                            doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                               $422,372.28
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                            Valuation method used    Current value of
                                                                                                            for current value        debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership


           15.1.     Worldwide Distributors                                            0.0            %     Purchase Price                       $5,000.00



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                                  $5,000.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last            Net book value of         Valuation method used    Current value of
                                                      physical inventory          debtor's interest         for current value        debtor's interest
                                                                                  (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale
           Ammunition                                 12/16/19 - 01/17/20                $175,976.39        Average Cost                      $175,976.39




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 3
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35             Desc Main
                                                                     Document     Page 21 of 214
 Debtor         Tea Olive I, LLC                                                             Case number (If known) 21-30037
                Name

           Automotive                                 12/16/19 - 01/17/20          $2,714,945.30     Average Cost               $2,714,945.30


           Childrens Clothing                         12/16/19 - 01/17/20            $196,150.00     Average Cost                $196,150.00


           Electrical                                 12/16/19 - 01/17/20          $1,539,744.81     Average Cost               $1,539,744.81


           Farm                                       12/16/19 - 01/17/20          $3,106,566.14     Average Cost               $3,106,566.14


           Food                                       12/16/19 - 01/17/20          $1,463,678.88     Average Cost               $1,463,678.88


           Footwear                                   12/16/19 - 01/17/20          $1,477,785.24     Average Cost               $1,477,785.24


           Guns                                       12/16/19 - 01/17/20          $1,256,348.56     Average Cost               $1,256,348.56


           Hardware                                   12/16/19 - 01/17/20          $1,294,978.79     Average Cost               $1,294,978.79


           Heating & Cooling                          12/16/19 - 01/17/20            $914,244.47     Average Cost                $914,244.47


           Housewares                                 12/16/19 - 01/17/20          $2,863,346.97     Average Cost               $2,863,346.97


           Ladies Clothing                            12/16/19 - 01/17/20          $1,026,244.83     Average Cost               $1,026,244.83


           Lawn And Garden                            12/16/19 - 01/17/20          $1,942,174.38     Average Cost               $1,942,174.38


           Live Goods                                 12/16/19 - 01/17/20             $30,231.64     Average Cost                  $30,231.64


           Livestock Feed                             12/16/19 - 01/17/20            $678,332.83     Average Cost                $678,332.83


           Mens Clothing                              12/16/19 - 01/17/20          $2,126,261.61     Average Cost               $2,126,261.61


           Misc. Goods                                12/16/19 - 01/17/20             $67,978.73     Average Cost                  $67,978.73


           Paint                                      12/16/19 - 01/17/20          $1,220,567.80     Average Cost               $1,220,567.80


           Pet Supplies & Feed                        12/16/19 - 01/17/20          $2,819,903.24     Average Cost               $2,819,903.24


           Plumbing                                   12/16/19 - 01/17/20          $1,248,639.39     Average Cost               $1,248,639.39


           Pool & Patio                               12/16/19 - 01/17/20            $879,989.57     Average Cost                $879,989.57


           Power Equipment                            12/16/19 - 01/17/20          $3,014,770.91     Average Cost               $3,014,770.91




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 4
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35             Desc Main
                                                                     Document     Page 22 of 214
 Debtor         Tea Olive I, LLC                                                             Case number (If known) 21-30037
                Name

           Seasonal Decorations                       12/16/19 - 01/17/20            $421,810.16     Average Cost                     $421,810.16


           Sporting Goods                             12/16/19 - 01/17/20          $5,656,120.05     Average Cost                   $5,656,120.05


           Tools                                      12/16/19 - 01/17/20          $3,885,787.91     Average Cost                   $3,885,787.91


           Toys                                       12/16/19 - 01/17/20          $1,255,910.93     Average Cost                   $1,255,910.93


           Wild Bird                                  12/16/19 - 01/17/20            $363,839.02     Average Cost                     $363,839.02


           In Transit                                 N/A                            $168,570.08     N/A                              $168,570.08



 22.       Other inventory or supplies
           Big R Control Sku's                        12/16/19 - 01/17/20                   $2.29    Average Cost                               $2.29


           Employee Uniforms                          12/16/19 - 01/17/20             $59,997.57     Average Cost                       $59,997.57


           Misc Non-Resale                            12/16/19 - 01/17/20            $364,455.10     Average Cost                     $364,455.10


           Parts Central                              12/16/19 - 01/17/20             $69,027.73     Average Cost                       $69,027.73


           Rental Center                              12/16/19 - 01/17/20             $11,206.98     Average Cost                       $11,206.98


           Repair Shop                                12/16/19 - 01/17/20            $405,541.17     Average Cost                     $405,541.17


           Store Use                                  12/16/19 - 01/17/20            $210,347.12     Average Cost                     $210,347.12



 23.       Total of Part 5.                                                                                                     $44,931,476.59
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value            1,016,459.64 Valuation method         Average Cost       Current Value                 1,016,459.64

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 5
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                Desc Main
                                                                     Document     Page 23 of 214
 Debtor         Tea Olive I, LLC                                                              Case number (If known) 21-30037
                Name



 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Corporate Office Furniture and Office Equipment                           $686,913.24     Net Book Value                      $686,913.24



 40.       Office fixtures
           Store Fixtures & Equipment                                              $4,873,839.25     Net Book Value                    $4,873,839.25


           Corp/DC Fixtures & Equipment                                            $1,548,545.45     Net Book Value                    $1,548,545.45



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Office equipment is included under Office
           furniture. (See Schedule A/B # 39)                                               $0.00    Net Book Value                               $0.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                           $7,109,297.94
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
              No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2018 Chevy Malibu
                     VIN:1G1ZB5ST1JF282937                                              $2,786.01    Net Book Value                         $2,786.01




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 6
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35             Desc Main
                                                                     Document     Page 24 of 214
 Debtor         Tea Olive I, LLC                                                             Case number (If known) 21-30037
                Name

           47.2.     2018 Chevy Malibu
                     VIN:1G1ZB5ST4JF280891                                              $2,602.76    Net Book Value                  $2,602.76


           47.3.     2018 Chevy Malibu
                     VIN:1G1ZB5ST9JF288646                                              $2,602.76    Net Book Value                  $2,602.76


           47.4.     2017 Ford F150
                     VIN:1FTEW1CF3HFA22710                                              $3,847.83    Net Book Value                  $3,847.83


           47.5.     2017 Nissan NV200 Van
                     VIN:3N6CM0KN9HK706167                                              $2,754.36    Net Book Value                  $2,754.36


           47.6.     2017 Nissan NV200 Van
                     VIN:3N6CM0KN8HK702725                                              $2,754.36    Net Book Value                  $2,754.36


           47.7.     2016 Dodge Grand Caravan
                     VIN:2C4RDGBG7GR195996                                              $1,918.30    Net Book Value                  $1,918.30


           47.8.     Year: 1998 Make: Stoughton Model: Trailer
                     VIN: 1DW1A4828WS207306                                             $2,234.24    Net Book Value                  $2,234.24


           47.9.     Year: 1991 Make: Fruehauf Model: Trailer
                     VIN: 1H2V04829ME003630                                             $2,978.99    Net Book Value                  $2,978.99


           47.10 Year: 1998 Make: Stoughton Model: Trailer
           .     VIN: 1DW1A5322WS167981                                                 $1,690.58    Net Book Value                  $1,690.58


           47.11 Year: 2009 Make: Stoughton Model: Trailer
           .     VIN: 1DW1A53279S137007                                                 $3,679.05    Net Book Value                  $3,679.05


           47.12 Year: 2009 Make: Stoughton Model: Trailer
           .     VIN: 1DW1A53299S137008                                                 $3,679.05    Net Book Value                  $3,679.05


           47.13 Year: 2009 Make: Stoughton Model: Trailer
           .     VIN: 1DW1A53209S137009                                                 $3,679.05    Net Book Value                  $3,679.05


           47.14 Year: 1993 Make: Stoughton Model: Trailer
           .     VIN: 1DW1A4826PS829940                                                 $1,489.49    Net Book Value                  $1,489.49


           47.15 Year: 2003 Make: Stoughton Model: 53
           .     Van Trailer VIN: 1DW1A53ZX3B644121                                     $1,191.60    Net Book Value                  $1,191.60


           47.16 Year: 2003 Make: Stoughton Model: Trailer
           .     VIN: 1DW1A53213B644122                                                 $3,086.98    Net Book Value                  $3,086.98


           47.17 Year: 2003 Make: Stoughton Model: Trailer
           .     VIN: 1DW1A53233B644123                                                 $3,086.98    Net Book Value                  $3,086.98



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 7
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35             Desc Main
                                                                     Document     Page 25 of 214
 Debtor         Tea Olive I, LLC                                                             Case number (If known) 21-30037
                Name

           47.18 Year: 2003 Make: Stoughton Model: Trailer
           .     VIN: 1DW1A53253B644124                                                 $3,086.98    Net Book Value                  $3,086.98


           47.19 Year: 2008 Make: Strick Model: Trailer VIN:
           .     1S12E95368E517894                                                      $3,500.31    Net Book Value                  $3,500.31


           47.20 Year: 1996 Make: Wabash Model: Trailer
           .     VIN: 1JJV532U8TL357509                                                 $1,489.49    Net Book Value                  $1,489.49


           47.21 Year: 2008 Make: Strick Model: Trailer VIN:
           .     1S12E95358E521547                                                      $3,500.31    Net Book Value                  $3,500.31


           47.22 Year: 1999 Make: Utility Model: Trailer VIN:
           .     1UYVS253XXP126920                                                      $1,578.86    Net Book Value                  $1,578.86


           47.23 Year: 2008 Make: Strick Model: Trailer VIN:
           .     1S12E95378E521548                                                      $3,500.31    Net Book Value                  $3,500.31


           47.24 Year: 1995 Make: Great Dane Model:
           .     Trailer VIN: 1GRAA0624SB175407                                         $1,563.97    Net Book Value                  $1,563.97


           47.25 Year: 1999 Make: Trailmobile Model:
           .     Trailer VIN: 1PT01JAH5X9008611                                         $1,563.97    Net Book Value                  $1,563.97


           47.26 Year: 2008 Make: Strick Model: Trailer VIN:
           .     1S12E95328E517892                                                      $3,500.31    Net Book Value                  $3,500.31


           47.27 Year: 1998 Make: Trailmobile Model:
           .     Trailer VIN: 1PT01JLH3W9013124                                         $1,563.97    Net Book Value                  $1,563.97


           47.28 Year: 1999 Make: Trailmobile Model:
           .     Trailer VIN: 1PT01JAHX9006018                                          $1,563.97    Net Book Value                  $1,563.97


           47.29 Year: 1997 Make: Fruehauf Model: Trailer
           .     VIN: 1H2V05321VE023806                                                 $2,978.99    Net Book Value                  $2,978.99


           47.30 Year: 2008 Make: Strick Model: Trailer VIN:
           .     1S12E95348E517893                                                      $3,500.31    Net Book Value                  $3,500.31


           47.31 Year: 1998 Make: Stoughton Model: Trailer
           .     VIN: 1DW1A5322WS167947                                                 $1,690.58    Net Book Value                  $1,690.58


           47.32 Year: 1996 Make: Wabash Model: Trailer
           .     VIN: 1JJV532U4T6357507                                                 $1,489.49    Net Book Value                  $1,489.49


           47.33 Year: 2008 Make: Strick Model: Trailer VIN:
           .     1S12E95308E517891                                                      $3,500.31    Net Book Value                  $3,500.31



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 8
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35             Desc Main
                                                                     Document     Page 26 of 214
 Debtor         Tea Olive I, LLC                                                             Case number (If known) 21-30037
                Name

           47.34 Year: 2007 Make: Wabash Model: Trailer
           .     VIN: 1JJV532W67L047480                                                 $3,321.57    Net Book Value                  $3,321.57


           47.35 Year: 2007 Make: Wabash Model: Trailer
           .     VIN: 1JJV532W17L047483                                                 $3,321.57    Net Book Value                  $3,321.57


           47.36 Year: 2007 Make: Wabash Model: Trailer
           .     VIN: 1JJV532W67L047494                                                 $3,321.57    Net Book Value                  $3,321.57


           47.37 Year: 2007 Make: Wabash Model: Trailer
           .     VIN: 1JJV532W87L047495                                                 $3,321.57    Net Book Value                  $3,321.57


           47.38 Year: 2005 Make: Stoughton Model: Trailer
           .     VIN: 1DW1A53275B796151                                                 $3,500.31    Net Book Value                  $3,500.31


           47.39 Year: 2009 Make: Wabash Model: Trailer
           .     VIN: 1JJV532W09L262808                                                 $3,679.05    Net Book Value                  $3,679.05


           47.40 Year: 2009 Make: Wabash Model: Trailer
           .     VIN: 1JJV532W99L262807                                                 $3,679.05    Net Book Value                  $3,679.05


           47.41 Year: 2004 Make: Manac Inc Model: Trailer
           .     VIN: 2M592161841094712                                                 $4,557.85    Net Book Value                  $4,557.85


           47.42 Year: 2004 Make: Manac Inc Model: Trailer
           .     VIN: 2M592161841094726                                                 $4,557.85    Net Book Value                  $4,557.85


           47.43 Year: 1998 Make: Wabash Model: Trailer
           .     VIN: 1JJV532W6WL438000                                                 $1,489.49    Net Book Value                  $1,489.49


           47.44 Year: 2005 Make: Stoughton Model: Trailer
           .     VIN: 1DW1A53245B796155                                                 $3,500.31    Net Book Value                  $3,500.31


           47.45 Year: 2000 Make: Wabash Model: Trailer
           .     VIN: 1JJV532W7YF565680                                                 $2,904.51    Net Book Value                  $2,904.51


           47.46 Year: 2006 Make: Wabash Model: Trailer
           .     VIN: 1JJV532W56L944501                                                 $3,574.79    Net Book Value                  $3,574.79


           47.47 Year: 2006 Make: Wabash Model: Trailer
           .     VIN: 1JJV532W46L944456                                                 $3,574.79    Net Book Value                  $3,574.79


           47.48 Year: 2006 Make: Wabash Model: Trailer
           .     VIN: 1JJV532WX6L944493                                                 $3,574.79    Net Book Value                  $3,574.79


           47.49 Year: 2006 Make: Wabash Model: Trailer
           .     VIN: 1JJV532W36L944447                                                 $3,574.79    Net Book Value                  $3,574.79



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 9
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35             Desc Main
                                                                     Document     Page 27 of 214
 Debtor         Tea Olive I, LLC                                                             Case number (If known) 21-30037
                Name

           47.50 Year: 2006 Make: Wabash Model: Trailer
           .     VIN: 1JJV532W36L944495                                                 $3,574.79    Net Book Value                    $3,574.79


           47.51 Year: 2006 Make: Wabash Model: Trailer
           .     VIN: 1JJV532W76L944547                                                 $3,574.79    Net Book Value                    $3,574.79


           47.52 Year: 2006 Make: Wabash Model: Trailer
           .     VIN: 1JJV532W56L944434                                                 $4,021.63    Net Book Value                    $4,021.63


           47.53 Year: 2007 Make: Vanguard Model: 53 Van
           .     Trailer VIN: 5V8VA53267M708069                                         $2,681.09    Net Book Value                    $2,681.09


           47.54 Year: 2007 Make: Vanguard Model: 53 Van
           .     Trailer VIN: 5V8VA53227M708070                                         $2,681.09    Net Book Value                    $2,681.09


           47.55 Year: 1990 Make: Fruehauf Model: Trailer
           .     VIN: 1H5V04825LM007035                                                 $1,489.49    Net Book Value                    $1,489.49


           47.56 Year: 2009 Make: Stoughton Model: Trailer
           .     VIN: 1DW1A53249S168201                                                 $3,634.37    Net Book Value                    $3,634.37


           47.57 Year: 2009 Make: Stoughton Model: Trailer
           .     VIN: 1DW1A53269S168202                                                 $3,679.05    Net Book Value                    $3,679.05


           47.58 Year: 1995 Make: Stoughton Model: Trailer
           .     VIN: 1DW1A4827SS956740                                                 $2,234.24    Net Book Value                    $2,234.24


           47.59 Year: 1983 Make: Monon Model: Trailer
           .     VIN: 1NNZF452XDM067132                                                 $1,489.49    Net Book Value                    $1,489.49



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Leasehold Improvements                                                  $2,371,301.61     Net Book Value              $2,371,301.61


           Forklift Model no. C5 S/N 9A215602                                           Unknown                                         Unknown



 51.       Total of Part 8.                                                                                                    $2,541,450.02
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
              No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                             page 10
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                Desc Main
                                                                     Document     Page 28 of 214
 Debtor         Tea Olive I, LLC                                                              Case number (If known) 21-30037
                Name


               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Service Mark - "You'll Love What's In Store" -
            5198012                                                                         $0.00                                            Unknown


            STOCK+FIELD - 88499875                                                          $0.00                                            Unknown


            Various S+F Logos - 88500003, 88492071,
            88499966                                                                        $0.00                                            Unknown


            FARM BELL - 88520061                                                            $0.00                                            Unknown


            STOCK & FIELD - 88473030                                                        $0.00                                            Unknown


            Stock & Field Logo - 88473042                                                   $0.00                                            Unknown



 61.        Internet domain names and websites
            www.bigr.com                                                                    $0.00                                            Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Company Email List: Names, Email Addresses,
            Phone number                                                                    $0.00                                                 $0.00


            AG Plus Program: Names, Addresses, Phone
            Number, Email                                                                   $0.00                                                 $0.00



 64.        Other intangibles, or intellectual property

 65.        Goodwill




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 11
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35             Desc Main
                                                                     Document     Page 29 of 214
 Debtor         Tea Olive I, LLC                                                             Case number (If known) 21-30037
                Name


 66.        Total of Part 10.                                                                                                              $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 12
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               Case 21-30037                       Doc 128             Filed 02/08/21 Entered 02/08/21 16:11:35                                          Desc Main
                                                                       Document     Page 30 of 214
 Debtor          Tea Olive I, LLC                                                                                    Case number (If known) 21-30037
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                        $2,401,586.07

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $390,613.08

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $422,372.28

 83. Investments. Copy line 17, Part 4.                                                                               $5,000.00

 84. Inventory. Copy line 23, Part 5.                                                                         $44,931,476.59

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                      $7,109,297.94

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $2,541,450.02

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                       $57,801,795.98             + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $57,801,795.98




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 13
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                Case 21-30037                     Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                             Desc Main
                                                                     Document     Page 31 of 214
 Fill in this information to identify the case:

 Debtor name         Tea Olive I, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MINNESOTA

 Case number (if known)             21-30037
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Blackwood Pet Food, LLC                        Describe debtor's property that is subject to a lien                 $107,164.96                   Unknown
       Creditor's Name                                Inventory Shipments
       dba Brightpet Nutrition Group
       LLC
       38281 Industrial Blvd
       Lisbon, OH 44432
       Creditor's mailing address                     Describe the lien
                                                      Vendor Liability
                                                      Is the creditor an insider or related party?
       leeh@blackwoodpetfood.com                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       Various                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
                                                         Disputed
       priority.



       Second Avenue Capital
 2.2                                                                                                                   $29,724,103.00            $38,152,984.00
       Partners                                       Describe debtor's property that is subject to a lien
       Creditor's Name                                All Owned Assets
       CIT/Northbridge
       1010 Northern Blvd. Suite
       340
       Great Neck, NY 11021
       Creditor's mailing address                     Describe the lien
                                                      Asset Based Loan
                                                      Is the creditor an insider or related party?
       aprunier@secondavecp.com                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       March 1, 2020                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 3
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                Case 21-30037                     Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                            Desc Main
                                                                     Document     Page 32 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)      21-30037
              Name

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3   Stihl, Inc.                                    Describe debtor's property that is subject to a lien                     $195,281.41    $456,158.49
       Creditor's Name                                Inventory Shipments
       PO Box 117245
       Atlanta, GA 30368
       Creditor's mailing address                     Describe the lien
                                                      Vendor Liability
                                                      Is the creditor an insider or related party?
       ian.hunt@stihl.us                                 No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       Various                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.4   Wells Fargo Bank, N.A.                         Describe debtor's property that is subject to a lien                       $1,407.48      Unknown
       Creditor's Name                                Forklift Model no. C5 S/N 9A215602
       800 Walnut Street
       F0005-044
       Des Moines, IA 50309
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
                                                         Disputed
       priority.



 2.5   Worldwide Distributors                         Describe debtor's property that is subject to a lien                 $2,351,125.12        Unknown
       Creditor's Name                                Inventory Shipments
       PO Box 88607
       Seattle, WA 98138
       Creditor's mailing address                     Describe the lien
                                                      Vendor Liability
                                                      Is the creditor an insider or related party?
       stevea@wdi-wdi.com                                No

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 2 of 3
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                Case 21-30037                     Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                             Desc Main
                                                                     Document     Page 33 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)       21-30037
              Name

       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       Various                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed




                                                                                                                               $32,379,081.
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        97

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Second Avenue Capital Partners LLC
        c/o Riemer & Braunstein LP                                                                              Line   2.2
        Attn: Steven Fox
        Times Square Tower Suite 2506
        New York, NY 10036

        Stihl Incorporated
        c/o Connie Lahn                                                                                         Line   2.3
        Barnes & Thornburg LLP
        225 South Sixth Suite 2800
        Minneapolis, MN 55402




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 3
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               Case 21-30037                   Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                               Desc Main
                                                                     Document     Page 34 of 214
 Fill in this information to identify the case:

 Debtor name         Tea Olive I, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MINNESOTA

 Case number (if known)           21-30037
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                    $525,278.39          $525,278.39
           _Employees                                                Check all that apply.
           Names & Addresses Intentionally                              Contingent
           Omitted                                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Salary/Wages/Carryover PTO/Expense
           1/1/21-1/9/21                                             Reimbursement
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                           $21.60        $21.60
           City of Burlington                                        Check all that apply.
           300 N Pine St                                                Contingent
           Burlington, WI 53105                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           Multiple                                                  Municipal Utility
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                              page 1 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                Desc Main
                                                                     Document     Page 35 of 214
 Debtor       Tea Olive I, LLC                                                                                Case number (if known)   21-30037
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $100.00    $100.00
          City of Elkhart                                            Check all that apply.
          Municipal Building                                            Contingent
          229 S. Second St.                                             Unliquidated
          Elkhart, IN 46516                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
          Multiple                                                   Municipal Utility
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $321.52    $321.52
          City of Gibson                                             Check all that apply.
          P.O. Box 545                                                  Contingent
          Gibson City, IL 60936                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          Multiple                                                   Municipal Utility
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $233,053.97    $233,053.97
          City of Lansing                                            Check all that apply.
          124 W Michigan Ave                                            Contingent
          9th Floor                                                     Unliquidated
          Lansing, MI 48933                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
          8/31/2020                                                  Property Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,279.90    $1,279.90
          City of Lima Utilities Dept.                               Check all that apply.
          P.O. Box 183199                                               Contingent
          Columbus, OH 43218                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          Multiple                                                   Municipal Utility
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                Desc Main
                                                                     Document     Page 36 of 214
 Debtor       Tea Olive I, LLC                                                                                Case number (if known)   21-30037
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $600.13    $600.13
          City of Mchenry                                            Check all that apply.
          333 S. Green Street                                           Contingent
          Mchenry, IL 60050                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          Multiple                                                   Municipal Utility
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $217.73    $217.73
          City of Pekin                                              Check all that apply.
          111 South Capitol St.                                         Contingent
          Pekin, IL 61554                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          Multiple                                                   Municipal Utility
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $214.90    $214.90
          City of Pontiac                                            Check all that apply.
          Pontiac City Hall                                             Contingent
          115 W. Howard St.                                             Unliquidated
          Pontiac, IL 61764                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
          Multiple                                                   Municipal Utility
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $557.65    $557.65
          City of Streator                                           Check all that apply.
          P.O. Box 517                                                  Contingent
          Streator, IL 61364                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          Multiple                                                   Municipal Utility
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 3 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                Desc Main
                                                                     Document     Page 37 of 214
 Debtor       Tea Olive I, LLC                                                                                Case number (if known)   21-30037
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $435.58    $435.58
          City of Wabash Wastewater Utilit                           Check all that apply.
          P.O. Box 245                                                  Contingent
          Wabash, IN 46992                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          Multiple                                                   Municipal Utility
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,304.64    $1,304.64
          City of Warsaw Wastewater                                  Check all that apply.
          Payment Office                                                Contingent
          P.O. Box 557                                                  Unliquidated
          Warsaw, IN 46581                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:
          Multiple                                                   Municipal Utility
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $161.19    $161.19
          City of Washington                                         Check all that apply.
          Water/Sewer Dept.                                             Contingent
          301 Walnut St.                                                Unliquidated
          Washington, IL 61571                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
          Multiple                                                   Municipal Utility
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $629.26    $629.26
          City of Watseka                                            Check all that apply.
          P.O. Box 338                                                  Contingent
          201 N Brianna Drive                                           Unliquidated
          Watseka, IL 60970                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
          Multiple                                                   Municipal Utility
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 4 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                 Desc Main
                                                                     Document     Page 38 of 214
 Debtor       Tea Olive I, LLC                                                                                Case number (if known)   21-30037
              Name

 2.15                                                                                                                                                    $5,191,650.
          Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $5,191,650.00    00
          Community Federal Savings Bank                             Check all that apply.
          89-16 Jamaica Ave                                             Contingent
          Woodhaven, NY 11421                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          7/8/2020                                                   PPP Loan
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $54,494.84     $54,494.84
          Elkhart County Treasurer                                   Check all that apply.
          PO Box 116                                                    Contingent
          Goshen, IN 46527-0116                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          11/10/20                                                   Property Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $793,298.73     $793,298.73
          Employer Social Security Payroll Tax                       Check all that apply.
          PO Box 932100                                                 Contingent
          Louisville, KY 40293-2100                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          12/31/20                                                   Deferred Payroll Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $14,930.36     $14,930.36
          Ford County Treasurer                                      Check all that apply.
          PO Box 92                                                     Contingent
          Paxton, IL 60957                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          11/10/20                                                   Property Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 5 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                Desc Main
                                                                     Document     Page 39 of 214
 Debtor       Tea Olive I, LLC                                                                                Case number (if known)   21-30037
              Name

 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $15,640.92    $15,640.92
          Fulton County Treasurer                                    Check all that apply.
          PO Box 111                                                    Contingent
          Lewistown, IL 61542                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          11/10/20                                                   Property Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $7,688.95    $7,688.95
          Grant County Treasurer                                     Check all that apply.
          401 S. Adam St                                                Contingent
          2nd Floor                                                     Unliquidated
          Marion, IN 46953                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:
          11/10/20                                                   Property Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,879.00    $4,879.00
          Il Secretary Of State                                      Check all that apply.
          213 State Capitol                                             Contingent
          Springfield, IL 62756                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          Multiple                                                   Trailer Registration
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $486,812.68    $486,812.68
          Illinois Dept. of Revenue                                  Check all that apply.
          PO Box 19013                                                  Contingent
          Springfield, IL 62794-9013                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          1/9/21                                                     Sales Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 6 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                Desc Main
                                                                     Document     Page 40 of 214
 Debtor       Tea Olive I, LLC                                                                                Case number (if known)   21-30037
              Name

 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $331,159.55       $331,159.55
          Indiana Dept. of Revenue                                   Check all that apply.
          PO Box 40                                                     Contingent
          Indianapolis, IN 46206-0040                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          1/9/21                                                     Sales Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $30.00       $30.00
          Indiana Secretary Of State                                 Check all that apply.
          Auto Dealer Services Div                                      Contingent
          302 W Washington St Room E-018                                Unliquidated
          Indianapolis, IN 46204                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          Multiple                                                   Trailer Registration
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Internal Revenue Service                                   Check all that apply.
          PO Box 7346                                                   Contingent
          Philadelphia, PA 19101-7346                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $25,907.91       $25,907.91
          Kosciusko County Clerk                                     Check all that apply.
          121 N Lake St.                                                Contingent
          Warsaw, IN 46580                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          11/10/20                                                   Property Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 7 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                Desc Main
                                                                     Document     Page 41 of 214
 Debtor       Tea Olive I, LLC                                                                                Case number (if known)   21-30037
              Name

 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $27,850.27    $27,850.27
          LaPorte County Treasurer                                   Check all that apply.
          555 Michigan Avenue                                           Contingent
          Suite 102                                                     Unliquidated
          La Porte, IN 46350                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:
          11/10/20                                                   Property Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $38,463.30    $38,463.30
          Livingston County Treasurer                                Check all that apply.
          PO Box 50                                                     Contingent
          Pontiac, IL 61764                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          9/14/2020                                                  Property Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $43,101.52    $43,101.52
          McHenry County Collector                                   Check all that apply.
          2100 N Seminary Avenue                                        Contingent
          Woodstock, IL 60098                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          9/15/2020                                                  Property Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $32,148.76    $32,148.76
          Michigan Department of Treasury                            Check all that apply.
          430 W Allegan St                                              Contingent
          Lansing, MI 48922                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          1/9/21                                                     Sales Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 8 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                Desc Main
                                                                     Document     Page 42 of 214
 Debtor       Tea Olive I, LLC                                                                                Case number (if known)   21-30037
              Name

 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          MN Department of Revenue                                   Check all that apply.
          Collection Enforcement                                        Contingent
          Mail Station 5130                                             Unliquidated
          St. Paul, MN 55164                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $35,276.99       $35,276.99
          Montgomery County Treasurer                                Check all that apply.
          1 Courthouse Square                                           Contingent
          Room 101                                                      Unliquidated
          Hillsboro, IL 62049                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
          11/10/20                                                   Property Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $65,408.98       $65,408.98
          Ohio Dept. of Taxation                                     Check all that apply.
          PO Box 2678                                                   Contingent
          Columbus, OH 43216-2678                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          1/9/21                                                     Sales Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $25,387.50       $25,387.50
          St. Joseph County Treasurer                                Check all that apply.
          PO Box 4758                                                   Contingent
          South Bend, IN 46634-4758                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          11/10/20                                                   Property Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 9 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                Desc Main
                                                                     Document     Page 43 of 214
 Debtor       Tea Olive I, LLC                                                                                Case number (if known)   21-30037
              Name

 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $500.00    $500.00
          State Of Michigan                                          Check all that apply.
          Po Box 30255                                                  Contingent
          Lansing, MI 48909                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          Multiple                                                   Trailer Registration
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $264.55    $264.55
          State Of Wisconsin                                         Check all that apply.
          Department Of Natural Resources                               Contingent
          Po Box 7924                                                   Unliquidated
          Madison, WI 53707                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
          Multiple                                                   Trailer Registration
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $50,580.73    $50,580.73
          Vermillion County Treasurer                                Check all that apply.
          P.O. Box 730                                                  Contingent
          Danville, IL 61834                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          9/4/20                                                     Property Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $27,094.73    $27,094.73
          Wabash County Treasurer                                    Check all that apply.
          1 W. Hill Street                                              Contingent
          Suite 104                                                     Unliquidated
          Wabash, IN 46992                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:
          11/10/20                                                   Property Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 10 of 134
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               Case 21-30037                   Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                            Desc Main
                                                                     Document     Page 44 of 214
 Debtor        Tea Olive I, LLC                                                                               Case number (if known)          21-30037
               Name

 2.39       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                  $49,552.39    $49,552.39
            Will County Treasurer                                    Check all that apply.
            302 N. Chicago St.                                          Contingent
            Joliet, IL 60432                                            Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
            9/3/2020                                                 Property Tax
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.40       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                  $66,997.37    $66,997.37
            Wisconsin Dept. of Revenue                               Check all that apply.
            2135 Rimrock Rd                                             Contingent
            Madison, WI 53708                                           Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
            1/9/21                                                   Sales Tax
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $5,747.05
           .30-06 Outdoors                                                             Contingent
           1135 Williams Rd                                                            Unliquidated
           Columbus, OH 43207                                                          Disputed
           Date(s) debt was incurred     Multiple                                  Basis for the claim:     Trade
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.              $11,633.92
           13 Fishing (Dqc International Dba 13 Fis                                    Contingent
           13323 W. Hillsborough Avenue                                                Unliquidated
           Unit 103                                                                    Disputed
           Tampa, FL 33635
                                                                                   Basis for the claim:     Trade
           Date(s) debt was incurred Multiple
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.              $57,295.55
           2Nb Prevue Pet Products                                                     Contingent
           224 N. Maplewood Avenue                                                     Unliquidated
           Chicago,, IL 60612                                                          Disputed
           Date(s) debt was incurred Multiple
                                                                                   Basis for the claim:     Trade
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 11 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 45 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $35.32
          455-Praxair Distribution Inc.                                         Contingent
          Dept Ch 10660                                                         Unliquidated
          Palatine, IL 60055                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $125,000.00
          _AGPlus Program Members                                               Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    2020 AgPlus Program Unused Credits
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $352,153.61
          _Holders of Unused Gift Cards                                         Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Unused Gift Cards
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,512.77
          A & I Products                                                        Contingent
          1020 22Nd Ave.                                                        Unliquidated
          P.O. Box 8                                                            Disputed
          Rock Valley, IA 51247
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $125.00
          A & T Property Service                                                Contingent
          6151 S 390 East                                                       Unliquidated
          Wabash, IN 46992                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,750.00
          A Clubb Lawn Care & Landscaping Inc                                   Contingent
          2760 N Il Rte 47                                                      Unliquidated
          Morris, IL 60450                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $892.00
          A Plus Home Improvement                                               Contingent
          305 North East Ave.                                                   Unliquidated
          Kankakee, IL 60901                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 12 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 46 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,924.24
          Absorbent Products                                                    Contingent
          724 Sarcee St East                                                    Unliquidated
          Kamloops, BC V2H 1                                                    Disputed
          Canada
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,373.85
          Acd Distribution LLC                                                  Contingent
          3129 Deming Way                                                       Unliquidated
          Middleton, WI 53562                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $150.00
          Adaptive Enviroments                                                  Contingent
          43600 Utica Rd                                                        Unliquidated
          Sterling Heights, MI 48314                                            Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,796.69
          Adp, Inc.                                                             Contingent
          Po Box 842875                                                         Unliquidated
          Boston, MA 02284                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,046.49
          Adt Commercial LLC                                                    Contingent
          Po Box 219044                                                         Unliquidated
          Kansas City, MO 64121                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $61,160.31
          Advanced Drainage System                                              Contingent
          P.O. Box 3000                                                         Unliquidated
          Hilliard, OH 43026                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,342.06
          Advanced Technology International                                     Contingent
          707 Beech Street                                                      Unliquidated
          Grafton, WI 53024                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 13 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 47 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,311.37
          Adventure Products/Ego                                                Contingent
          918 Laurel St                                                         Unliquidated
          Caldwell, ID 83605                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,510.00
          Aerosoft Footwear Usa Llc                                             Contingent
          9204 Brown Lane, Suite B                                              Unliquidated
          Austin, TX 78745                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,420.63
          Agri Fab                                                              Contingent
          303 West Raymond Street                                               Unliquidated
          Sullivan,, IL 61951                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,147.00
          Agsco Corporation                                                     Contingent
          160 West Hintz Road                                                   Unliquidated
          Wheeling, IL 60090                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,030.69
          Albert E Pfaff                                                        Contingent
          311 E Jackson St                                                      Unliquidated
          Morris, IL 60450                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,245.52
          All Star Sports & More                                                Contingent
          1403 E County Rd M                                                    Unliquidated
          Milton, WI 53563                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,100.00
          All-Star Lawn And Landscape                                           Contingent
          29251 County Road 20                                                  Unliquidated
          Elkhart, IN 46517                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 14 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 48 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,784.55
          Alliant Energy                                                        Contingent
          Po Box 3062                                                           Unliquidated
          Cedar Rapids, IA 52406                                                Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,976.20
          Amanda Blu & Co Llc                                                   Contingent
          883 N Jan Mar Ct                                                      Unliquidated
          Olathe Ks, KS 66061                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $31,767.19
          Ameren Illinois                                                       Contingent
          P.O. Box 88034                                                        Unliquidated
          Chicago, IL 60680                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,415.37
          American Belt Company                                                 Contingent
          Carhartt Belts                                                        Unliquidated
          320 5Th Avenue, Suite 1111                                            Disputed
          New York, NY 10001
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,048.85
          American Bottling Company/ 7-Up                                       Contingent
          21431 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $159,645.44
          American Distribution & Manufacturing Co                              Contingent
          7900 97Th Street South                                                Unliquidated
          Cottage Grove, MN 55016                                               Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,694.57
          American Electric Power                                               Contingent
          Aep Ohio                                                              Unliquidated
          P.O Box 371496                                                        Disputed
          Pittsburg, PA 15250
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 15 of 134
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 49 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,584.41
          American Moving Supplies                                              Contingent
          2830 Merrel Road                                                      Unliquidated
          Dallas, TX 75229                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,997.58
          Ames True Temper                                                      Contingent
          465 Railroad Avenue                                                   Unliquidated
          Camp Hill,, PA 17001                                                  Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,139.76
          Amish Country Popcorn                                                 Contingent
          5433 S. 150 E                                                         Unliquidated
          Berne, IN 46711                                                       Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,716.02
          Amtrol/Water Worker                                                   Contingent
          1400 Division Road                                                    Unliquidated
          West Warwick, OH 02893                                                Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,062.34
          Anderson Plumbing & Heating Inc.                                      Contingent
          621 First Ave.                                                        Unliquidated
          Rochelle, IL 61068                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,952.60
          Andy'S Seasoning                                                      Contingent
          2829 Chouteau Avenue                                                  Unliquidated
          St. Louis, MO 63103                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,693.00
          Angel Pest Control                                                    Contingent
          113 S. Adams Ave.                                                     Unliquidated
          Fowler, IN 47944                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 16 of 134
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 50 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,194.53
          Antler King Trophy Products                                           Contingent
          811 Red Iron Rd                                                       Unliquidated
          Black River Fall, WI 54615                                            Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $64,706.34
          Apache Hose And Belting                                               Contingent
          4805 Bowling Street                                                   Unliquidated
          P.O. Box 1719                                                         Disputed
          Cedar Rapids, IA 52404
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $42,041.58
          Apex Delta Consolidated                                               Contingent
          2728 Capital Boulevard                                                Unliquidated
          Raleigh, NC 27604                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,752.98
          Apex Tool Group, Llc                                                  Contingent
          P.O. Box 728                    *Nbo                                  Unliquidated
          Fax 800-423-6175                                                      Disputed
          Apex, NC 27502
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Aqua Illinois                                                         Contingent
          P.O Box 70279                                                         Unliquidated
          Philadelphia, PA 19176                                                Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $703.74
          Aquality Solutions                                                    Contingent
          102 North 1St Ave                                                     Unliquidated
          Hoopeston, IL 60942                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,777.31
          Aquality Solutions, LLC                                               Contingent
          Po Box 100                                                            Unliquidated
          Hoopeston, IL 60942                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 17 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 51 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $107,447.76
          Aquatic Control                                                       Contingent
          P.O. Box 100                                                          Unliquidated
          Seymour, IN 47274                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $229.96
          Aramark Uniform & Career Apparel, LLC                                 Contingent
          Aus St.Louis Mc Lockbox                                               Unliquidated
          26792 Network Place                                                   Disputed
          Chicago, IL 60673
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $306.00
          Arc Of Wabash Co, Inc                                                 Contingent
          Po Box 400                                                            Unliquidated
          Wabash, IN 46992                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,430.22
          Area Disposal Services Inc.                                           Contingent
          Pdc/Area Companies                                                    Unliquidated
          32289 Collection Ctr. Drive                                           Disputed
          Chicago, IL 60693
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $316,215.89
          Ariat International                                                   Contingent
          3242 Whipple Road                                                     Unliquidated
          Union City, CA 94587                                                  Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,394.00
          Ark Naturals Co                                                       Contingent
          1121 E Twiggs St                                                      Unliquidated
          Suite 100                                                             Disputed
          Tampa, FL 33602
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,500.00
          Armscor Usa/Rock Island                                               Contingent
          150 North Smart Way                                                   Unliquidated
          Pahrump, NV 89060                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 18 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 52 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,750.13
          Arrow Pest Control                                                    Contingent
          P.O. Box 515                                                          Unliquidated
          Plymouth, IN 46563                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $89.00
          Arrow Precision, Llc                                                  Contingent
          1619 W. Washington St.                                                Unliquidated
          Allentown, PA 18102                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,241.47
          Artex Knitting Mills                                                  Contingent
          300 Harvard Avenue                                                    Unliquidated
          P.O. Box 183                                                          Disputed
          Westville, NJ 08093
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,002.17
          Asl Solutions, Inc.                                                   Contingent
          212 South Main Street                                                 Unliquidated
          P.O. Box 195                                                          Disputed
          Ste. Marie, IL 62459
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,614.54
          AT&T                                                                  Contingent
          P.O.Box 5014                                                          Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $553.17
          AT&T                                                                  Contingent
          Po Box 5080                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $243.75
          AT&T                                                                  Contingent
          P.O. Box 5080                                                         Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 19 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 53 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,970.95
          At&T Business Services                                                Contingent
          P.O. Box 5019                                                         Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,200.00
          ATN Inc                                                               Contingent
          2970 Marie Ave Ste 123                                                Unliquidated
          Northbrook, IL 60062                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,232.90
          Auca Chicago Mc Lockbox                                               Contingent
          25259 Network Plaza                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $989.00
          Automatic Entrances Of Wisconsin Inc                                  Contingent
          1712 Paramount Ct                                                     Unliquidated
          Waukesha, WI 53186                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,445.00
          Avalara, Inc.                                                         Contingent
          Dept. Ch 16781                                                        Unliquidated
          Palatine, IL 60055                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,227.82
          B&B Live Bait                                                         Contingent
          1025 Lasalle St                                                       Unliquidated
          Ottawa, IL 61350                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          B&B Live Bait                                                         Contingent
          1025 LaSalle St                                                       Unliquidated
          Ottawa, IL 61350-2018                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 20 of 134
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 54 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,890.00
          B&R Plastics, Inc.                                                    Contingent
          4550 Kingston Street                                                  Unliquidated
          Denver,, CO 80239                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,815.97
          Bac Industries                                                        Contingent
          15067 Spruce Hill Park Rd Ne                                          Unliquidated
          Miltona, MN 56354                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,015.00
          Bahler Transportation Services                                        Contingent
          P.O. Box 225                                                          Unliquidated
          Fairbury, IL 61739                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,569.14
          Ballreich Bros. Inc.                                                  Contingent
          186 Ohio Avenue                                                       Unliquidated
          Tiffin, OH 44883                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,289.52
          Balmshot LLC                                                          Contingent
          1952 S Wilde Creek Way                                                Unliquidated
          Boise, ID 83709                                                       Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $51,336.79
          Banded Holdings - Avery Outdoors/Superst                              Contingent
          335 Cumberland Street                                                 Unliquidated
          Memphis, TN 38112                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,706.20
          Banjo                                                                 Contingent
          13 Banjo Drive                                                        Unliquidated
          Crawfordsville, IN 47933                                              Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 21 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 55 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $165.00
          Banner Electric, Inc                                                  Contingent
          1515 W. Jefferson St                                                  Unliquidated
          Plymouth, IN 46563                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21,194.00
          Basic Fun                                                             Contingent
          301 Yamato Rd                                                         Unliquidated
          Suite 2112                                                            Disputed
          Boca Raton, FL 33431
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Battenfield Technologies, Inc.
          Crimson Trace Corp.                                                   Contingent
          Andy LB# 5810                                                         Unliquidated
          PO Box 95000-5810                                                     Disputed
          Philadelphia, PA 19195-0001
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $14.85
          Bay County Department Of Water And Sewer                              Contingent
          3933 Patterson Road                                                   Unliquidated
          Bay Citiy, MI 48706                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $51,016.00
          Baycom, Inc                                                           Contingent
          Po Box 88013                                                          Unliquidated
          Milwaukee, WI 53288                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $36,000.00
          Bazaarvoice, Inc.                                                     Contingent
          10901 Stonelake Blvd.                                                 Unliquidated
          Austin, TX 78759                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,432.00
          Bc Forward                                                            Contingent
          Po Box 71495                                                          Unliquidated
          Chicago, IL 60694                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 22 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 56 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $146,094.87
          Bcs Distributing                                                      Contingent
          1510 Brookfield Avenue                                                Unliquidated
          Green Bay, WI 54313                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $22,167.84
          Beacon Power, Inc.                                                    Contingent
          5690 Bandini Road                                                     Unliquidated
          Bell, CA 90201                                                        Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $514.32
          Beaumont Products                                                     Contingent
          1560 Big Shanty Drive                                                 Unliquidated
          Kennesaw, GA 30144                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,201.48
          Becks Superior Hybrids                                                Contingent
          6767 E 276Th Street                                                   Unliquidated
          Atlanta, IN 46031                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,384.72
          Bee Jay Bait Co                                                       Contingent
          8407 Sw 59 Hwy                                                        Unliquidated
          St Joseph, MO 64504                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $114,976.83
          Behlen Mfg Co                                                         Contingent
          Po Box 569                                                            Unliquidated
          Columbus, NE 68602                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,340.10
          Behrens Manufacturing                                                 Contingent
          1250 E Sanborn Street                                                 Unliquidated
          Winona, MN 55987                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 23 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 57 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,738.41
          Bell Sports                                                           Contingent
          6225 N State Hwy 162                                                  Unliquidated
          Irving, TX 75038                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $98.00
          Berg-Johnson Electrical                                               Contingent
          Contractors, Inc.                                                     Unliquidated
          P.O. Box 219                                                          Disputed
          Rochelle, IL 61068
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,750.50
          Bermo                                                                 Contingent
          1403 Gillingham Lp                                                    Unliquidated
          Suite 200                                                             Disputed
          Sugar Land, TX 77478
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35,485.72
          Berne Apparel                                                         Contingent
          P.O. Box 309                                                          Unliquidated
          Berne, IN 46711                                                       Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $144,300.00
          Best & Flanagan                                                       Contingent
          60 South 6Th St                                                       Unliquidated
          Suite 2700                                                            Disputed
          Minneapolis, MN 55402
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,376.24
          Best Security Industries                                              Contingent
          755 Nw 17Th Avenue                                                    Unliquidated
          Suit #101                                                             Disputed
          Delray Beach, FL 33445
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,562.37
          Big Time Products                                                     Contingent
          2 Wilbanks Rd.                                                        Unliquidated
          Rome, GA 30161                                                        Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 24 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 58 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $375,445.44
          Bill Hicks Company                                                    Contingent
          15155 23Rd Ave North                                                  Unliquidated
          Minneapolis, MN 55447                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,730.42
          Bird X                                                                Contingent
          300 North Oakly Blvd                                                  Unliquidated
          Chicago, IL 60612                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $602.25
          Black & Decker                                                        Contingent
          Power Tools               *Nbo                                        Unliquidated
          So. Holland, IL 60473                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $921.50
          Black Diamond Plumbing & Mechanical Inc                               Contingent
          1400 Miller Parkway                                                   Unliquidated
          Mchenry, IL 60050                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,094.02
          Black Swan Mfg Co                                                     Contingent
          4540 West Thomas Street                                               Unliquidated
          Chicago, IL 60651                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,809.46
          Blackburn                                                             Contingent
          P.O. Box 86                                                           Unliquidated
          Neligh, NE 68756                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $91,685.83
          Blocker Outdoors LLC                                                  Contingent
          1731 Wierengo Drive                                                   Unliquidated
          Muskego, MI 49442                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 25 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 59 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,082.71
          Bloem, LLC                                                            Contingent
          Po Box 583                                                            Unliquidated
          Hudsonville, MI 49426                                                 Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $64,000.00
          Boatburner Inc                                                        Contingent
          275 4Th St E                                                          Unliquidated
          St Paul, MN 55101                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $996.60
          Boehlke Bottled Gas Corp                                              Contingent
          1020 Highway 60                                                       Unliquidated
          Cedarburg, WI 53012                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Bonide Products                                                       Contingent
          VG Supply Co Inc.                                                     Unliquidated
          1400 Renaissance Drive Ste 309                                        Disputed
          Park Ridge, IL 60068-1336
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,066.67
          Borealis Led Lighting Ltd                                             Contingent
          Po Box 511                                                            Unliquidated
          Oswego, IL 60543                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21,448.59
          Bradshaw Intl                                                         Contingent
          9409 Buffalo Ave                                                      Unliquidated
          Rancho Cucamonga, CA 91730                                            Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,575.00
          Brandon Ross                                                          Contingent
          American Eagle Lawn & Home                                            Unliquidated
          1772 South 75 East                                                    Disputed
          Wabash, IN 46992
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 26 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 60 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $534.50
          Brant's Auto Farm & Fab                                               Contingent
          4404 N 100 E                                                          Unliquidated
          Marion, IN 46952                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,022.44
          Brenmar Company                                                       Contingent
          8523 S 117Th St                                                       Unliquidated
          La Vista, NE 68128                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $350.00
          Brian Kerr                                                            Contingent
          8201 S 800 W                                                          Unliquidated
          Kewanna, IN 46939                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,836.62
          Brightedge Technologies, Inc.                                         Contingent
          989 E. Hillsdale Blvd. Ste 300                                        Unliquidated
          Foster City, CA 94404                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $265.00
          Bruce Batson                                                          Contingent
          Phoenix Plumbing                                                      Unliquidated
          P.O. Box 871                                                          Disputed
          Elkhart, IN 46515
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Bruesewitz Plumbing Inc.                                              Contingent
          1201 Milwaukee Avenue                                                 Unliquidated
          Burlington, WI 53105-1388                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $474.81
          Brueswitz Plumbing Inc                                                Contingent
          1201 Milwaukee Ave                                                    Unliquidated
          Burlington, WI 53105                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 27 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 61 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,864.23
          Bryan Equipment Sales, Inc                                            Contingent
          6300 Smith Road                                                       Unliquidated
          Loveland, OH 45140                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,576.50
          Buck Wear Inc.                                                        Contingent
          2900 Cowan Ave                                                        Unliquidated
          Baltimore, MD 21223                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,437.96
          Buckeye Exterminating, Inc.                                           Contingent
          P.O. Box 246                                                          Unliquidated
          Ottoville, OH 45876                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,544.30
          Buddeez, Inc.                                                         Contingent
          P.O. Box 207                                                          Unliquidated
          Wentzville,, MO 63385                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $270.00
          Burlington Police Department                                          Contingent
          224 East Jefferson Street                                             Unliquidated
          Burlington, WI 53105                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $935.87
          Burlington Water Utility                                              Contingent
          2200 S Pine Street                                                    Unliquidated
          Burlington, WI 53105                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $491,447.55
          Business Impact Group                                                 Contingent
          2411 Galpin Court                                                     Unliquidated
          Suite 120                                                             Disputed
          Chanhasses, MN 55317
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 28 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 62 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $935.00
          Busse's Excavating                                                    Contingent
          9931 W 700 N                                                          Unliquidated
          Waynetown, IN 47990                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,929.77
          Bussmann                                                              Contingent
          P.O. Box 14460 Ref.# P-0783                                           Unliquidated
          St.Louis, MO 63178                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $51,233.87
          Butcher's Block Pet Treats                                            Contingent
          11626 I Street                                                        Unliquidated
          Omaha, NE 68137                                                       Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $663.76
          Buth-Joppes Ice Cream Co                                              Contingent
          1154 Comstock St                                                      Unliquidated
          Marne, MI 49435                                                       Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,560.00
          Butler'S Pantry                                                       Contingent
          Columbus Vegetable Oils                                               Unliquidated
          30 East Oakton                                                        Disputed
          Des Plains, IL 60018
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,584.62
          Buyers Products Co.                                                   Contingent
          9049 Tyler Blvd                                                       Unliquidated
          Mentor, OH 44060                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,559.00
          C & L Trucking & Maintenance                                          Contingent
          300 N Veterans Parkway                                                Unliquidated
          P.O. Box 161                                                          Disputed
          Watseka, IL 60970
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 29 of 134
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 63 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,040.26
          C&S Products                                                          Contingent
          P.O. Box 4997                                                         Unliquidated
          Des Moines, IA 50305                                                  Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21,557.33
          C.H. Robinson Co.                                                     Contingent
          P.O. Box 9121                                                         Unliquidated
          Minneapolis, MN 55480                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,527.32
          Cable Electric, LLC                                                   Contingent
          23128 Cr 44                                                           Unliquidated
          New Paris, IN 46553                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $985.00
          Cal And Shan'S Landscape And                                          Contingent
          Design, Inc.                                                          Unliquidated
          2819 Raycraft Road                                                    Disputed
          Woodstock, IL 60098
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,843.08
          Cal Term/Apw Tools                                                    Contingent
          Apw Tools And Supplies                                                Unliquidated
          6100 North Baker Road                                                 Disputed
          Milwaukee, WI 53209
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Call One                                                              Contingent
          PO Box 76112                                                          Unliquidated
          Cleveland, OH 44010-1204                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $621,297.71
          Cam 2 International                                                   Contingent
          3412 Pemberton Square Blv                                             Unliquidated
          Suite 2-317                                                           Disputed
          Vicksburg, MS 39180
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 30 of 134
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 64 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,270.00
          Candle Warmer                                                         Contingent
          1948 W 2425 S                                                         Unliquidated
          Wood Cross, UT 84087                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $174.08
          Capitol Scale                                                         Contingent
          2744 Pearl Ct.                                                        Unliquidated
          Sun Prairie, WI 53590                                                 Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $111,975.12
          Carry-On Trailer                                                      Contingent
          90 Pifers Ln                                                          Unliquidated
          Sullivan, IL 61951                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,193.00
          CCA & B - Elf On The Shelf                                            Contingent
          3350 Riverwood Parkway                                                Unliquidated
          Suite 300                                                             Disputed
          Atlanta, GA 30339
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,903.10
          Ceaco                                                                 Contingent
          70 Bridge Street                                                      Unliquidated
          Newton, MA 02458                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21,115.71
          Ceka Farms/American Oak                                               Contingent
          601 Mulberry St                                                       Unliquidated
          North Judson, IN 46366                                                Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,000.00
          Central Big R                                                         Contingent
          Po Box 158                                                            Unliquidated
          Watseka, IL 60970                                                     Disputed
          Date(s) debt was incurred      1/1/2021                            Basis for the claim:    Rent
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 31 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 65 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $763.68
          Central Life Sciences                                                 Contingent
          Farnam                                                                Unliquidated
          301 W. Osborn                                                         Disputed
          Phoenix, AZ 85037
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,850.41
          Century Drill & Tool Corp.                                            Contingent
          1160 Contract Dr                                                      Unliquidated
          Green Bay, WI 54304                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,695.06
          Century Link                                                          Contingent
          P.O. Box 2961                                                         Unliquidated
          Phoenix, AZ 85062                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $37.43
          Ceramo Pottery Inc                                                    Contingent
          Po Box 485                                                            Unliquidated
          Jackson, MO 63755                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,222.86
          Charlie Brewer Slider Co.                                             Contingent
          2326 Springer Rd.                                                     Unliquidated
          P.O. Box 130                                                          Disputed
          Lawrenceburg, TN 38464
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $793.50
          Cherry Republic                                                       Contingent
          Po Box 677                                                            Unliquidated
          Glen Arbor, MI 49636                                                  Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35,763.75
          Chs Sunflower                                                         Contingent
          220 Clement Ave                                                       Unliquidated
          Grandin, ND 58038                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 32 of 134
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 66 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $40,710.00
          Chubb                                                                 Contingent
          P.O. Box 382001                                                       Unliquidated
          Pittsburgh, PA 15250                                                  Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,458.66
          Cid Resources, Inc.                                                   Contingent
          601 S. Royal Lane                                                     Unliquidated
          Coppell, TX 75019                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $170,680.21
          Citgo, Petroleum Corp                                                 Contingent
          One Warren Place                                                      Unliquidated
          Po Box 3758                                                           Disputed
          Tulsa, OK 74102
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $20.86
          Claeys Candy, Inc.                                                    Contingent
          Po Box 1535                                                           Unliquidated
          South Bend, IN 46634                                                  Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,415.00
          Cleaves Mechanical Services Llc                                       Contingent
          American Heating & Ac, Inc.                                           Unliquidated
          407 W. Spring St.                                                     Disputed
          Lima, OH 45801
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,764.80
          Clinton Decoy                                                         Contingent
          P.O. Box 3093                                                         Unliquidated
          Clinton, IA 52732                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $29,948.75
          Clocktower Plaza, Llc                                                 Contingent
          970 Windham Court                                                     Unliquidated
          Suite 7                                                               Disputed
          Boardman, OH 44512
                                                                             Basis for the claim:    Rent
          Date(s) debt was incurred      1/1/2021
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 33 of 134
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 67 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,609.91
          Clover                                                                Contingent
          Telecheck Services, Inc                                               Unliquidated
          Po Box 60028                                                          Disputed
          City Of Industry, CA 91716
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,924.66
          Coastal Pet Products                                                  Contingent
          911 Leadway Ave                                                       Unliquidated
          Alliance, OH 44601                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,449.72
          Coca Cola Bottling Co.                                                Contingent
          P.O. Box 602937                                                       Unliquidated
          Charlotte, NC 28260                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $358.16
          Coca-Cola Bottling - Plymouth                                         Contingent
          1701 Pidco Drive                                                      Unliquidated
          Plymouth, IN 46563                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $854.92
          Coca-Cola Enterprises                                                 Contingent
          2335 Paysphere Circle                                                 Unliquidated
          Chicago, IL 60674                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,644.10
          Cogimex                                                               Contingent
          575 Madison Ave. 25Th Floor                                           Unliquidated
          New York, NY 10022                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,789.09
          Coleman                                                               Contingent
          3600 N. Hydraulic                                                     Unliquidated
          Wichita, KS 67219                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 34 of 134
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 68 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,716.62
          Coleman Cable Inc                                                     Contingent
          1530 Shields Drive                                                    Unliquidated
          Waukegan, IL 60085                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $95,580.00
          Coleman Powersports                                                   Contingent
          Rich Godfrey & Associates                                             Unliquidated
          1775 E University Drive                                               Disputed
          Tempe, AZ 85281
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,118.01
          Columbia Gas Of Ohio                                                  Contingent
          Po Box 4629                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,812.95
          Com Ed                                                                Contingent
          P.O. Box 6111                                                         Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $23,472.48
          Combined Manufacturing/ Ez-Pour                                       Contingent
          18451 Centaur Rd                                                      Unliquidated
          Wildwood, MO 63005                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $899.58
          Comcast                                                               Contingent
          Po Box 60533                                                          Unliquidated
          City Of Industry, CA 91716                                            Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,948.95
          Comcast                                                               Contingent
          Po Box 70219                                                          Unliquidated
          Philadelphia, PA 19176                                                Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 35 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 69 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $259,381.52
          Compass Minerals America                                              Contingent
          9900 West 109Th Street                                                Unliquidated
          Suite 600                                                             Disputed
          Overland Park, KS 66210
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,893.60
          Computer Add Ons Inc                                                  Contingent
          86 Denton Ave                                                         Unliquidated
          New Hyde Park, NY 11040                                               Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,288.80
          Conagra Food Sales, LLC                                               Contingent
          4745 Walnut Street                                                    Unliquidated
          Suite A                                                               Disputed
          Boulder, CO 80301
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,455.20
          Concentric International                                              Contingent
          1901 Bell Ave. Ste. 18                                                Unliquidated
          Des Moines, IA 50315                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,060.35
          Concur Technologies Inc                                               Contingent
          62157 Collections Center Dr                                           Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $203.85
          Confetti                                                              Contingent
          Capital Factors, Inc.                                                 Unliquidated
          P.O. Box 31690                                                        Disputed
          Tampa, FL 33631
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $87.36
          Confidential On-Site Paper                                            Contingent
          Shredding                                                             Unliquidated
          422 S. White Oak Road                                                 Disputed
          Normal, IL 61761
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 36 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 70 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,273.86
          Consumers Energy                                                      Contingent
          Payment Center                                                        Unliquidated
          Po Box 740309                                                         Disputed
          Cincinnati, OH 45274
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $39,861.28
          Consumers Supply Dist LLC                                             Contingent
          P O Box 1820                                                          Unliquidated
          North Sioux City, SD 57049                                            Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,570.00
          Continental Industries Inc                                            Contingent
          Po Box 865                                                            Unliquidated
          Shepherdsville, KY 40165                                              Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $196,469.07
          Copeland Buhl                                                         Contingent
          800 East Wayzata Blvd                                                 Unliquidated
          Suite 300                                                             Disputed
          Wayzata, MN 55391
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $874.00
          Corporation Service Company                                           Contingent
          Csc                                                                   Unliquidated
          P.O. Box 13397                                                        Disputed
          Philadelphia, PA 19101
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,940.18
          Cosmic Pet                                                            Contingent
          3100 S. Meridian                                                      Unliquidated
          Wichita,, KS 67217                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $721.60
          Cottage Watchman Security System                                      Contingent
          883 S 900 E                                                           Unliquidated
          Pierceton, IN 46562                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 37 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 71 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,598.40
          Cow Creek Ranch House                                                 Contingent
          106043 N 3840 Road                                                    Unliquidated
          Okemah, OK 74859                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,341.78
          Craig Fouts & Sons, Inc.                                              Contingent
          Dba Hoosier Machinery Solutions                                       Unliquidated
          9450 W Us 30                                                          Disputed
          Wanatah, IN 46390
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,695.49
          Crawfordsville Electric Light                                         Contingent
          & Power/Accelplus                                                     Unliquidated
          P.O. Box 428                                                          Disputed
          Crawfordsville, IN 47933
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $127.46
          Crawfordsville Utilities                                              Contingent
          P.O. Box 935                                                          Unliquidated
          Crawfordsville, IN 47933                                              Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,470.75
          Crimson Trace Corporation                                             Contingent
          9780 Sw Freeman Drive                                                 Unliquidated
          Wilsonville, OR 97070                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $150.00
          Cross Points Sales, Inc.                                              Contingent
          3158 S. State St.                                                     Unliquidated
          Lockport, IL 60441                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.01
          Crow Shooting Supply                                                  Contingent
          200 S Front St                                                        Unliquidated
          Montezuma, IA 50171                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 38 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 72 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $68,466.97
          Crown Credit Company                                                  Contingent
          P.O. Box 640352                                                       Unliquidated
          Cincinnati, OH 45264                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,736.80
          Crown Equipment Corporation                                           Contingent
          Po Box 641173                                                         Unliquidated
          Cincinnati, OH 45264                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $48,904.63
          Crown Lift Trucks                                                     Contingent
          P.O. Box 641173                                                       Unliquidated
          Cincinnati, OH 45264                                                  Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,323.29
          Cst/Berger Rolatape                                                   Contingent
          255 W. Fleming St                                                     Unliquidated
          Watseka, IL 60970                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $25.00
          Csu Producer Resources Inc                                            Contingent
          Po Box 145416                                                         Unliquidated
          Cincinnati, OH 45250                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $34,780.45
          CTM Enterprises, Inc.                                                 Contingent
          29696 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $70,614.37
          Curt Manufacturing                                                    Contingent
          6208 Industrial Drive                                                 Unliquidated
          Eau Claire, WI 54701                                                  Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 39 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 73 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $972.36
          Curt Manufacturing Inc.                                               Contingent
          Box 88006                                                             Unliquidated
          Milwaukee, WI 53288                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,769.52
          Custom Accessories                                                    Contingent
          5900 Ami Drive                                                        Unliquidated
          Richmond, IL 60071                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $300.00
          Custom Landscaping, Inc.                                              Contingent
          2012 East U.S. Hwy. 20                                                Unliquidated
          Michigan City, IN 46360                                               Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,760.00
          D&M Fencing                                                           Contingent
          8656 Deep Cut Rd                                                      Unliquidated
          Spenserville, OH 45887                                                Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,279.63
          D.M.F. Bait                                                           Contingent
          1130 Sylvertis Dr                                                     Unliquidated
          Waterford, MI 48328                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,302.70
          Dad's Root Beer Company                                               Contingent
          950 South St. Charles Street                                          Unliquidated
          Po Box 790                                                            Disputed
          Jasper, IN 47546
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,575.00
          Daggett Container Service Llc                                         Contingent
          15542 S. Airport Road                                                 Unliquidated
          Lansing, MI 48906                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 40 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 74 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,811.18
          Daido Corporation Of America                                          Contingent
          615 Pierce St.                                                        Unliquidated
          Somerset, NJ 08873                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $42,613.62
          Dakota Style Foods, Inc.                                              Contingent
          211 Industrial Drive                                                  Unliquidated
          Clark, SD 57225                                                       Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $52,806.60
          Dalen Products                                                        Contingent
          700 Dalen Lane                                                        Unliquidated
          Knoxville,, TN 37932                                                  Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Dan & Jerry's Greenhouses                                             Contingent
          2121 90Th St Ne                                                       Unliquidated
          Monticello, MN 55362                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $231.12
          Danville Sanitary District                                            Contingent
          P.O. Box 81                                                           Unliquidated
          Danvill, IL 61834                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $146,332.67
          Dare Products                                                         Contingent
          860 Betterly Rd.                                                      Unliquidated
          Fax#(269)965-3261                                                     Disputed
          Battle Creek, MI 49016
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $34,260.00
          Datasite Llc                                                          Contingent
          733 S Marquette Ave                                                   Unliquidated
          Suite 600                                                             Disputed
          Minneapolis, MN 55402
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 41 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 75 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,021.56
          Dead Down Wind, Llc                                                   Contingent
          7009 South Stewart Road                                               Unliquidated
          Pleasant Valley, MO 64068                                             Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $56,250.00
          Deck Internet Solutions                                               Contingent
          Deck Commerce                                                         Unliquidated
          1750 S Brentwood Blvd Ste 209                                         Disputed
          St. Louis, MO 63144
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,202.50
          Deez Cutz, Llc                                                        Contingent
          6599 W 600 N                                                          Unliquidated
          Marion, IN 46952                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $136,969.43
          Delavan Ag Pumps Inc                                                  Contingent
          1226 Linden Avenue                                                    Unliquidated
          Suite 123                                                             Disputed
          Minneapolis, MN 55403
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $909.57
          Dell Marketing                                                        Contingent
          C/O Dell Usa L.P.                                                     Unliquidated
          P.O. Box 802816                                                       Disputed
          Chicago, IL 60680
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $909.39
          Department Of Water Works                                             Contingent
          P.O. Box 888                                                          Unliquidated
          Michigan City, IN 46361                                               Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $924.69
          Depke Welding Supplies, Inc.                                          Contingent
          P.O. Box 967                                                          Unliquidated
          Danville, IL 61834                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 42 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 76 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,300.00
          Dexter Decorating Inc.                                                Contingent
          P.O. Box 296                                                          Unliquidated
          Crescent City, IL 60928                                               Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $425.67
          Diamond K Sheet Metal & Fabrication                                   Contingent
          934 S Nebraska St.                                                    Unliquidated
          Marion, IN 46953                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $49,500.42
          Diamond Pet Foods                                                     Contingent
          103 North Olive                                                       Unliquidated
          P.O. Box 156                                                          Disputed
          Meta,, MO 65058
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,824.76
          Dickey-John                                                           Contingent
          P.O. Box 10                                                           Unliquidated
          Fax#(319)365-7345                                                     Disputed
          Auburn, IL 62615
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $53,962.50
          Diecast Masters America                                               Contingent
          12717 W Sunrise Blvd                                                  Unliquidated
          Ste 418                                                               Disputed
          Sunrise, FL 33323
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,352.70
          Discover Home Import                                                  Contingent
          502 Rudder Rd                                                         Unliquidated
          Fenton, MO 63026                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $57,199.13
          Discover Home Products                                                Contingent
          502 Rudder Road                                                       Unliquidated
          Fenton, MO 63026                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 43 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 77 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,650.50
          Disselkoen & Mulder Farms                                             Contingent
          844 W County Line Road                                                Unliquidated
          Beecher, IL 60401                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $116,337.01
          Diversified Marine Products                                           Contingent
          3421 E North Ave                                                      Unliquidated
          #101                                                                  Disputed
          Fresno, CA 93725
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $38.00
          Divine Savior Healthcare                                              Contingent
          2817 New Pinery Rd                                                    Unliquidated
          Portage, WI 53901                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          DMF Bait Co.                                                          Contingent
          1130 Sylvertis Drive                                                  Unliquidated
          Waterford, MI 48328-2028                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Do it Best                                                            Contingent
          PO Box 868 Nelson Road                                                Unliquidated
          6502 Nelson Road                                                      Disputed
          Fort Wayne, IN 46803-1947
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,015.00
          Do-All Traps Inc - Jurassic Rock                                      Contingent
          2021 21St Avenue South                                                Unliquidated
          Suite #105                                                            Disputed
          Nashville, TN 37212
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $123,807.57
          Do-All Traps Inc - Targets                                            Contingent
          2021 21St Avenue South                                                Unliquidated
          Suite #105                                                            Disputed
          Nashville, TN 37212
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 44 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 78 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,859.00
          Domain Outdoor                                                        Contingent
          424 Park Ln                                                           Unliquidated
          Hudson, WI 54016                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,526.26
          Dominion Energy Ohio                                                  Contingent
          P.O. Box 26785                                                        Unliquidated
          Richmond, VA 23261                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $320.00
          Donald H. Luxton                                                      Contingent
          15186 E. Bethel Road                                                  Unliquidated
          Rochelle, IL 61068                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $770.01
          Dorcy International                                                   Contingent
          2700 Port Road                                                        Unliquidated
          Columbus, OH 43217                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,885.00
          Dorfman-Pacific Co.                                                   Contingent
          2615 Boeing Way                                                       Unliquidated
          P.O. Box 213005                                                       Disputed
          Stockton, CA 95213
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,743.08
          Douglas Co., Inc                                                      Contingent
          69 Kirf Road                                                          Unliquidated
          Po Box D                                                              Disputed
          Keene, NH 03431
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,604.22
          Dougs Overhead Doors                                                  Contingent
          1121 N. Jefferson                                                     Unliquidated
          Watseka, IL 60970                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 45 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 79 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,950.96
          Dow Chemical                                                          Contingent
          Insta-Foam/Flexible Products                                          Unliquidated
          1881 W. Oak Parkway                                                   Disputed
          Marietta,, GA 30062
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,171.20
          Dqb Industries                                                        Contingent
          32165 Schoolcraft Road                                                Unliquidated
          Livonia,, MI 48150                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $240.00
          Driftwood Enterprises                                                 Contingent
          Michigan City Garage Door                                             Unliquidated
          922 W Us Hwy 20                                                       Disputed
          Michigan City, IN 46360
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,013.60
          DS Waters                                                             Contingent
          Dba Hinckley Springs Water                                            Unliquidated
          6055 South Harlem Ave                                                 Disputed
          Chicago, IL 60638
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,790.24
          Duke Company                                                          Contingent
          P.O. Box 555                                                          Unliquidated
          West Point, MS 39773                                                  Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21,085.26
          Duke Energy                                                           Contingent
          P.O. Box 1326                                                         Unliquidated
          Charlotte, NC 28201                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,434.80
          Durable Inc.                                                          Contingent
          750 Northgate Parkway                                                 Unliquidated
          Wheeling, IL 60090                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 46 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 80 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,387.12
          Duraflame Inc.                                                        Contingent
          P.O. Box 398                                                          Unliquidated
          Pleasanton, TX 78064                                                  Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $400.55
          Durham Electric Inc.                                                  Contingent
          P.O. Box 68                                                           Unliquidated
          Pontiac, IL 61764                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,095.64
          Dynegy Energy Services                                                Contingent
          27679 Network Plaza                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,758.00
          E Mishan & Sons Inc                                                   Contingent
          230 5Th Avenue                                                        Unliquidated
          Suite 800                                                             Disputed
          New York, NY 10001
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,820.00
          E&B Paving                                                            Contingent
          286 W 300 N                                                           Unliquidated
          Anderson, IN 46012                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,100.00
          Eagle Eye Marketing                                                   Contingent
          119-660 Eglington Ave E                                               Unliquidated
          Toronto, ON M4G 2                                                     Disputed
          Canada
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $39,153.00
          Eagle Imports                                                         Contingent
          1750 Brielle Avenue                                                   Unliquidated
          Unit B-1                                                              Disputed
          Wanamassa, NJ 07712
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 47 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 81 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,901.97
          Earth Edge                                                            Contingent
          940 23Rd St Sw                                                        Unliquidated
          Hickory, NC 28602                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $42,162.12
          Earthkind                                                             Contingent
          3000 N. 14Th Suite 1B                                                 Unliquidated
          Bismark, ND 58503                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $23,189.36
          Echo Global Logistics Inc.                                            Contingent
          Accounts Receivable                                                   Unliquidated
          22168 Network Place                                                   Disputed
          Chicago, IL 60673
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $320.00
          Eco Shred                                                             Contingent
          310 Farabee Drive                                                     Unliquidated
          Lafayette, IN 47905                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,827.60
          Eco-Shell Inc                                                         Contingent
          5230 Grange Rd                                                        Unliquidated
          Corning, CA 96021                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $47,002.38
          Eder Flag Mfg.                                                        Contingent
          1000 West Rawson Avenue                                               Unliquidated
          Oak Creek,, WI 53154                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,498.88
          Edgewell Personal Care                                                Contingent
          A/K/A Banana Boat                                                     Unliquidated
          P.O. Box 537                                                          Disputed
          Neenah, WI 54927
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 48 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 82 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $147,466.44
          Eillien'S Candies, Inc.                                               Contingent
          Po Box 28017                                                          Unliquidated
          Green Bay, WI 54324                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $328.54
          Elkhart Public Utilities                                              Contingent
          P.O. Box 7027                                                         Unliquidated
          South Bend, IN 46634                                                  Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,745.47
          Emergetech, LLC                                                       Contingent
          Po Box 14550                                                          Unliquidated
          Scottsdale, AZ 85267                                                  Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,215.20
          Emerson Healthcare, LLC                                               Contingent
          407 E Lancaster Avenue                                                Unliquidated
          Wayne, PA 19087                                                       Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,046.48
          Entrance Technologies 1, LLC                                          Contingent
          Po Box 1416                                                           Unliquidated
          Eagle River, WI 54521                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,242.88
          Environmental Recycling                                               Contingent
          And Disposal Service                                                  Unliquidated
          P.O. Box 675                                                          Disputed
          Orland Park, IL 60462
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $102,808.27
          Epicor Software Corporation                                           Contingent
          P.O. Box 204768                                                       Unliquidated
          Dallas, TX 75320                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 49 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 83 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $87,848.20
          Essick Air Products                                                   Contingent
          Aka Bemis                                                             Unliquidated
          5800 Murray Street                                                    Disputed
          Little Rock, AR 72209
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,925.15
          Evergreen Enterprises                                                 Contingent
          5915 Midlothian Turnpike                                              Unliquidated
          Richmond, VA 23225                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $69.30
          Evergreen Fs, Inc.                                                    Contingent
          P.O. Box 1367                                                         Unliquidated
          Bloomington, IL 61702                                                 Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,051.20
          Evolution Outdoor Design                                              Contingent
          2002 Synergy Blvd                                                     Unliquidated
          Suite 100                                                             Disputed
          Kilgore, TX 75662
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $56,577.84
          Exhart Enviro. Inc.                                                   Contingent
          20364 Plummer Street                                                  Unliquidated
          Chatsworth,, CA 91311                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,590.50
          Explore Scientific - Toy                                              Contingent
          621 Madison Street                                                    Unliquidated
          Springdale, AR 72764                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,100.96
          Express Services, Inc.                                                Contingent
          Express Employment Professionals                                      Unliquidated
          P.O. Box 203901                                                       Disputed
          Dallas, TX 75320
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 50 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 84 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,767.70
          Eze Castle Integration                                                Contingent
          100 High Street                                                       Unliquidated
          16Th Floor                                                            Disputed
          Boston, MA 02110
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $36,987.70
          F.C. Young                                                            Contingent
          400 Howell Street                                                     Unliquidated
          Bristol,, PA 19007                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Farm Innovators                                                       Contingent
          Attn: Andrew                                                          Unliquidated
          Post Office Box 546                                                   Disputed
          Plymouth, IN 46563-0564
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,705.00
          Fbg Bottling Group Llc.                                               Contingent
          Frostop                                                               Unliquidated
          1523 Alum Creek Drive                                                 Disputed
          Columbus, OH 43209
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,001.69
          Federal Express                                                       Contingent
          P.O. Box 94515                                                        Unliquidated
          Palatine, IL 60094                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.01
          Federal Mogul /Champion                                               Contingent
          P.O. Box 7224                                                         Unliquidated
          St Louis, MO 63177                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,564.02
          Federal Process Corp                                                  Contingent
          4520 Richmond Road                                                    Unliquidated
          Cleveland, OH 44128                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 51 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 85 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,143.22
          Fedex Freight                                                         Contingent
          Dept Ch P.O. Box 10306                                                Unliquidated
          Palatine, IL 60055                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $294,527.90
          Feradyne Outdoors                                                     Contingent
          101 Main St.                                                          Unliquidated
          Superior, WI 54880                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,410.60
          Fiber By-Products Corp                                                Contingent
          70721 Us 131                                                          Unliquidated
          White Pigeon, MI 49099                                                Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,472.58
          Findlay Mall Capital Holding, LLC                                     Contingent
          1010 Northern Blvd                                                    Unliquidated
          Suite 212                                                             Disputed
          Great Neck, NY 11021
                                                                             Basis for the claim:    Rent
          Date(s) debt was incurred 1/1/2021
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $815.00
          Findlay-Hancock County                                                Contingent
          Chamber Of Commerc                                                    Unliquidated
          123 E Main Cross St                                                   Disputed
          Findlay, OH 45840
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $275.09
          Fire Dynamics, Llc                                                    Contingent
          614 West Caroll Street                                                Unliquidated
          Portage, WI 53901                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,700,000.00
          Firethorn Capital, Inc.                                               Contingent
          2600 Eagan Woods Dr                                                   Unliquidated
          Suite 120                                                             Disputed
          Eagan, MN 55121
                                                                             Basis for the claim:    Unsecured Note
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 52 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 86 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $260,175.34
          First Insurance Funding                                               Contingent
          450 Skokie Blvd, Suite 1000                                           Unliquidated
          Northbrook, IL 60062                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,591.20
          First Quality Consumer Products                                       Contingent
          601 Allendale Rd                                                      Unliquidated
          King Of Prussia, PA 19406                                             Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $29,166.90
          Fitt USA Inc                                                          Contingent
          234 Overhill Dr                                                       Unliquidated
          Unit C                                                                Disputed
          Mooresville, NC 28117
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $73,975.00
          Fleet Equipment Center Inc.                                           Contingent
          555 E South Frontage Road                                             Unliquidated
          Bolingbrook, IL 60440                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $117,742.91
          Foremost Tarp Company                                                 Contingent
          20 42Nd St. Ne                                                        Unliquidated
          Suite B                                                               Disputed
          Aubrun, WA 98002
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $33,624.92
          Forest Product Dist Inc                                               Contingent
          4200 Beach Dr                                                         Unliquidated
          Suite 2                                                               Disputed
          Rapid City, SD 57702
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $78,614.51
          Forney Industries, Inc                                                Contingent
          P.O. Box 563              *Nbo                                        Unliquidated
          Fax #970-498-9505                                                     Disputed
          Fort Collins, CO 80522
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 53 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 87 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $88,536.60
          Fosters Inc                                                           Contingent
          1441 N. Main                                                          Unliquidated
          East Peoria, IL 61611                                                 Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,000.00
          Fox River Plaza, LLC                                                  Contingent
          138 Buntrock Ave                                                      Unliquidated
          Thiensville, WI 53092                                                 Disputed
          Date(s) debt was incurred      1/1/2021                            Basis for the claim:    Rent
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $51,858.45
          Frogg Toggs                                                           Contingent
          131 Sundown Dr Nw                                                     Unliquidated
          Arab, AL 35016                                                        Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,268.40
          Frontier                                                              Contingent
          Po Box 740407                                                         Unliquidated
          Cincinnati, OH 45274                                                  Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $350.00
          Fulton County Chamber                                                 Contingent
          Of Commerce                                                           Unliquidated
          822 Main Street                                                       Disputed
          Rochester, IN 46975
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $49,158.22
          Funrise Distribution Co.                                              Contingent
          7811 Lemona Ave                                                       Unliquidated
          Van Nuys, CA 91405                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,544.63
          G5 Outdoors, Llc                                                      Contingent
          34775 Potter Street                                                   Unliquidated
          P.O. Box 59                                                           Disputed
          Memphis, MI 48041
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 54 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 88 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,781.15
          Gardner-Gibson                                                        Contingent
          4161 E. 7Th Avenue                                                    Unliquidated
          Tampa,, FL 33605                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $51,140.16
          Gc Telecom / Spypoint                                                 Contingent
          3000 Gannett Ave                                                      Unliquidated
          Des Moines, IA 50321                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $54,390.00
          Generac Power Systems                                                 Contingent
          S45 W29290 Hwy 59                                                     Unliquidated
          Waukesha, WI 53189                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,353.25
          George M Lukach                                                       Contingent
          1425 N 17Th Road                                                      Unliquidated
          Streator, IL 61364                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $82,342.42
          Gerson Company                                                        Contingent
          1450 S Lone Elm                                                       Unliquidated
          Po Box 1209                                                           Disputed
          Olathe, KS 66061
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $250.00
          Gibson Area Chamber Of Commerce                                       Contingent
          Box 294                                                               Unliquidated
          Gibson City, IL 60936                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,000.00
          Gilbar Trading Inc / Sketch 36                                        Contingent
          C/O Manufacturers' Exchange                                           Unliquidated
          10 West 33Rd Street                                                   Disputed
          New York, NY 10001
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 55 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 89 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $150,219.84
          Gildan Usa, Inc.                                                      Contingent
          1980 Clements Ferry Road                                              Unliquidated
          Charleston, SC 29492                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.313    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $100,913.45
          Global Harvest Foods                                                  Contingent
          16000 Christensen Road                                                Unliquidated
          Suite 300                                                             Disputed
          Seattle, WA 98188
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.314    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $47,081.13
          Global Pet Inx-Hillside Farms                                         Contingent
          16330 Bake Prky                                                       Unliquidated
          Irvine, CA 92618                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.315    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $23,199.48
          Gold Eagle                                                            Contingent
          4400 S. Kildare                                                       Unliquidated
          Chicago, IL 60632                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.316    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $108,384.01
          Googan Baits                                                          Contingent
          630 N 9Th St                                                          Unliquidated
          Thayer, MO 65791                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.317    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $57,364.58
          Gordini Usa, Inc.                                                     Contingent
          Carhartt Gloves                                                       Unliquidated
          67 Allen Martin Drive                                                 Disputed
          Essex Junction, VT 05451
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.318    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $59,658.44
          Gracious Living Corporation                                           Contingent
          7200 Martin Grove Road                                                Unliquidated
          Woodbridge, ON L4L91                                                  Disputed
          Canada
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 56 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 90 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.319    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $43,078.34
          Gramercy Products LLC Dba Nerf Pets                                   Contingent
          600 Meadowlands Prky                                                  Unliquidated
          Suite 131                                                             Disputed
          Secaucus, NJ 07094
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.320    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,045.50
          Granite Telecommunications                                            Contingent
          Client Id # 311                                                       Unliquidated
          P.O. Box 983119                                                       Disputed
          Boston, MA 02298
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.321    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,103.77
          Great Lakes Coca-Cola Dist.                                           Contingent
          P.O. Box 809082                                                       Unliquidated
          Chicago, IL 60680                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.322    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,517.88
          Great Plains                                                          Contingent
          5252 East 36Th St. North                                              Unliquidated
          Wichita, KS 67207                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.323    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $436.00
          Greater Elkhart Chamber                                               Contingent
          P.O. Box 428                                                          Unliquidated
          Elkhart, IN 46515                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.324    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $49,679.01
          Green Leaf                                                            Contingent
          P.O. Box 88                                                           Unliquidated
          Fax # 812-877-4278                                                    Disputed
          Fontanet, IN 47851
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.325    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,002.00
          Griffin Pest Solutions                                                Contingent
          3001 E Kilgore Rd                                                     Unliquidated
          Kalamazoo, MI 49001                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 57 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 91 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.326    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,240.00
          Group Sales                                                           Contingent
          412 S Cooper Ave                                                      Unliquidated
          Cincinnati, OH 45229                                                  Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.327    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $175.00
          Grundy County Health Department                                       Contingent
          1320 Union St                                                         Unliquidated
          Morris, IL 60450                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.328    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,923.15
          Guardian                                                              Contingent
          P.O. Box 677458                                                       Unliquidated
          Dallas, TX 75267                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.329    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,451.85
          H&P Sales Inc                                                         Contingent
          2022 Victory Dr                                                       Unliquidated
          Vista, CA 92084                                                       Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.330    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,275.00
          Halsted Corporation                                                   Contingent
          51 Commerce Dr.                                                       Unliquidated
          Cranbury, NJ 08512                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.331    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $58,206.59
          Hannas Candles                                                        Contingent
          2700 S Armstrong Ave                                                  Unliquidated
          Suite 2                                                               Disputed
          Fayetteville, AR 72701
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.332    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,983.25
          Hatsan Usa, Inc.                                                      Contingent
          Po Box 576                                                            Unliquidated
          Bentonville, AR 72712                                                 Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 58 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 92 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.333    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,288.50
          Hay-Bush Mechanical                                                   Contingent
          2301 Indianapolis Road                                                Unliquidated
          Crawfordsville, IN 47933                                              Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.334    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $370,746.84
          Health Care Service Corporation                                       Contingent
          25551 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.335    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,764.40
          Health Extension Pet Care                                             Contingent
          50 Commerce Dr                                                        Unliquidated
          Hauppauge, NY 11788                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.336    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,192.00
          Healthistraw                                                          Contingent
          40035 Rd. 31E                                                         Unliquidated
          Blumenort, MB Roa O                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.337    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $848.00
          Heritage Electrical Construction, Inc.                                Contingent
          13341 W. Haley Road                                                   Unliquidated
          Manhattan, IL 60442                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.338    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,605.00
          Hickory Farms, LLC                                                    Contingent
          811 Madison Ave.                                                      Unliquidated
          5Th Floor                                                             Disputed
          Toledo, OH 43604
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.339    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,708.99
          Hicksgas                                                              Contingent
          P.O. Box 339                                                          Unliquidated
          Oakwood, IL 61858                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 59 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 93 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.340    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $933.73
          Hicksgas                                                              Contingent
          1005 Interlake Drive                                                  Unliquidated
          Pontiac, IL 61764                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.341    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,982.84
          Hicksgas                                                              Contingent
          27833 Cooper Road                                                     Unliquidated
          Morton, IL 61550                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.342    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,448.58
          Hicksgas                                                              Contingent
          1620 E Walnut                                                         Unliquidated
          Watseka, IL 60970                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.343    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,793.98
          Hicksgas                                                              Contingent
          P.O Box 98                                                            Unliquidated
          Roberts, IL 60962                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.344    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $953.52
          Hicksgas                                                              Contingent
          415 S Division St                                                     Unliquidated
          Braidwood, IL 60408                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.345    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,301.72
          Hicksgas                                                              Contingent
          Hicksgas, Llc (Dekalb)                                                Unliquidated
          P.O. Box 577                                                          Disputed
          Cortland, IL 60112
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.346    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,873.84
          Hicksgas                                                              Contingent
          1023 Lake Ave.                                                        Unliquidated
          Woodstock, IL 60098                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 60 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 94 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.347    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,186.03
          Hicksgas                                                              Contingent
          4774 Dale Drive                                                       Unliquidated
          Lafayette, IN 47905                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.348    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,558.26
          Hicksgas                                                              Contingent
          P.O. Box 111                                                          Unliquidated
          Knox, IN 46534                                                        Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.349    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,090.73
          Hicksgas, LLC (Marseilles)                                            Contingent
          P.O. Box 127                                                          Unliquidated
          Marseilles, IL 61341                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.350    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,188.20
          Highline Aftermarket                                                  Contingent
          4635 Willow Drive                                                     Unliquidated
          Medina, MN 55340                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.351    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $166,485.80
          Hill'S Pet Nutrition                                                  Contingent
          P.O. Box 148                                                          Unliquidated
          Topeka, KS 66601                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.352    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,213.99
          Hillman Fastener                                                      Contingent
          P.O. Box 31012                                                        Unliquidated
          10590 Hamilton Ave.                                                   Disputed
          Cincinnati, OH 45231
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.353    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,183.10
          Hirecredit Llc                                                        Contingent
          8335 Allison Pointe Trail                                             Unliquidated
          Suite 190                                                             Disputed
          Indianapolis, IN 46250
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 61 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 95 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.354    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,077.48
          Holiday Trims                                                         Contingent
          600 Park Street                                                       Unliquidated
          Belgium,, WI 53004                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.355    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,759.55
          Home City Ice Co.                                                     Contingent
          P.O. Box 111116                                                       Unliquidated
          Cincinnati, OH 45211                                                  Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.356    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $367.85
          Home City Ice Co.                                                     Contingent
          P.O. Box 111116                                                       Unliquidated
          Cincinnati, OH 45211                                                  Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.357    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,812.50
          Home Depot Usa, Inc.                                                  Contingent
          Attn: Lockbox 7491                                                    Unliquidated
          400 White Clay Center Dr.                                             Disputed
          Neward, DE 19711
                                                                             Basis for the claim:    Rent
          Date(s) debt was incurred 1/1/2021
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.358    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,237.14
          Homes/Ademco                                                          Contingent
          1985 Douglas Drive North                                              Unliquidated
          Golden Valley, MN 55422                                               Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.359    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $154,943.44
          Honeywell Safety Products                                             Contingent
          900 Douglas Pike                                                      Unliquidated
          Smithfield, RI 02917                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.360    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,070.38
          Hoosier Ink And Toner Llc                                             Contingent
          P.O. Box 752                                                          Unliquidated
          Crawfordsville, IN 47933                                              Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 62 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 96 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.361    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,355.71
          House Handle                                                          Contingent
          2013 Main Street                                                      Unliquidated
          Cassville, MO 65625                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.362    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $532.25
          HSA Bank                                                              Contingent
          P.O. Box 939                                                          Unliquidated
          Sheboygan, WI 53082                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.363    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,017.13
          Hubbell                                                               Contingent
          1343 N. Tech Blvd                                                     Unliquidated
          Gilbert, AZ 85233                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.364    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,956.38
          Hunter's Reserve                                                      Contingent
          12900 Highway 55                                                      Unliquidated
          Plymouth, MN 55441                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.365    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,718.30
          Hy-C Company                                                          Contingent
          10950 Linpage Place                                                   Unliquidated
          St Louis, MO 63132                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.366    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $367.26
          IBD LLC                                                               Contingent
          Dba Ibs Southwest Chicago                                             Unliquidated
          11912 S Spaulding Schol Dr                                            Disputed
          Plainfield, IL 60585
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.367    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $213.48
          IBD LLC                                                               Contingent
          Dba Ibs Of Indianapolis                                               Unliquidated
          6848 E 21St Street                                                    Disputed
          Indianapolis, IN 46219
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 63 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 97 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.368    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $545.04
          IBD LLC                                                               Contingent
          Dba Ibs Mid-Illinois                                                  Unliquidated
          1115 E Lafayette Street                                               Disputed
          Bloomington, IL 61701
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.369    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $533.16
          IBD LLC                                                               Contingent
          Dba Ibs Of Southeastern Wisconsi                                      Unliquidated
          4560 N 124Th St                                                       Disputed
          Wauwatosa, WI 53225
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.370    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          ICC Business Products                                                 Contingent
          PO Box 26058                                                          Unliquidated
          Indianapolis, IN 46226-0058                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.371    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,744.00
          Iconic Candy, LLC                                                     Contingent
          36 Farmstead Lane                                                     Unliquidated
          Brookville, NY 11545                                                  Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.372    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,123.00
          Ideal Corporation                                                     Contingent
          8100 Tridon Drive                                                     Unliquidated
          Smyrna, TN 37167                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.373    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,869.94
          Igloo Corp.                                                           Contingent
          777 Igloo Road                                                        Unliquidated
          Katy, TX 77492                                                        Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.374    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,723.50
          Illiana Lock Service                                                  Contingent
          304 W. Walnut St.                                                     Unliquidated
          Watseka, IL 60970                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 64 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 98 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.375    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,000.00
          Illiana Realty LLC                                                    Contingent
          Po Box 158                                                            Unliquidated
          Watseka, IL 60970                                                     Disputed
          Date(s) debt was incurred      1/1/2021                            Basis for the claim:    Rent
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.376    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,589.20
          Illini Fs Inc.                                                        Contingent
          1509 E University Ave                                                 Unliquidated
          Urbana, IL 61802                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.377    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,889.59
          Illinois Industrial Tool                                              Contingent
          5111 West 122Nd Street                                                Unliquidated
          Alsip, IL 60803                                                       Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.378    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,210.00
          Illinois State Police                                                 Contingent
          Ftip - Payment Program                                                Unliquidated
          Po Box 19210                                                          Disputed
          Springfield, IL 62794
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.379    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,237.94
          Illinois-American Water Co.                                           Contingent
          P.O. Box 6029                                                         Unliquidated
          Carol Steam, IL 60197                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.380    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,570.40
          Implus, LLC                                                           Contingent
          9221 Globe Center Drive                                               Unliquidated
          Morrisville, NC 27560                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.381    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,485.77
          Indera Mills Company                                                  Contingent
          19 Five Points Road                                                   Unliquidated
          Mertztown, PA 19539                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 65 of 134
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              Case 21-30037                    Doc 128               Filed 02/08/21 Entered 02/08/21 16:11:35                                      Desc Main
                                                                     Document     Page 99 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.382    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $238.20
          Indian Lake Wholesale Bait                                            Contingent
          11449 Hiawatha Path                                                   Unliquidated
          Lakeview, OH 43331                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.383    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Indiana American Water Co. Inc.                                       Contingent
          PO Box 6029                                                           Unliquidated
          Carol Stream, IL 60197-6029                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.384    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,951.50
          Indiana Michigan Power                                                Contingent
          P.O. Box 371496                                                       Unliquidated
          Pittsburgh, PA 15250                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.385    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,811.91
          Infotrust Llc                                                         Contingent
          4340 Glendale-Milford Rd                                              Unliquidated
          Ste. 200                                                              Disputed
          Blue Ash, OH 45242
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.386    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,613.88
          Inland Plastics                                                       Contingent
          Po Box 2199                                                           Unliquidated
          Drumheller, AB T0J 0                                                  Disputed
          Canada
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.387    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,237.61
          Innovative Manufacturing LLC                                          Contingent
          4300 Morral Kirkpatrick Rd E                                          Unliquidated
          Marion, OH 43302                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.388    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $261,745.45
          Innovative Office Solutions, LLC                                      Contingent
          Po Box 860627                                                         Unliquidated
          Minneapolis, MN 55486                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 66 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 100 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.389    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $719.96
          Innovative Packaging, LLC                                             Contingent
          DBA Cameron Packaging                                                 Unliquidated
          250 E. Hanthorn Rd                                                    Disputed
          Lima, OH 45804
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.390    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,500.00
          Insight                                                               Contingent
          6820 S Harl Ave                                                       Unliquidated
          Tempe, AZ 85283                                                       Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.391    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,372.24
          Insight Direct                                                        Contingent
          Po Box 731069                                                         Unliquidated
          Dallas, TX 75373                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.392    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $322.62
          Interlake Mecalux                                                     Contingent
          1600 North 25Th Ave                                                   Unliquidated
          Melrose Park, IL 60160                                                Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.393    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $244,341.71
          Intex Development Co. Ltd                                             Contingent
          9/F Everbright Center                                                 Unliquidated
          108 Glouster Rd.                                                      Disputed
          Wanchai, HK
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.394    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $85,041.00
          Ipl-Plastics                                                          Contingent
          725 Water Street                                                      Unliquidated
          Cambridge, OH 43725                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.395    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35,045.00
          Iq Brands                                                             Contingent
          129 Nc Highway 801 S                                                  Unliquidated
          Advance, NC 27006                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 67 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 101 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.396    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $86.70
          Iroquois Memorial Hospital                                            Contingent
          Po Box 20737                                                          Unliquidated
          Attn Marykay Lavicka                                                  Disputed
          Belfast, ME 04915
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.397    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $29,442.15
          ITW Global Brands                                                     Contingent
          5700 South Lee Road                                                   Unliquidated
          P.O.Box 378003                                                        Disputed
          Maple Heights, OH 44137
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.398    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,230.60
          J & C Pet Supply                                                      Contingent
          1095A Towbin Ave                                                      Unliquidated
          Lakewood, NJ 08701                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.399    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,353.00
          J America/Top Of The World                                            Contingent
          445 Van Riper Road                                                    Unliquidated
          Fowerville, MI 48837                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.400    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $650.00
          J F Ahern Co.                                                         Contingent
          Attn: Acct. Receivable                                                Unliquidated
          P.O. Box 1316                                                         Disputed
          Fond Du Lac, WI 54936
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.401    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,622.24
          J-B Weld                                                              Contingent
          P.O. Box 483                                                          Unliquidated
          Fax#(612)829-1845                                                     Disputed
          Sulpher Springs, TX 75482
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.402    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $36,650.64
          J.T. Eaton                                                            Contingent
          1393 E. Highland Road                                                 Unliquidated
          Twinsburg, OH 44087                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 68 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 102 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.403    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,745.74
          Jackson Oil & Solvents, Inc.                                          Contingent
          75 Remittance Drive                                                   Unliquidated
          Dept 6988                                                             Disputed
          Chicago, IL 60675
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.404    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,731.25
          Jakks Pacific Inc                                                     Contingent
          2951 28Th Street                                                      Unliquidated
          Santa Monica, CA 90405                                                Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.405    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,125.00
          James Kebler                                                          Contingent
          13256 State Rd                                                        Unliquidated
          Hay & Straw                                                           Disputed
          Grand Ledge, MI 48837
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.406    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,484.54
          Jarden Consumer Sol                                                   Contingent
          2381 Executive Center Dr.                                             Unliquidated
          Boca Raton, FL 33431                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.407    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $594.00
          Jay Manufacturing                                                     Contingent
          Div Of State Ind                                                      Unliquidated
          7107 N Black Canyon Hwy                                               Disputed
          Phoenix, AZ 85021
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.408    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,755.00
          Jcs Apparel Group Inc                                                 Contingent
          1407 Broadway, Suite 202                                              Unliquidated
          New York, NY 10018                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.409    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,200.00
          Jealous Devil                                                         Contingent
          2629 Manhattan Ave                                                    Unliquidated
          #214                                                                  Disputed
          Hermosa Beach, CA 90254
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 69 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 103 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.410    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,463.90
          Jelmar                                                                Contingent
          5550 W. Touhy Avenue                                                  Unliquidated
          Suite 200                                                             Disputed
          Skokie, IL 60077
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.411    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,365.40
          Jerent Enterprises Dba Sonic Boom                                     Contingent
          7802 S. 169Th Street                                                  Unliquidated
          Omaha, NE 68136                                                       Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.412    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,812.42
          JFL Ent, Inc/Just For Laughs                                          Contingent
          4900 Train Avenue                                                     Unliquidated
          Cleveland, OH 44102                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.413    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          JMC CO Inc.                                                           Contingent
          40 South 7th Street                                                   Unliquidated
          Ste 212-314                                                           Disputed
          Minneapolis, MN 55402-1606
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.414    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,000.00
          Joda Crabtree                                                         Contingent
          Po Box 461                                                            Unliquidated
          Watseka, IL 60970                                                     Disputed
          Date(s) debt was incurred      1/1/2021                            Basis for the claim:    Rent
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.415    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $28.01
          Joe Werner                                                            Contingent
          1791 S County Line Rd                                                 Unliquidated
          Westville, IN 46391                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.416    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $48,984.18
          Johnson & Wood Llc                                                    Contingent
          2130 E. Hemphill Road                                                 Unliquidated
          Burton, MI 48529                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 70 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 104 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.417    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,909.77
          Johnson Control Security Solutions                                    Contingent
          P.O. Box 371967                                                       Unliquidated
          Pittsburgh, PA 15250                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.418    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $68,801.01
          Jones Natural Chews Co                                                Contingent
          3450 Pyramid Drive                                                    Unliquidated
          Rockford, IL 61109                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.419    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,400.00
          Jordan Mfg.                                                           Contingent
          1200 S. Sixth Street                                                  Unliquidated
          Monticello,, IN 47960                                                 Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.420    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $274,207.35
          Juniper I, LLC                                                        Contingent
          2600 Eagan Woods Dr                                                   Unliquidated
          Suite 120                                                             Disputed
          Eagan, MN 55121
                                                                             Basis for the claim:    Unsecured Note/Rent
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.421    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $490,090.75
          Juniper II, LLC                                                       Contingent
          2600 Eagan Woods Dr                                                   Unliquidated
          Suite 120                                                             Disputed
          Eagan, MN 55121
                                                                             Basis for the claim:    Unsecured Note/Rent
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.422    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,852.86
          K & H Truck Plaza                                                     Contingent
          Box 247                                                               Unliquidated
          Gilman, IL 60938                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.423    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,426.50
          K'Nex Industries                                                      Contingent
          2990 Bergey Rd.                                                       Unliquidated
          Hatfield,, PA 19440                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 71 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 105 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.424    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $43,615.20
          K-T Industries                                                        Contingent
          P.O. Box 123                                                          Unliquidated
          Highway 60 North                                                      Disputed
          Sheldon, IA 51201
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.425    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kampen's Lawn Care                                                    Contingent
          N129 8th Road                                                         Unliquidated
          Portage, WI 53901-9328                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    TRADE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.426    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,536.34
          Kane Home Products                                                    Contingent
          Po Box 58244                                                          Unliquidated
          Seattle, WA 98138                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.427    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $29,259.08
          Keenway Industries Ltd.                                               Contingent
          Rm. 1209-1212, New East Ocean                                         Unliquidated
          Centre 9 Science Museum Rd                                            Disputed
          Tst East
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.428    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $450.00
          Kelly's Sign Shop                                                     Contingent
          110 West Fairchild St.                                                Unliquidated
          Danville, IL 61832                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.429    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $77,942.58
          Keren Hart Ltd                                                        Contingent
          C/O Steven Handmaker                                                  Unliquidated
          1298 Apparel Center                                                   Disputed
          Chicago, IL 60654
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.430    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,089.97
          Kerosene Supplier                                                     Contingent
          Illlinifs                                                             Unliquidated
          1509 E Univeristy Ave                                                 Disputed
          Urbanna, IL 61802
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 72 of 134
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 106 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.431    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,370.83
          Kershaw Cutlery                                                       Contingent
          25300 Sw Parkway                                                      Unliquidated
          Wilsonville,, OR 97070                                                Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.432    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,800.00
          Kessler Corporation                                                   Contingent
          2040 Stoner Ave                                                       Unliquidated
          Suite B                                                               Disputed
          Los Angeles, CA 90025
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.433    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,782.92
          Kettle Heroes LLC                                                     Contingent
          1705 W Ruby Dr Ste. 107                                               Unliquidated
          Temple, AZ 85284                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.434    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $630,635.87
          Key Bank                                                              Contingent
          127 Public Square                                                     Unliquidated
          Cleveland, OH 44114                                                   Disputed
          Date(s) debt was incurred      1/1/2021                            Basis for the claim:    Rent
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.435    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,948.00
          Keystone Meats                                                        Contingent
          3585 Harding Hwy                                                      Unliquidated
          Lima, OH 45805                                                        Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.436    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kingsford Charcoal
          Tri-State Trading                                                     Contingent
          Kelsey S                                                              Unliquidated
          PO Box 896717                                                         Disputed
          Charlotte, NC 28289-6717
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.437    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $94,437.78
          Kl Industries                                                         Contingent
          1790 Sun Dolphin Drive                                                Unliquidated
          Muskegon, MI 49444                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 73 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 107 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.438    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $545.00
          Kleen Products Llc                                                    Contingent
          11900 Wayzata Blvd Ste                                                Unliquidated
          Minnetonka, MN 55305                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.439    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $39,936.00
          KMS Inc                                                               Contingent
          811 E Waterman                                                        Unliquidated
          Wichita, KS 67202                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.440    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,952.05
          Kness MFG                                                             Contingent
          P.O. Box 70, Hwy. 5 South                                             Unliquidated
          Albia,, IA 52531                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.441    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,784.93
          Koch Industries Inc.                                                  Contingent
          4200 Dahlberg Dr,                                                     Unliquidated
          Suite 200                                                             Disputed
          Minneapolis, MN 55422
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.442    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,615.65
          Kole Imports                                                          Contingent
          24600 Main St                                                         Unliquidated
          Carson, CA 90745                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.443    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $43,003.93
          Kontoor Brands--Lee Label                                             Contingent
          2969 Ridge Court                                                      Unliquidated
          Greenleaf, WI 54126                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.444    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,926.85
          Kontoor Brands--Wrangler                                              Contingent
          2050 N. Stemmons Freeway                                              Unliquidated
          Room 7004, Unit 162                                                   Disputed
          Dallas, TX 75207
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 74 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 108 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.445    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $918.50
          Kosciusko Chamber Of Commerce                                         Contingent
          523 S. Buffalo Street                                                 Unliquidated
          Ste. A                                                                Disputed
          Warsaw, IN 46580
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.446    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,804.15
          KX Technologies LLC                                                   Contingent
          36 Wild Rose Drive                                                    Unliquidated
          Luka, MS 38852                                                        Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.447    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $90,782.80
          Landmann Usa, Inc.                                                    Contingent
          7405 Graham Road                                                      Unliquidated
          Fairburn,, GA 30213                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.448    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,194.86
          Lansing Board Of Water & Light                                        Contingent
          P.O. Box 13007                                                        Unliquidated
          Lansing, MI 48901                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.449    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,500.00
          Lansing Regional Chamber Of Commerce                                  Contingent
          500 E Michigan Ave                                                    Unliquidated
          Suite 200                                                             Disputed
          Lansing, MI 48912
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.450    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $41,090.00
          Lavin/Div Of Rogers-Whitley                                           Contingent
          4100 Caven Road                                                       Unliquidated
          Austin, TX 78744                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.451    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $193.75
          Lee Plumbing, Inc                                                     Contingent
          17621 C.R.18                                                          Unliquidated
          Goshen, IN 46528                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 75 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 109 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.452    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,378.00
          Legacy Sports                                                         Contingent
          4750 Longley Lane                                                     Unliquidated
          Suite 208                                                             Disputed
          Reno, NV 89502
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.453    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,053.10
          Lego                                                                  Contingent
          555 Taylor Road                                                       Unliquidated
          Po Box 1600                                                           Disputed
          Enfield, CT 06083
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.454    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          LEM Products                                                          Contingent
          4440 Muhlhauser Road Suite 300                                        Unliquidated
          Hamilton, OH 45011-9767                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.455    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32,461.50
          Lemax                                                                 Contingent
          25 Pequot Way                                                         Unliquidated
          Canton,, MA 02021                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.456    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,098.57
          Levi Strauss & Co.                                                    Contingent
          1155 Battery Street, Ls/5                                             Unliquidated
          San Francisco, CA 94111                                               Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.457    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $63,384.78
          Lew's ( Do Outdoors Inc )                                             Contingent
          3031 N Marint Ave                                                     Unliquidated
          Springfield, MO 65803                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.458    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,926.48
          Liberty Mutual Insurance                                              Contingent
          Po Box 91012                                                          Unliquidated
          Chicago, IL 60680                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 76 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 110 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.459    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,482.59
          Liberty Propane                                                       Contingent
          P.O. Box 458                                                          Unliquidated
          Lemont, IL 60439                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.460    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $84,617.00
          Liberty Safe                                                          Contingent
          1199 West Utah Avenue                                                 Unliquidated
          Payson, UT 84651                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.461    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,066.76
          Libra, Inc.                                                           Contingent
          3310 North 2Nd Street                                                 Unliquidated
          Minneapolis,, MN 55412                                                Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.462    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Lifetyme Grass Seed                                                   Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Trade
                                                                             Is the claim subject to offset?     No       Yes

 3.463    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $857.51
          Lima Fire Equipment Company                                           Contingent
          P.O. Box 1623                                                         Unliquidated
          Lima, OH 45802                                                        Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.464    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $276.65
          Lima Security Inc.                                                    Contingent
          703 North West Street                                                 Unliquidated
          Lima, OH 45802                                                        Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.465    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,888.51
          Lincoln Financial Group                                               Contingent
          Po Box 0821                                                           Unliquidated
          Carol Stream, IL 60132                                                Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 77 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 111 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.466    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,489.77
          Lincoln Industrial                                                    Contingent
          One Lincoln Way                                                       Unliquidated
          St Louis, MO 63120                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.467    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,193.90
          Lock N Lube                                                           Contingent
          21 Technology Dr                                                      Unliquidated
          Suite 2                                                               Disputed
          West Lebanon, NH 03784
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.468    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,750.00
          Lockton Companies                                                     Contingent
          Mountain West Series Lockton Co                                       Unliquidated
          Dept 999226, Po Box 173850                                            Disputed
          Denver, CO 80217
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.469    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,000.00
          Lockton Investment Advisors, LLC                                      Contingent
          Dept 999224                                                           Unliquidated
          Po Box 219153                                                         Disputed
          Kansas City, MO 64121
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.470    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Locomotive Solutions LLC                                              Contingent
          2663 Grandbury Grove Road                                             Unliquidated
          Lakeland, FL 33811-1028                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.471    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,244.50
          Lodge Mfg.                                                            Contingent
          P.O. Box 380                                                          Unliquidated
          South Pittsburg, TN 37380                                             Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.472    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $108.00
          Long'S Lock Shop                                                      Contingent
          P.O. Box 204                                                          Unliquidated
          Elkhart, IN 46515                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 78 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 112 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.473    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35,268.79
          Lonza Arch Chemical                                                   Contingent
          501 Merritt 7                                                         Unliquidated
          P.O. Box 4500                                                         Disputed
          Norwalk, CT 06856
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.474    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,795.76
          Lord & Hodge Inc.                                                     Contingent
          Po Box 737                                                            Unliquidated
          Middletown, CT 06457                                                  Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.475    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,203.96
          Lucas Oil Products                                                    Contingent
          302 N Sheridan Street                                                 Unliquidated
          Corona, CA 92880                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.476    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,568.44
          Luster Leaf Products                                                  Contingent
          C/O Total Marketing Associates                                        Unliquidated
          2220 Techcourt                                                        Disputed
          Woodstock, IL 60098
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.477    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,040.00
          Lyn- Cal Llc Dba: Cowboy'S Wild Game                                  Contingent
          3222 Eldorado Blvd                                                    Unliquidated
          Missouri City, TX 77459                                               Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.478    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,878.06
          Lynco Distribution, Inc                                               Contingent
          1410 11Th St West                                                     Unliquidated
          Milan, IL 61201                                                       Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.479    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,848.54
          M & F Western Products                                                Contingent
          P.O. Box 287                                                          Unliquidated
          Sulphur Springs, TX 75483                                             Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 79 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 113 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.480    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,114.00
          M Cornell Importers                                                   Contingent
          1462 18Th St Nw                                                       Unliquidated
          St Paul, MN 55112                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.481    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,428.92
          M Pet Group                                                           Contingent
          2980 Ne 207Th St                                                      Unliquidated
          Suite 701                                                             Disputed
          Aventura, FL 33180
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.482    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,614.38
          M&M Sales Enterprises                                                 Contingent
          7425 Chavenelle Road                                                  Unliquidated
          Dubuque,, IA 52002                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.483    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $47,749.50
          M. Hidary & Company Inc.                                              Contingent
          10 West 33Rd St. #900                                                 Unliquidated
          New York, NY 10001                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.484    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $203.25
          M.A.A.C. Property Services                                            Contingent
          Po Box 262                                                            Unliquidated
          Niles, MI 49120                                                       Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.485    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $63,440.00
          Mac Wholesale, Inc.                                                   Contingent
          140 Laurel Street                                                     Unliquidated
          East Bridgewater, MA 02333                                            Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.486    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,313.60
          Malwarebytes                                                          Contingent
          3979 Freedom Circle 12Th Fl                                           Unliquidated
          Santa Clara, CA 95054                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 80 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 114 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.487    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $47,500.00
          Management 3D                                                         Contingent
          7900 Xerxes Ave South                                                 Unliquidated
          Suite 2100                                                            Disputed
          Bloomington, MN 55431
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.488    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,034.20
          Marigold Enterprises Ltd                                              Contingent
          Rm 713, Tower A, Hunghom Comm                                         Unliquidated
          Centre, 39 Ma Tau Wai Road                                            Disputed
          Hunghim, Kowloon, HK
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.489    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $122.70
          Marion Municipal Utilities                                            Contingent
          P.O. Box 718                                                          Unliquidated
          Marion, IN 46952                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.490    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21,146.27
          Mark Kizewski Construction, LLC                                       Contingent
          1287 Edgewood Rd N                                                    Unliquidated
          Custer, WI 54423                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.491    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $34,795.47
          Markman Peat Corporation                                              Contingent
          Po Box 1657                                                           Unliquidated
          Muscatine, IA 52761                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.492    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,143.49
          Marmon Retail Products Inc.                                           Contingent
          Cerro Electrical Products                                             Unliquidated
          1002 Industrial Way                                                   Disputed
          Crothersville, IN 47229
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.493    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,188.75
          Martin M. Moyer                                                       Contingent
          30186 C.R. 24                                                         Unliquidated
          Osceola, IN 46561                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 81 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 115 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.494    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $638.00
          Martin Voorhees                                                       Contingent
          1123 E Cruger Road                                                    Unliquidated
          Washington, IL 61571                                                  Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.495    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,756.24
          Martin Wheel Co                                                       Contingent
          342 West Avenue                                                       Unliquidated
          Tallmadge, OH 44278                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.496    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,851.68
          Masontops Inc
          Rpo Sheppard Plaza                                                    Contingent
          Suite 524                                                             Unliquidated
          Ontario, ON M3H6A                                                     Disputed
          Canada
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.497    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $113,750.00
          Massimo Motor                                                         Contingent
          3101 W Miller Rd                                                      Unliquidated
          Garland, TX 75041                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.498    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $56,064.40
          Masterpiece Puzzle Co                                                 Contingent
          12475 N Rancho Vistoso Blvd                                           Unliquidated
          Oro Valley, AZ 85755                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.499    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,630.00
          Matco Fire Protection, Inc.                                           Contingent
          1195 E. Pells                                                         Unliquidated
          Suite B                                                               Disputed
          Paxton, IL 60957
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.500    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,141.79
          Mazel & Company                                                       Contingent
          4300 W Ferdinand Street                                               Unliquidated
          Chicago, IL 60624                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 82 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 116 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.501    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $480.00
          Mchenry Area Chamber Of Commerce                                      Contingent
          1257 N. Green St.                                                     Unliquidated
          Mchenry, IL 60050                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.502    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,008.00
          Mct Pro Tools,Inc.                                                    Contingent
          7440 Nw 52Nd St.                                                      Unliquidated
          Miami, FL 33166                                                       Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.503    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $150.00
          Mdx Medical Inc                                                       Contingent
          Sapphire-Digital                                                      Unliquidated
          160 Chubb Ave, Suite 301                                              Disputed
          Lyndhurst, NJ 07071
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.504    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,417.91
          Mediacom                                                              Contingent
          P.O. Box 5744                                                         Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.505    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,434.00
          Meeker Farms                                                          Contingent
          24574 Ncr 3400 E                                                      Unliquidated
          Manito, IL 61546                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.506    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $91.07
          Metro Fiber Net Llc                                                   Contingent
          P.O. Box 630903                                                       Unliquidated
          Cincinnati, OH 45263                                                  Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.507    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $160.00
          Meyer Services, Llc                                                   Contingent
          4366 Nestling Lane                                                    Unliquidated
          Rochester, IN 46975                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 83 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 117 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.508    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,259.63
          Michiana Recycling And Disposal                                       Contingent
          P.O. Box 1148                                                         Unliquidated
          Niles, MI 49120                                                       Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.509    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $670.00
          Michigan City Wholesale Bait                                          Contingent
          1114 W. 4Th Street                                                    Unliquidated
          Michigan City, IN 46360                                               Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.510    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,700.00
          Michigan Computer Services, Inc.                                      Contingent
          York Worldwide Technologies                                           Unliquidated
          5000 Hakes Drive Ste. 200                                             Disputed
          Norton Shores, MI 49441
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.511    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,304.37
          Michigan West Shore Nursery                                           Contingent
          9 East Main Street                                                    Unliquidated
          Zeeland, MI 49464                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.512    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $221.95
          Middleton Overhead Doors                                              Contingent
          48 Meadow Ave.                                                        Unliquidated
          Joliet, IL 60436                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.513    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,902.95
          Midwest Can Company                                                   Contingent
          1950 N Mannheim Rd                                                    Unliquidated
          Melrose Park, IL 60160                                                Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.514    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,485.82
          Midwest Fastener                                                      Contingent
          9031 Shaver Road                                                      Unliquidated
          Kalamazoo, MI 49024                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 84 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 118 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.515    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $42,572.16
          Midwest Target                                                        Contingent
          1103 South State Street                                               Unliquidated
          Litchfield, IL 62056                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.516    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,083.00
          Milano Hat Co., Inc.                                                  Contingent
          1565 Highway 66                                                       Unliquidated
          Garland, TX 75040                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.517    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,832.00
          Militti Sales/Promotions                                              Contingent
          13436 Industrial Road                                                 Unliquidated
          P.O. Box 45216                                                        Disputed
          Omaha, NE 68145
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.518    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,412.66
          Milk Specialties                                                      Contingent
          P.O. Box 278                                                          Unliquidated
          Dundee, IL 60118                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.519    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $31,613.63
          Milton Industries                                                     Contingent
          4500 Cortland Avenue                                                  Unliquidated
          Chicago,, IL 60639                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.520    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $101,835.74
          Minnesota Mining & Mfg.                                               Contingent
          P.O. Box 33844                                                        Unliquidated
          Dept. Pn                                                              Disputed
          St. Paul,, MN 55133
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.521    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,327.50
          Moews Farms                                                           Contingent
          15332 East 2430 North Rd                                              Unliquidated
          Danville, IL 61834                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 85 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 119 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.522    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,611.04
          Mojack Distributors Llc                                               Contingent
          3535 North Rock Rd                                                    Unliquidated
          Wichita, KS 67220                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.523    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,384.48
          Mojo Outdoors                                                         Contingent
          623 Hwy. 594                                                          Unliquidated
          Monroe, LA 71203                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.524    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $68,217.96
          Morning Sun                                                           Contingent
          4301A Industry Drive East                                             Unliquidated
          Tacoma, WA 98424                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.525    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $221.02
          Morris Municipal Services Building                                    Contingent
          700 N Division St                                                     Unliquidated
          Morris, IL 60450                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.526    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $29,585.53
          Morton Salt Inc (Ice Melt)                                            Contingent
          123 North Wacker Drive                                                Unliquidated
          Chicago, IL 60606                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.527    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50,671.46
          Motomco                                                               Contingent
          6551 North Towne Rd                                                   Unliquidated
          Windsor, WI 53598                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.528    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $126.48
          Mtd - Independent Retail                                              Contingent
          Po Box 368023                                                         Unliquidated
          Cleveland, OH 44136                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 86 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 120 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.529    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $10.91
          Mtd Products Inc.                                                     Contingent
          Po Box 368023                                                         Unliquidated
          Cleveland, OH 44136                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.530    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,346.66
          Mtm Molded Products                                                   Contingent
          3370 Obco Court                                                       Unliquidated
          Dayton, OH 45414                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.531    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,927.24
          Mu Kitchen                                                            Contingent
          5310 W 23Rd St                                                        Unliquidated
          Suite 120                                                             Disputed
          St Louis Park, MN 55416
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.532    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $88,964.28
          Multipet Int'L Inc.                                                   Contingent
          55 Madison Circle Drive                                               Unliquidated
          East Rutherford, NJ 07073                                             Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.533    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $734,631.03
          Mwi Veterinary Supply, Inc.                                           Contingent
          3041 W. Pasadena Dr                                                   Unliquidated
          Boise, ID 83705                                                       Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.534    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32,765.25
          My Favorite Chicken                                                   Contingent
          Po Box 716                                                            Unliquidated
          Melissa, TX 75454                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.535    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,310.88
          My Pillow                                                             Contingent
          950 Lake Drive East                                                   Unliquidated
          Suite 110                                                             Disputed
          Chanhassen, MN 55317
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 87 of 134
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 121 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.536    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,085.05
          Myers Bait & Fish Inc                                                 Contingent
          Po Box 189                                                            Unliquidated
          Pleasant Lake, IN 46779                                               Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.537    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $532.31
          N.E.W. Plumbing & Heating Inc                                         Contingent
          976 East Pound Drive N                                                Unliquidated
          Warsaw, IN 46582                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.538    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,404.34
          National Holiday Traditions                                           Contingent
          Jack-Post Corporation                                                 Unliquidated
          800 East Third Street                                                 Disputed
          Buchanan,, MI 49107
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.539    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,711.00
          National Vinegar Co.                                                  Contingent
          1750 S. Brentwood Blvd.                                               Unliquidated
          St. Louis, MO 63144                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.540    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,744.80
          Nature's Health Food LLC                                              Contingent
          21561 County Road 190                                                 Unliquidated
          Mt. Victory, OH 43340                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.541    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,428.00
          Nature'S View, Inc.                                                   Contingent
          Corene N. Maulding                                                    Unliquidated
          P.O. Box 286                                                          Disputed
          Watseka, IL 60970
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.542    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,855.00
          Navegate, Inc                                                         Contingent
          1300 Mendota Heights Road                                             Unliquidated
          Mendota Heights, MN 55120                                             Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 88 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 122 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.543    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $346,631.50
          Needleart World (Diamond Dotz)                                        Contingent
          4748 Lewis Road                                                       Unliquidated
          Stone Mountain, GA 30083                                              Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.544    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,707.60
          Netherland Bulb Co                                                    Contingent
          13 Mcfaddenroad                                                       Unliquidated
          Easton, PA 18045                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.545    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $68,471.38
          New Ray Toys Ca Inc                                                   Contingent
          Unit 9 12/F Houston Ctr Mody Rd                                       Unliquidated
          Hong Kong                                                             Disputed
          Hong Kong, HK
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.546    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,037.70
          Newcore Llc                                                           Contingent
          36 Four Seasons Shopping Center                                       Unliquidated
          Box 102                                                               Disputed
          Chesterfield, MO 63017
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.547    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,758.17
          Newell Brands                                                         Contingent
          221 River St Hoboken                                                  Unliquidated
          Hoboken, NJ 07030                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.548    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $644.74
          Newton's Cleaning & Restoration, LLC                                  Contingent
          701 Tilton Road                                                       Unliquidated
          Danville, IL 61832                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.549    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          NICOR                                                                 Contingent
          PO Box 5407                                                           Unliquidated
          Carol Stream, IL 60197-5407                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 89 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 123 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.550    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,250.80
          Nikwax North America                                                  Contingent
          801 Nw 42Nd St                                                        Unliquidated
          Suite 204                                                             Disputed
          Seattle, WA 98107
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.551    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $75,533.85
          Nipsco                                                                Contingent
          P.O. Box 13007                                                        Unliquidated
          Merrillville, IN 46411                                                Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.552    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,067.00
          North Atlantic Imports, LLC                                           Contingent
          513 W 2500 N                                                          Unliquidated
          Logan, UT 84341                                                       Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.553    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $64,379.24
          North States Industries Inc                                           Contingent
          1507 92Nd Lane N.E.                                                   Unliquidated
          Blaine, MN 55449                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.554    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,207.39
          Northern Musicast Inc.                                                Contingent
          2911 W. Spencer St.                                                   Unliquidated
          Appleton, WI 54914                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.555    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $90,678.92
          Northland Footwear Group                                              Contingent
          1000 First Street                                                     Unliquidated
          Harrison, NJ 07029                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.556    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,089.00
          Northpoint Development Holdings LLC                                   Contingent
          Attn: Keith Weinstein                                                 Unliquidated
          20 Northpoint Dr                                                      Disputed
          Streator, IL 61364
                                                                             Basis for the claim:    Rent
          Date(s) debt was incurred 1/1/2021
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 90 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 124 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.557    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,587.40
          Northpoint Trading, Inc.                                              Contingent
          Dba Seven Apparel Group                                               Unliquidated
          347 Fifth Avenue Suite 201                                            Disputed
          New York,, NY 10016
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.558    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $745.45
          Northwestern Mutual Life                                              Contingent
          P.O. Box 3007                                                         Unliquidated
          Milwaukee, WI 53201                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.559    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $38,805.30
          Novelty Inc                                                           Contingent
          351 Muskegon Dr                                                       Unliquidated
          Greenfield, IN 46140                                                  Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.560    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,914.90
          Nutrena Feed                                                          Contingent
          P.O. Box 842621                                                       Unliquidated
          Dallas, TX 75284                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.561    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,295.42
          Oberlander Electric                                                   Contingent
          2101 N. Main St.                                                      Unliquidated
          East Peoria, IL 61611                                                 Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.562    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,944.64
          Ohio Bureau Of Workers'                                               Contingent
          Compensation                                                          Unliquidated
          P.O. Box 89492                                                        Disputed
          Cleveland, OH 44101
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.563    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,209.80
          Oil-Dri Corporation of America                                        Contingent
          700 Industrial Road                                                   Unliquidated
          Mounds, IL 62694                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 91 of 134
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 125 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.564    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,368.90
          Olson Saw                                                             Contingent
          16 Stony Hill Road                *Nbo                                Unliquidated
          Bethel, CT 06801                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.565    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $37,391.00
          Olympia Tools International, Inc                                      Contingent
          929 Grand Ave                                                         Unliquidated
          Covina, CA 91724                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.566    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,643.60
          On Line Packaging                                                     Contingent
          4311 Liberty Lane                                                     Unliquidated
          Plover, WI 54467                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.567    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $65.00
          One Way Lawn Care                                                     Contingent
          7503 W 450 S                                                          Unliquidated
          Laporte, IN 46360                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.568    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,977.40
          Open Roads                                                            Contingent
          1425 E Douglas Ave                                                    Unliquidated
          Wichita, KS 67211                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.569    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,085.00
          Opperman Construction Co                                              Contingent
          16535 N. 1650 East Road                                               Unliquidated
          Pontiac, IL 61764                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.570    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Oracle America Inc.                                                   Contingent
          Bank of America Lockbox Serv                                          Unliquidated
          15612 Collections Center Drive                                        Disputed
          Chicago, IL 60693-0001
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 92 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 126 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.571    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $776,077.91
          Orgill Distributing                                                   Contingent
          3742 Tyndale Drive                                                    Unliquidated
          Memphis, TN 38125                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.572    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $128,983.95
          Origin Point Brands                                                   Contingent
          1116 Newton Way                                                       Unliquidated
          Summerville, SC 29483                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.573    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,249.41
          Orin Briant Inc Dba Stick Jacket                                      Contingent
          246 Stone Ct                                                          Unliquidated
          New Lenox, IL 60451                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.574    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $981.90
          Orkin                                                                 Contingent
          603 E. Diehl Road                                                     Unliquidated
          Suite 124                                                             Disputed
          Naperville, IL 60563
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.575    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,633.17
          Orkin                                                                 Contingent
          1524 Elmhurst Rd                                                      Unliquidated
          Elkgrove Village, IL 60007                                            Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.576    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $875.00
          Orkin Pest Control                                                    Contingent
          4114 Fieldstone Road                                                  Unliquidated
          Ste A                                                                 Disputed
          Champaign, IL 61822
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.577    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $270.00
          Orkin Pest Control                                                    Contingent
          2619 S Main St                                                        Unliquidated
          Bloomington, IL 61704                                                 Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 93 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 127 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.578    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $545.09
          Orkin Pest Control                                                    Contingent
          4498 Entec Drive                                                      Unliquidated
          Bartonville, IL 61607                                                 Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.579    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $473.55
          Orkin, Inc.                                                           Contingent
          354 Civic Rd                                                          Unliquidated
          La Salle, IL 61301                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.580    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,155.25
          Oscar Wilson Parts                                                    Contingent
          826 Lone Star Drive                                                   Unliquidated
          Fax 800-873-6720                                                      Disputed
          O'Fallon, MO 63366
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.581    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $43.00
          Osf Occupational Health                                               Contingent
          Po Box 776793                                                         Unliquidated
          Chicago, IL 60677                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.582    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,206.87
          Osmundson Manufacturing Co                                            Contingent
          P.O. Box 158                                                          Unliquidated
          Perry, IA 50220                                                       Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.583    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,516.35
          Ottawa Plant Food                                                     Contingent
          3076 N Ill Route 71                                                   Unliquidated
          Ottawa, IL 61350                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.584    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $81,489.50
          Outdoor Product Innovations                                           Contingent
          177 Reaser Ct                                                         Unliquidated
          Elyria, OH 44035                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 94 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 128 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.585    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $23,666.40
          Oxx, Inc                                                              Contingent
          35 Oakes St Sw                                                        Unliquidated
          Suite 600                                                             Disputed
          Grand Rapids, MI 49503
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.586    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $49.95
          Pace, Inc.                                                            Contingent
          739 S. Mill Street                                                    Unliquidated
          Plymouth, MI 48170                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.587    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,814.96
          Pacer Pumps                                                           Contingent
          41 Industrial Circle                                                  Unliquidated
          Lancaster, PA 17601                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.588    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $43,480.07
          Panacea Products                                                      Contingent
          2711 International St.                                                Unliquidated
          Columbus,, OH 43228                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.589    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,253.53
          Parker-Hannifin/Pioneer                                               Contingent
          8145 Lewis Road                                                       Unliquidated
          Minneapolis, MN 55427                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.590    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,853.33
          Parris Mfg                                                            Contingent
          Po Box 338                                                            Unliquidated
          Savannah, TN 38372                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.591    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,955.00
          Pathguide Technologies, Inc.                                          Contingent
          22745 - 29Th Drive Se                                                 Unliquidated
          Bothell, WA 98021                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 95 of 134
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 129 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.592    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $500.00
          Pekin Area Chamber Of Commerce                                        Contingent
          402 Court St.                                                         Unliquidated
          Pekin, IL 61554                                                       Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.593    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,093.70
          Pepsi Cola Genl Bot. Inc.                                             Contingent
          P.O. Box 75948                                                        Unliquidated
          Chicago, IL 60675                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.594    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,453.19
          Pepsi-Cola                                                            Contingent
          75 Remittance Dr. Ste 1884                                            Unliquidated
          Chicago, IL 60675                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.595    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,436.05
          Pepsi-Cola                                                            Contingent
          1031 N. 3Rd Box 449                                                   Unliquidated
          Logansport, IN 46947                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.596    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $110.00
          Perdue Pavement Solutions                                             Contingent
          3202 E Washington St                                                  Unliquidated
          East Peoria, IL 61611                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.597    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $57,676.43
          Performance Seed                                                      Contingent
          Po Box 7126                                                           Unliquidated
          St Cloud, MN 56302                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.598    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,436.84
          Perry Products, Inc.                                                  Contingent
          P.O. Box 2255                                                         Unliquidated
          Decatur, IL 62524                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 96 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 130 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.599    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $36,196.32
          Pestell Pet Products
          141 Hamilton Road                                                     Contingent
          PO Box 794                                                            Unliquidated
          New Hamburg, ON Nob 2                                                 Disputed
          Canada
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.600    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,640.00
          Pestell Pet Products Cedar
          141 Hamilton Road                                                     Contingent
          Po Box 794                                                            Unliquidated
          New Hamburg, ON Nob 2                                                 Disputed
          Canada
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.601    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $89,067.23
          Pet IQ                                                                Contingent
          10077 S 134Th St                                                      Unliquidated
          Sergeant'S Pet Care                                                   Disputed
          Omaha, NE 68138
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.602    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,256.08
          Pet King Brands, Inc./Zymox                                           Contingent
          710 Vandustrial Drive                                                 Unliquidated
          Westmont, IL 60559                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.603    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $56,158.41
          Petedge Dealer Services                                               Contingent
          P.O. Box 1000                                                         Unliquidated
          Beverly, MA 01915                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.604    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,263.52
          Petsport Usa                                                          Contingent
          1160 Railroad Avenue                                                  Unliquidated
          Pittsburg,, CA 94565                                                  Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.605    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,277.50
          Phoenix Leather Company                                               Contingent
          12091 Carrington Lane #207                                            Unliquidated
          Loveland, OH 45140                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 97 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 131 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.606    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,831.80
          Phoenix Mfg                                                           Contingent
          300 Industrial Drive                                                  Unliquidated
          Horicon, WI 53032                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.607    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,762.80
          Pilot Knob Comforts                                                   Contingent
          1026 Knox Road 2600 N                                                 Unliquidated
          Oneida, IL 61467                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.608    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,060.88
          Pine Tree Farms                                                       Contingent
          3714 Cayuga Street                                                    Unliquidated
          Interlaken, NY 14847                                                  Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.609    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $655,312.50
          Pink Dogwood I, LLC                                                   Contingent
          2600 Eagan Woods Dr                                                   Unliquidated
          Suite 120                                                             Disputed
          Eagan, MN 55121
                                                                             Basis for the claim:    Unsecured Note/Rent
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.610    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $300.00
          Pitney Bowes, Inc.                                                    Contingent
          P.O. Box 371874                                                       Unliquidated
          Pittsburgh, PA 15250                                                  Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.611    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.20
          Plano                                                                 Contingent
          431 E. South Street                                                   Unliquidated
          Po Box 189                                                            Disputed
          Plano, IL 60545
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.612    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,373.53
          Plantation Products LLC                                               Contingent
          Po Box 536084                                                         Unliquidated
          Pittsburgh, PA 15253                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 98 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 132 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.613    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,240.00
          Platinum Chemical                                                     Contingent
          200 S 25Th Ave                                                        Unliquidated
          Broadview, IL 60155                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.614    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $82,777.00
          Play Monster LLC                                                      Contingent
          1400 E. Inman Pkwy                                                    Unliquidated
          Po Box 268                                                            Disputed
          Beloit, WI 53511
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.615    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $23,727.67
          Pmt Holdings Ltd                                                      Contingent
          2355 E 37Th St                                                        Unliquidated
          Los Angeles, CA 90058                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.616    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,006.84
          Poof-Slinky, Inc.                                                     Contingent
          45400 Helm St                                                         Unliquidated
          Plymouth,, MI 48170                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.617    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $39,782.72
          Popsockets                                                            Contingent
          5757 Central Ave                                                      Unliquidated
          Boulder, CO 80301                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.618    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.01
          Portable Heater Parts                                                 Contingent
          342 N. County Rd 400 E.                                               Unliquidated
          Valparaiso, IN 46383                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.619    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,768.36
          Portage Indiana Utility                                               Contingent
          6070 Central Avenue                                                   Unliquidated
          Portage, IN 46368                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 99 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 133 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.620    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,700.00
          Potter & Son'S Asphalt                                                Contingent
          9995 Township Rd 690 N                                                Unliquidated
          Wyoming, IL 61491                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.621    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,221.29
          Power Distibuting, LLC                                                Contingent
          Red Bull - Elmhurst                                                   Unliquidated
          24537 Network Place                                                   Disputed
          Chicago, IL 60673
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.622    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $38.91
          Power Distributing, LLC                                               Contingent
          185 W Industrial Drive                                                Unliquidated
          Elmhurst, IL 60126                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.623    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,728.02
          Power Distributors                                                    Contingent
          3700 Paragon Drive                                                    Unliquidated
          Columbus, OH 43228                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.624    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $39,744.06
          Power Service Products, Inc                                           Contingent
          1410 N. Bowie                                                         Unliquidated
          Weatherford, TX 76086                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.625    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,401.92
          Premier Cooperative Inc.                                              Contingent
          2104 W Park Court                                                     Unliquidated
          Champaign, IL 61821                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.626    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60,703.20
          Premium Waters, Inc                                                   Contingent
          2100 Summer St Ne Suite 200                                           Unliquidated
          Minneapolis, MN 55413                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 100 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 134 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.627    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,334.00
          Pressman Toy Corp Dba Goliath                                         Contingent
          3701 W. Plano Pkwy                                                    Unliquidated
          Suite 100                                                             Disputed
          Plano, TX 75075
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.628    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Prestige Patio Co, Ltd                                                Contingent
          42 West 38Th St                                                       Unliquidated
          Rm. 802                                                               Disputed
          New York, NY 10018
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.629    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,117.84
          Primeline Tools Inc
          3170 Orlando Drive                                                    Contingent
          Unit 1                                                                Unliquidated
          Mississauga, ON L4V 1                                                 Disputed
          Canada
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.630    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,406.45
          Priority Fulfillment Services, Inc                                    Contingent
          Po Box 95420                                                          Unliquidated
          Grapevine, TX 76099                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.631    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,099.35
          Private Brand/Jody Of Calif                                           Contingent
          Private Brand Merchandising                                           Unliquidated
          214 W Olympic Blvd                                                    Disputed
          Los Angeles, CA 90015
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.632    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,188.35
          Pro-4 Marketing                                                       Contingent
          24655 Southfield Rd                                                   Unliquidated
          Suite 200                                                             Disputed
          Southfield, MI 48075
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.633    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,123.14
          Pro-Shot Products                                                     Contingent
          1213 E. Park St.                                                      Unliquidated
          Po Box 763                                                            Disputed
          Taylorville, IL 62568
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 101 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 135 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.634    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $51,649.93
          Promag                                                                Contingent
          43 N 48Th Ave                                                         Unliquidated
          Phoenix, AZ 85043                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.635    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,780.76
          Promika                                                               Contingent
          5000 Centre Green Way                                                 Unliquidated
          Ste 100                                                               Disputed
          Cary, NC 27513
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.636    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,287.42
          Protection Associates Inc.                                            Contingent
          372 S. East Ave.                                                      Unliquidated
          Kankakee, IL 60901                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.637    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,762.98
          Protie                                                                Contingent
          1 Mulch Lane                                                          Unliquidated
          St. Charles, MO 63044                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.638    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $782.56
          Proven Business Systems                                               Contingent
          18450 Crossing Dr.                                                    Unliquidated
          Ste. D                                                                Disputed
          Tinley Park, IL 60487
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.639    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $47,186.21
          Purheat, Llc                                                          Contingent
          Po Box 478                                                            Unliquidated
          Bolivar, MO 65613                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.640    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $119,404.00
          Quagga Accessories, LLC                                               Contingent
          1735 S. River Road                                                    Unliquidated
          St. Charles, MO 63303                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 102 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 136 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.641    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50,523.22
          Qualco Inc                                                            Contingent
          225 Passaic Street                                                    Unliquidated
          Passaic, NJ 07055                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.642    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $436.00
          Quik-Kill Pest Eliminators                                            Contingent
          109 Iowa Ave                                                          Unliquidated
          Streator, IL 61364                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.643    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,402.00
          Quincy Air Master                                                     Contingent
          3501 Wismann Lane                                                     Unliquidated
          Quincy, IL 62301                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.644    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $33,615.00
          Quincy Air Master                                                     Contingent
          701 North Dobson Ave                                                  Unliquidated
          Bay Minette, AL 36507                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.645    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $158.00
          R & R Professional Window Clean                                       Contingent
          1318 W. Circle Road                                                   Unliquidated
          Peoria, IL 61604                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.646    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $119.92
          R.W. Rogers Company, Inc.                                             Contingent
          610 S. Kirk Road                                                      Unliquidated
          St. Charles, IL 60174                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.647    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,395.32
          Radians, Inc                                                          Contingent
          5305 Distriplex Farms Dr                                              Unliquidated
          Memphis, TN 38141                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 103 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 137 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.648    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $58,734.96
          Radio Systems Inc.                                                    Contingent
          10427 Electric Avenue                                                 Unliquidated
          Knoxville, TN 37932                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.649    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $788.32
          Rapala VMC Corporation                                                Contingent
          10395 Yellow Circle Drive                                             Unliquidated
          Minnetonka, MN 55343                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.650    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,922.50
          Rcg Ventures Fund III, LP                                             Contingent
          Rcg-Michigan City, Llc                                                Unliquidated
          Po Box 53483                                                          Disputed
          Atlanta, GA 30355
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.651    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,576.50
          Red Bull Distribution Company                                         Contingent
          1740 Stewart Street                                                   Unliquidated
          Santa Monica, CA 90404                                                Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.652    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,902.37
          Red Devil                                                             Contingent
          1 Webb Street                                                         Unliquidated
          Pryor, OK 74361                                                       Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.653    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,018.80
          Red River Commodities                                                 Contingent
          P.O. Box 3022                                                         Unliquidated
          Fargo, ND 58108                                                       Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.654    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,510.00
          Red River Commodities Corn                                            Contingent
          P.O. Box 3022                                                         Unliquidated
          Fargo, ND 58108                                                       Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 104 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 138 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.655    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,334.94
          Red Wing Shoe                                                         Contingent
          314 Main Street                                                       Unliquidated
          Red Wing, MN 55066                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.656    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,423.98
          Reddy Rentals, Inc.                                                   Contingent
          34194 Aurora Road, # 226                                              Unliquidated
          Solon, OH 44139                                                       Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.657    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $72.63
          Reeves Int'L Inc.                                                     Contingent
          14 Industrial Road                                                    Unliquidated
          Pequannock,, NJ 07442                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.658    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $100.00
          Registration Fee Trust                                                Contingent
          Wisconsin Dept Of Transportaion                                       Unliquidated
          Po Box 3279                                                           Disputed
          Milwaukee, WI 53201
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.659    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $47,082.59
          Reinders                                                              Contingent
          W227 N6225 Sussex Rd                                                  Unliquidated
          Sussex, WI 53089                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.660    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $137,290.51
          Reliable of Milwaukee Opc 18                                          Contingent
          1126 South 70Th St., Suite 112-3                                      Unliquidated
          P.O. Box 563                                                          Disputed
          Milwaukee, WI 53214
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.661    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,316.31
          Reliance Worldwide/Shark Bite                                         Contingent
          2727 Paces Ferry Road E                                               Unliquidated
          Atlanta, GA 30339                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 105 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 139 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.662    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $44,661.99
          Renfro Corporation (Carhartt Socks)                                   Contingent
          Carhartt Socks                                                        Unliquidated
          661 Linville Road, P.O. Box 908                                       Disputed
          Mount Airy, NC 27030
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.663    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $770.40
          Rent-A-Trailer                                                        Contingent
          708 N. Eel River                                                      Unliquidated
          Cemetery Road                                                         Disputed
          Peru, IN 46970
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.664    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,051.59
          Republic Services, Inc                                                Contingent
          National Accounts                                                     Unliquidated
          Po Box 99917                                                          Disputed
          Chicago, IL 60696
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.665    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,845.40
          Revo Brand Group LLC                                                  Contingent
          10700 Hwy 55 Suite 150                                                Unliquidated
          Plymouth, MN 55441                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.666    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $787.00
          Richard Foldenauer                                                    Contingent
          1737 Us 421                                                           Unliquidated
          Michigan City, IN 46360                                               Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.667    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,084.83
          Roadrunner Lawn Ornaments                                             Contingent
          2583 Il Rt 16                                                         Unliquidated
          Pana, IL 62557                                                        Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.668    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $562.09
          Roadrunner Lawn Ornaments                                             Contingent
          2583 Il Rt. 16                                                        Unliquidated
          Pana, IL 62557                                                        Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 106 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 140 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.669    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $54,844.26
          Robert Half Management Resources                                      Contingent
          Po Box 743295                                                         Unliquidated
          Los Angeles, CA 90074                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.670    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $450.16
          Robinson Wholesale Bait Llc                                           Contingent
          603 Freeman Street                                                    Unliquidated
          Genoa City, WI 53128                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.671    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,157.22
          Rochelle Municipal Utilities                                          Contingent
          P.O. Box 456                                                          Unliquidated
          Rochelle, IL 61068                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.672    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,338.57
          Rochester Telephone Company                                           Contingent
          P.O. Box 507                                                          Unliquidated
          Rochester, IN 46975                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.673    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $440.71
          Rochester Water Department                                            Contingent
          Rochester Sewer Department                                            Unliquidated
          320 Main Street                                                       Disputed
          Rochester, IN 46975
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.674    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $161.03
          Rockhill Pinnick LLP                                                  Contingent
          105 East Main Street                                                  Unliquidated
          Warsaw, IN 46580                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.675    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,890.76
          Roebic Labs                                                           Contingent
          P.O. Box 927           Edi *Nbo                                       Unliquidated
          Fax #203-795-5227                                                     Disputed
          Orange,, CT 06477
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 107 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 141 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.676    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $159,609.72
          Rolf C. Hagen (Usa) Corp.                                             Contingent
          305 Forbes Boulevard                                                  Unliquidated
          Mansfield, MA 02048                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.677    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,686.66
          Roofoptions LLC                                                       Contingent
          5712 Weatherstone Way                                                 Unliquidated
          Johnsburg, IL 60051                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.678    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,215.00
          Ross-Leemon Construction                                              Contingent
          Po Box 247                                                            Unliquidated
          Rossville, IL 60963                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.679    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $228.00
          Roto-Rooter                                                           Contingent
          5672 Collections Center Drive                                         Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.680    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $639.00
          Roto-Rooter                                                           Contingent
          27991 C.R. 10                                                         Unliquidated
          Suite 102                                                             Disputed
          Elkhart, IN 46514
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.681    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $41,203.08
          Royal Oak                                                             Contingent
          1 Royal Oak Ave                                                       Unliquidated
          Rosewell, GA 30076                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.682    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,000.00
          RSM US LLC                                                            Contingent
          5155 Payshpere Circle                                                 Unliquidated
          Chicago, IL 60674                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 108 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 142 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.683    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $29,556.79
          Rubbermaid Home Products                                              Contingent
          3320 West Market Street                                               Unliquidated
          Wooster,, OH 44333                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.684    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,780.50
          Rubbermaid Specialty (Farm)                                           Contingent
          P.O. Box 652              *Nbo                                        Unliquidated
          1616 Wheat Road                                                       Disputed
          Winfield, KS 67156
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.685    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,768.00
          Rust-Oleum Corporation                                                Contingent
          11 Hawthorn Parkway                                                   Unliquidated
          Vernon Hills, IL 60061                                                Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.686    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,035.35
          Rvh Trucking LLC                                                      Contingent
          Po Box 268                                                            Unliquidated
          Wheatland, IA 52777                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.687    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $239,137.50
          Sa Consumer Products                                                  Contingent
          3305 W 132Nd St                                                       Unliquidated
          Leakwood, KS 66209                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.688    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,000.00
          Sabre/Chili Fund                                                      Contingent
          120 West Michigan Ave                                                 Unliquidated
          Lansing, MI 48933                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.689    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,495.06
          Safety Vehicle Emblem                                                 Contingent
          5235 Commerce Circle                                                  Unliquidated
          Fax#(317)784-4190                                                     Disputed
          Indianapolis, IN 46237
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 109 of 134
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 143 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.690    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $225.00
          Safeway Pest Management, Inc                                          Contingent
          S83 W 18622 Saturn Dr                                                 Unliquidated
          Muskego, WI 53150                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.691    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,560.00
          Salesforce.Com, Inc                                                   Contingent
          Salesforce Tower                                                      Unliquidated
          415 Mission Street 3Rd Floor                                          Disputed
          San Francisco, CA 94105
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.692    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,505.33
          Sanford L.P.                                                          Contingent
          P.O. Box 16700                                                        Unliquidated
          Columbus, OH 43216                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.693    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $660.00
          Scents of America                                                     Contingent
          105 Long Springs Rd                                                   Unliquidated
          Po Box 4571                                                           Disputed
          Sevierville, TN 37876
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.694    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $69.55
          Schlemmer Brothers                                                    Contingent
          Metalworks, Inc.                                                      Unliquidated
          607 S Cass St                                                         Disputed
          Wabash, IN 46992
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.695    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $215.00
          Scholl Dairy Co                                                       Contingent
          1320 Hwy. 212                                                         Unliquidated
          Michigan City, IN 46360                                               Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.696    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,290.29
          Schwartz Electric And Sign Co.                                        Contingent
          2627 Allentown Road                                                   Unliquidated
          Pekin, IL 61554                                                       Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 110 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 144 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.697    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $52,253.36
          Scotwood Industries, Inc                                              Contingent
          12980 Metcalf                                                         Unliquidated
          Suite 240                                                             Disputed
          Overland Park, KS 66213
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.698    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,134.40
          Scrub Daddy                                                           Contingent
          6 Horne Drive                                                         Unliquidated
          Folcroft, PA 19032                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.699    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,699.08
          Sellars Wipers & Sorbent                                              Contingent
          6540 N. Industrial Road                                               Unliquidated
          Milwaukee, WI 53223                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.700    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,286.01
          Sellers Publishing (Rsvp Cards)                                       Contingent
          161 John Roberts Road                                                 Unliquidated
          South Portland, ME 04106                                              Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.701    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,037.08
          Sergeant'S Pet Care                                                   Contingent
          2625 S. 158Th Plaza                                                   Unliquidated
          Omaha,, NE 68130                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.702    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,292.18
          Seritage SRC Finance LLC                                              Contingent
          Po Box 776148                                                         Unliquidated
          Chicago, IL 60677                                                     Disputed
          Date(s) debt was incurred 1/1/2021
                                                                             Basis for the claim:    Rent
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.703    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,923.44
          Servass Laboratories                                                  Contingent
          5240 Walt Place                                                       Unliquidated
          Indianapolis, IN 46254                                                Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 111 of 134
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 145 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.704    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,722.19
          Shadow Hunter / Summit Outdoors Llc                                   Contingent
          6714 Pointe Inverness Way                                             Unliquidated
          Suite 200                                                             Disputed
          Fort Wayne, IN 46804
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.705    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $78,870.90
          Shelterlogic                                                          Contingent
          150 Callender Road                                                    Unliquidated
          Watertown, CT 06795                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.706    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,450.93
          Shimano                                                               Contingent
          One Holland Drive                                                     Unliquidated
          Irvine, CA 92618                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.707    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,585.76
          Sidney Electric Company                                               Contingent
          840 S. Vandemark Road                                                 Unliquidated
          Sidney, OH 45365                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.708    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,800.00
          Sign Crafters, Inc.                                                   Contingent
          P.O. Box 4266                                                         Unliquidated
          Evansville, IN 47711                                                  Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.709    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.01
          Simone Chickenbone                                                    Contingent
          524 S. Commerce                                                       Unliquidated
          Wichita,, KS 67202                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.710    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,907.00
          Skell Inc.                                                            Contingent
          2401 Lincoln Blvd.                                                    Unliquidated
          Suite C                                                               Disputed
          Santa Monica, CA 90405
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 112 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 146 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.711    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,055.42
          Snax-In-Pax                                                           Contingent
          204 Hawpatch Dr                                                       Unliquidated
          Topeka, IN 46571                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.712    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $54,537.46
          Soft Air Usa Inc                                                      Contingent
          4265 Trade Center Dr                                                  Unliquidated
          Ste 130                                                               Disputed
          Grapevine, TX 76051
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.713    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $113,874.23
          Sopus / Shell / Rotella                                               Contingent
          609 Science Drive                                                     Unliquidated
          Moorpark, CA 93021                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.714    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $166.02
          South Bend Municipal Utilities                                        Contingent
          125 W Colfax Ave                                                      Unliquidated
          South Bend, IN 46601                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.715    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          South Win LTd                                                         Contingent
          South/Win LLC/Highline Aftermarket                                    Unliquidated
          Atlanta, GA 30374-4780                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.716    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.01
          Southern Patio/ Behm & Hagemann Inc.                                  Contingent
          465 Railroad Ave                                                      Unliquidated
          Camp Hill, PA 17011                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.717    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,694.49
          Specialty Entrance Technologies                                       Contingent
          6351 N 650 E                                                          Unliquidated
          Urbana, IN 46990                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 113 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 147 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.718    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $446.69
          Spectrum Business                                                     Contingent
          Charter Communications                                                Unliquidated
          Po Box 94188                                                          Disputed
          Palatine, IL 60094
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.719    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $116.97
          Spectrum Enterprise                                                   Contingent
          Time Warner Cable                                                     Unliquidated
          Box 223085                                                            Disputed
          Pittsburgh, PA 15251
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.720    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,972.35
          Spoontiques                                                           Contingent
          111 Island Street                                                     Unliquidated
          Stoughton, MA 02072                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.721    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,824.78
          Sports Specialists Milwaukee                                          Contingent
          N904 W13885 Donges Bay Road                                           Unliquidated
          Germantown, WI 53022                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.722    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $367.12
          St. Louis Business Forms, Inc.                                        Contingent
          2508 Gravois Road                                                     Unliquidated
          High Ridge, MO 63049                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.723    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $52,025.93
          Stack On Products                                                     Contingent
          1360 North Old Rand Road                                              Unliquidated
          Wauconda, IL 60084                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.724    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,534.20
          Stafford Solid Waste                                                  Contingent
          P.O. Box 1599                                                         Unliquidated
          Warsaw, IN 46581                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 114 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 148 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.725    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,034.18
          Stanley Muffler                                                       Contingent
          Box D - Highway 80 West                                               Unliquidated
          Fax #314-649-2664                                                     Disputed
          East Prairie, MO 63845
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.726    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,400.00
          Star Ride Kids                                                        Contingent
          112 West 34Th Street, Suite 830                                       Unliquidated
          New York, NY 10120                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.727    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,933.20
          Stens                                                                 Contingent
          225 S. Clay                                                           Unliquidated
          Jasper, IN 47546                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.728    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,496.40
          Stephen's Pipe & Steel                                                Contingent
          2224 East Hwy 619                                                     Unliquidated
          Russell Springs,, KY 42642                                            Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.729    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $853.23
          Steve Merkel                                                          Contingent
          P.O. Box 6263                                                         Unliquidated
          Champaign, IL 61826                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.730    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,043.00
          Sticky Holsters                                                       Contingent
          4306 Arnold Ave.00                                                    Unliquidated
          Naples, FL 34104                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.731    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,502.91
          Stihl                                                                 Contingent
          C/O Crader Distributing                                               Unliquidated
          808 Hwy 34 West                                                       Disputed
          Marble Hill, MO 63764
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 115 of 134
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 149 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.732    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,317.84
          Stoner                                                                Contingent
          1070 Robert Fulton Hwy                                                Unliquidated
          Quarryville, PA 17566                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.733    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,102,517.00
          Store Capital                                                         Contingent
          8377 E. Hartford Dr                                                   Unliquidated
          Scottsdale, AZ 85255                                                  Disputed
          Date(s) debt was incurred      6/30/2020                           Basis for the claim:    Unsecured Note/Rent Abatement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.734    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,874.04
          Strategic Distribution/Careismatic                                    Contingent
          C/O Paul Haber                                                        Unliquidated
          15221Viburnum Rd                                                      Disputed
          Frisco, TX 75035
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.735    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,894.28
          Streamlight                                                           Contingent
          30 Eagleville Road                                                    Unliquidated
          Eagleville, PA 19403                                                  Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.736    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,528.07
          Strike King Lure                                                      Contingent
          466 Washington Street                                                 Unliquidated
          Collierville, TN 38017                                                Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.737    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,557.47
          Suncast Corporation                                                   Contingent
          701 North Kirk Road                                                   Unliquidated
          Batavia, IL 60510                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.738    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,544.56
          Sunshine Mills                                                        Contingent
          500 6Th Street Sw                                                     Unliquidated
          Red Bay, AL 35582                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 116 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 150 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.739    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $54.00
          Superior Nut Company, Inc                                             Contingent
          225 Monsignor O'Brien Hwy                                             Unliquidated
          Cambridge, MA 02141                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.740    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,619.69
          Superior Pump                                                         Contingent
          2301 Traffic Street Ne                                                Unliquidated
          Minneapolis, MN 55413                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.741    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $253.50
          Superior Safe And Lock                                                Contingent
          1521 Tremont Dr                                                       Unliquidated
          Mishwaka, IN 46544                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.742    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $700.00
          Svela'S Complete Landscaping & Maintenan                              Contingent
          6435 S. Westwood Ave                                                  Unliquidated
          Rochelle, IL 61068                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.743    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Swayzee Telephone Company                                             Contingent
          P.O. Box 97                                                           Unliquidated
          Swayzee, IN 46986                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.744    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35,681.15
          Swift Response                                                        Contingent
          2690 Weston Road                                                      Unliquidated
          Suite 200                                                             Disputed
          Weston,, FL 33331
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.745    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,531.91
          Symmetry Energy Solutions LLC                                         Contingent
          1111 Louisiana St                                                     Unliquidated
          B-241                                                                 Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 117 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 151 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.746    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,921.28
          Tannerite                                                             Contingent
          36366 Valley Road                                                     Unliquidated
          Pleasant Hill, OR 97455                                               Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.747    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,511.60
          Tara Toy                                                              Contingent
          40 Adams Avenue                                                       Unliquidated
          Hauppauge,, NY 11788                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.748    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $106,945.85
          Tarter Mfg                                                            Contingent
          Po Box 39                                                             Unliquidated
          10739 South Us 127                                                    Disputed
          Dunnville, KY 42528
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.749    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,880.00
          Tas Lawn Care                                                         Contingent
          1314 S 10Th St                                                        Unliquidated
          Pekin, IL 61554                                                       Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.750    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,896.11
          Tee Jay Central, Inc.                                                 Contingent
          P.O. Box 130                                                          Unliquidated
          Gridley, IL 61744                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.751    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,283.82
          Tee Jay Service Company, Inc.                                         Contingent
          958 Corporate Blvd.                                                   Unliquidated
          Aurora, IL 60502                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.752    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,265.12
          Tek Nek Toys Intl Inc                                                 Contingent
          1904 Industrial Blvd                                                  Unliquidated
          Ste 1000101                                                           Disputed
          Colleyville, TX 76034
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 118 of 134
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 152 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.753    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,424.50
          Tekno Products                                                        Contingent
          301 Rt 17N                                                            Unliquidated
          Suite 204                                                             Disputed
          Rutherford, NJ 07070
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.754    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,828.76
          Tekton, Inc.                                                          Contingent
          3707 Roger B Chaffee Drive S.E.                                       Unliquidated
          Grand Rapids, MI 49548                                                Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.755    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $965.25
          Terminator Pest Control, LLC                                          Contingent
          W1798 Cemetery Rd                                                     Unliquidated
          Randolph, WI 53956                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.756    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,140.00
          Terminix                                                              Contingent
          2100 Kickapoo Drive                                                   Unliquidated
          Danville, IL 61832                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.757    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $200.00
          Terrel Landscaping                                                    Contingent
          5910 E 1250 S                                                         Unliquidated
          N.Manchester, IN 46962                                                Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.758    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $114,297.78
          Tervis Tumbler                                                        Contingent
          201 Triple Diamond Blvd                                               Unliquidated
          North Venice, FL 34275                                                Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.759    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $128.61
          The American Bottling Company                                         Contingent
          21431 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 119 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 153 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.760    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $259,378.00
          The Kl Companies, Inc                                                 Contingent
          2420 Remembrance Dr                                                   Unliquidated
          Muskegon, MI 49442                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.761    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,044.20
          The Original Salt Company                                             Contingent
          2349 Pllastics Dr                                                     Unliquidated
          Suite 100                                                             Disputed
          Gastonia, NC 28054
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.762    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $300.00
          The Paper Of Wabash County, Inc                                       Contingent
          Po Box 603                                                            Unliquidated
          Wabash, IN 46992                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.763    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,099.20
          The Pound Bakery                                                      Contingent
          2 Dogs Way                                                            Unliquidated
          Harvard, IL 60033                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.764    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $22,407.63
          Thermacell Repellents, Inc                                            Contingent
          26 Crosby Drive                                                       Unliquidated
          Bedford, MA 01730                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.765    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,240.00
          Thermold Magazines                                                    Contingent
          3730 Wheeler Ave.                                                     Unliquidated
          Fort Smith, AR 72901                                                  Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.766    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,396.94
          Thermos Llc                                                           Contingent
          475 N Martingale Road                                                 Unliquidated
          Schaumbug, IL 60173                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 120 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 154 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.767    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,048.28
          Thermwell Products                                                    Contingent
          420 Rt 17 South                                                       Unliquidated
          Mahwah, NJ 07430                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.768    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $991.47
          Thompson'S Equip. Repair Service                                      Contingent
          548 County Rd 2425                                                    Unliquidated
          El Paso, IL 61738                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.769    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $39,806.20
          Thoroughbread Industrial Cylinder Exchan                              Contingent
          1575 Winchester Rd                                                    Unliquidated
          Ste 160                                                               Disputed
          Lexington, KY 40505
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.770    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $23,457.95
          Tnt Fireworks                                                         Contingent
          Po Box 3417                                                           Unliquidated
          Industrial Park                                                       Disputed
          Florence, AL 35634
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.771    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $180.00
          Tomkat Roofing Inc.                                                   Contingent
          8 Northpoint Drive                                                    Unliquidated
          Streator, IL 61364                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.772    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,464.51
          Torrence Sound Equipment Co                                           Contingent
          29050 Glenwood Rd                                                     Unliquidated
          Perrysburg, OH 43551                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.773    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $34.00
          Touch Tone Communications                                             Contingent
          P.O. Box 135                                                          Unliquidated
          Whippany, NJ 07981                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 121 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 155 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.774    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,073.04
          Toughbuilt Industries, Inc                                            Contingent
          25371 Commercenter Drive                                              Unliquidated
          #200                                                                  Disputed
          Lake Forest, CA 92630
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.775    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $116,204.34
          Townline Poultry Farm                                                 Contingent
          Box 108                                                               Unliquidated
          Zeeland, MI 49464                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.776    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $149.00
          Townsquare Media Lansing                                              Contingent
          3420 Pine Tree Rd                                                     Unliquidated
          Lansing, MI 48911                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.777    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,060.00
          Toysmith                                                              Contingent
          3101 West Valley Highway East                                         Unliquidated
          Sumner, WA 98390                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.778    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $23,091.94
          Travelers Cl Remmittance Center                                       Contingent
          Po Box 660317                                                         Unliquidated
          Dallas, TX 75266                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.779    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,851.21
          Tri Global Enterprises                                                Contingent
          15067 Spruce Hill Park Rd Ne                                          Unliquidated
          Miltona, MN 56354                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.780    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,594.88
          Tri-State Trading                                                     Contingent
          8426 Medical Plaza Drive                                              Unliquidated
          Po Box 60569                                                          Disputed
          Charlotte, NC 28260
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 122 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 156 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.781    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $129,107.20
          Trilliant Food Beverage & Nutrition                                   Contingent
          1101 Moasis Drive                                                     Unliquidated
          Po Box 307                                                            Disputed
          Little Chute, WI 54140
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.782    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,100.00
          Triple J Liqui-Green                                                  Contingent
          Juan Flores                                                           Unliquidated
          3021 E Vine St                                                        Disputed
          Danville, IL 61834
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.783    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $400.00
          Tropiceel                                                             Contingent
          237 S.E. Miller Avenue                                                Unliquidated
          Roseburg, OR 97470                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.784    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,508.00
          Tru Fragrance                                                         Contingent
          7725 S. Quincy Street                                                 Unliquidated
          Willowbrook, IL 60527                                                 Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.785    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $569,797.26
          True Media                                                            Contingent
          500 Business Loop 70 West                                             Unliquidated
          Columbia, MO 65203                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.786    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,995.00
          Truglo Archery Products                                               Contingent
          525 International Parkway                                             Unliquidated
          Richardson, TX 75081                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.787    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,612.56
          Truper S.A De C.V.                                                    Contingent
          Miguel De Cervantes                                                   Unliquidated
          Saavedra #67 Col. Granada                                             Disputed
          .P.11520
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 123 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 157 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.788    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,850.00
          Truwall Construction                                                  Contingent
          645 Cr 37                                                             Unliquidated
          Bluffton, OH 45817                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.789    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $283.50
          TSB Communications, LLC                                               Contingent
          35209 Academy Road                                                    Unliquidated
          Burlington, WI 53105                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.790    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,947.56
          Tuthill                                                               Contingent
          Fill-Rite Division                                                    Unliquidated
          8825 Aviation Drive                                                   Disputed
          Fort Wayne, IN 46809
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.791    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,464.42
          Twenty First Century                                                  Contingent
          2950 Fretz Valley Road                                                Unliquidated
          Perkasie,, PA 18944                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.792    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $52,203.80
          Ty, Inc.                                                              Contingent
          Po Box 5377                                                           Unliquidated
          Oak Brook, IL 60522                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.793    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,520.71
          Tyson Pet Products                                                    Contingent
          2200 Don Tyson Parkway                                                Unliquidated
          Springdale, AZ 72762                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.794    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,456.85
          Uline                                                                 Contingent
          P.O. Box 88741                                                        Unliquidated
          Chicago, IL 60680                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 124 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 158 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.795    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $691,820.34
          Under Armour                                                          Contingent
          Tide Point, 1020 Hull St                                              Unliquidated
          Baltimore, MD 21230                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.796    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $811.88
          United Gilsonite Labs                                                 Contingent
          Box 70                                                                Unliquidated
          Scranton,, PA 18501                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.797    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,722.01
          United Parcel Service                                                 Contingent
          Po Box 809488                                                         Unliquidated
          Chicago, IL 60680                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.798    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,784.90
          United Paving                                                         Contingent
          P.O. Box 67                                                           Unliquidated
          Paxton, IL 60957                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.799    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,681.60
          United States Stove                                                   Contingent
          111 Industrial Drive                                                  Unliquidated
          S. Pittsburg, TN 37380                                                Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.800    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,862.00
          V-G Supply Co                                                         Contingent
          1400 Renaissance Drive                                                Unliquidated
          Suite 300                                                             Disputed
          Park Ridge, IL 60068
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.801    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,672.27
          Val-A Chicago                                                         Contingent
          765 Industrial Drive                                                  Unliquidated
          Elmhurst, IL 60126                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 125 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 159 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.802    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $371,604.94
          Valassis                                                              Contingent
          199775 Victor Parkway                                                 Unliquidated
          Livonia, MI 48152                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.803    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,512.95
          Valley Industries                                                     Contingent
          123 North Industrial Loop                                             Unliquidated
          Paynesville, MN 56362                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.804    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,665.46
          Valu Merchandisers Company                                            Contingent
          4805 Campbell Dr                                                      Unliquidated
          Ft Scott, KS 66701                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.805    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,882.04
          Value Max Products                                                    Contingent
          410 Jay Street                                                        Unliquidated
          Coldwater, MI 49036                                                   Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.806    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $63,894.03
          Van Ness Plastic Molding Co. Inc.                                     Contingent
          400 Brighton Road                                                     Unliquidated
          Clifton, NJ 07012                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.807    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,315.00
          Vancina Group, Inc.                                                   Contingent
          2100 Mills Road                                                       Unliquidated
          Joliet, IL 60433                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.808    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,566.59
          Vaughan And Bushnell Mgf Co                                           Contingent
          11414 Maple Avenue                                                    Unliquidated
          Po Box 390                                                            Disputed
          Hebron, IL 60034
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 126 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 160 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.809    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,411.00
          Veritiv Operating Company                                             Contingent
          Po Box 849089                                                         Unliquidated
          Dallas, TX 75284                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.810    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,120.31
          Verizon Wireless                                                      Contingent
          P.O, Box 25505                                                        Unliquidated
          Lehigh Valley, PA 18002                                               Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.811    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,925.05
          Vermillion River Farms                                                Contingent
          1425 N 17Th Rd                                                        Unliquidated
          Streator, IL 61364                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.812    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $29,500.00
          Versacarry                                                            Contingent
          1003 N Earl Rudder Fwy                                                Unliquidated
          Bryan, TX 77808                                                       Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.813    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,375.48
          Victorio Kitchen Prod                                                 Contingent
          Palmer Wholesales                                                     Unliquidated
          1804 Sandhill Rd                                                      Disputed
          Orem, UT 84058
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.814    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,289.32
          Victory Propane                                                       Contingent
          P.O. Box 1217                                                         Unliquidated
          Highland Park, IL 60035                                               Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.815    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,395.00
          Virtual Graffiti Inc.                                                 Contingent
          9979 Muirlands Blvd.                                                  Unliquidated
          Irvine, CA 92618                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 127 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 161 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.816    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,890.17
          Voortman Cookies                                                      Contingent
          Po Box 4562                                                           Unliquidated
          Buffalo, NY 14240                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.817    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,963.53
          VSP Service Plan                                                      Contingent
          P.O. Box 742135                                                       Unliquidated
          Los Angeles, CA 90074                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.818    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $86,225.21
          Vtech Electronics                                                     Contingent
          1156 W Shure Drive                                                    Unliquidated
          Suite 200                                                             Disputed
          Arlington Hts, IL 60004
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.819    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $650.00
          Vulcan Enterprises, Inc.                                              Contingent
          Vulcan Fire Protection                                                Unliquidated
          2600-D State Rt. 568                                                  Disputed
          Carey, OH 43316
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.820    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $350.00
          W Enterprises, LLC                                                    Contingent
          Walden Transport & Recycle                                            Unliquidated
          P.O. Box 602                                                          Disputed
          Crawfordsville, IN 47933
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.821    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,032.00
          W. S. Badger Company                                                  Contingent
          768 Route 10                                                          Unliquidated
          Gilsum, NH 03448                                                      Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.822    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          W.M. Barr/Klean Strip                                                 Contingent
          WM Barr and Co Inc.                                                   Unliquidated
          PO Box 637687                                                         Disputed
          Cincinnati, OH 45263-7687
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 128 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 162 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.823    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,115.96
          Wabash Valley Farms                                                   Contingent
          6323 North 150 East                                                   Unliquidated
          Monon, IN 47959                                                       Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.824    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $494.64
          Washington Shoe Company                                               Contingent
          21001 72Nd Ave S                                                      Unliquidated
          Kent, WA 98032                                                        Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.825    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,682.06
          Waste Management                                                      Contingent
          P.O. Box 4648                                                         Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.826    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $37,736.60
          Water Boss                                                            Contingent
          4343 South Hamilton Road                                              Unliquidated
          Groveport, OH 43125                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.827    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,795.48
          Watkins Inc                                                           Contingent
          150 Liberty St                                                        Unliquidated
          Winona, MN 55987                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.828    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,290.46
          Watseka B&D Enterprises, Inc.                                         Contingent
          1821 E 1400 North Road                                                Unliquidated
          Watseka, IL 60970                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.829    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,552.40
          Waukesha Lime & Stone                                                 Contingent
          233N507                                                               Unliquidated
          Hwy F                                                                 Disputed
          Waukesha, WI 53188
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 129 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 163 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.830    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,210.69
          We Energies                                                           Contingent
          Po Box 6042                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.831    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $93,421.00
          Weatherby                                                             Contingent
          1605 Commerce Way                                                     Unliquidated
          Paso Robles, CA 93446                                                 Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.832    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $44,218.64
          Weaver Leather                                                        Contingent
          Box 68, 7540 C.R. 201                                                 Unliquidated
          Mt. Hope, OH 44660                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.833    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $29,183.90
          Weber Plumbing                                                        Contingent
          105 N. 2Nd Street                                                     Unliquidated
          Watseka, IL 60970                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.834    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,994.90
          Weiman Products                                                       Contingent
          775 Tri State Pkwy                                                    Unliquidated
          Gurnee, IL 60031                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.835    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $56,192.80
          Wells Lamont                                                          Contingent
          6640 West Touhy Avenue                                                Unliquidated
          Niles, IL 60714                                                       Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.836    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,541.84
          West Drive Llc                                                        Contingent
          1045 W Glen Oaks Lane                                                 Unliquidated
          Suite 202 Mequon                                                      Disputed
          Manitowoc,, WI 53092
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 130 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 164 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.837    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Whitewater Management, LLC                                            Contingent
          12301 Whitewater Drive                                                Unliquidated
          Suite 110                                                             Disputed
          Minnetonka, MN 55343
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.838    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,833.77
          Whitewater Outdoors                                                   Contingent
          W4228 Church St.                                                      Unliquidated
          Hingham, WI 53031                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.839    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $148.85
          Wholesale Collections                                                 Contingent
          3965 Airways Blvd                                                     Unliquidated
          Module G, 3Rd Floor                                                   Disputed
          Memphis, TN 38816
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.840    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,263.00
          Widseth Smith Nolting & Assoc., Inc.                                  Contingent
          P.O. Box 458                                                          Unliquidated
          216 South Main St.                                                    Disputed
          Crookston, MN 56716
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.841    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,871.46
          Wildlife Sciences Llc                                                 Contingent
          4268 Norex Drive                                                      Unliquidated
          Chaska, MN 55318                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.842    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,035.80
          Wildman                                                               Contingent
          800 S. Buffalo St.                                                    Unliquidated
          Warsaw, IN 46580                                                      Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.843    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,693.50
          Wilmington Overhead Doors                                             Contingent
          515 N Kankakee St                                                     Unliquidated
          Wilmington, IL 60481                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 131 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 165 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.844    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $552.00
          Wilson's General Store & Cafe                                         Contingent
          11120 Broadway                                                        Unliquidated
          Evansville, IN 47712                                                  Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.845    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60,175.45
          Winston Products                                                      Contingent
          30339 Diamond Parkway                                                 Unliquidated
          Suite 105                                                             Disputed
          Glenwillow, OH 44139
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.846    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,910.00
          Wisconsin Department Of Justice                                       Contingent
          17 W Main St                                                          Unliquidated
          Madison, WI 53703                                                     Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.847    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,720.00
          Wm Barr                                                               Contingent
          P.O. Box 1879                                                         Unliquidated
          Memphis, TN 38101                                                     Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.848    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $182,509.88
          Wolverine                                                             Contingent
          9341 Courtland Dr.                                                    Unliquidated
          Rockford, MI 49351                                                    Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.849    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $130,939.69
          World Wide Intl Logistics Inc.                                        Contingent
          800 Roosevelt Road                                                    Unliquidated
          Ste B410                                                              Disputed
          Glen Ellyn, IL 60137
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.850    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,759.98
          Worthington Cylinders                                                 Contingent
          P.O. Box 391                                                          Unliquidated
          1085 Dearborn Drive                                                   Disputed
          Columbus, OH 43085
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred      Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 132 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 166 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.851    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,730.80
          WP Beverages, LLC                                                     Contingent
          Dba Pepsi-Cola Of Rockford                                            Unliquidated
          P.O. Box 7425                                                         Disputed
          Madison, WI 53707
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.852    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $133,485.35
          Wunderman                                                             Contingent
          466 Lexington Ave, 4Th Floor                                          Unliquidated
          New York, NY 10017                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.853    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $247,704.40
          X-Stand Treestands                                                    Contingent
          14645 Felton Court                                                    Unliquidated
          Suite 103                                                             Disputed
          Apple Valley, MN 55124
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.854    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,287.40
          Xenophon Management, LLC                                              Contingent
          Dba Previa Products                                                   Unliquidated
          301 Main Plaza Suite 209                                              Disputed
          New Braunfels, TX 78130
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred Multiple
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.855    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $54,769.82
          Yenkin-Majestic Paint Corp                                            Contingent
          1920 Leonard Avenue                                                   Unliquidated
          Columbus,, OH 43219                                                   Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.856    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $21.02
          Ytl International Inc                                                 Contingent
          17517 Fabrica Way Suite H                                             Unliquidated
          Cerritos, CA 90703                                                    Disputed
          Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.857    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,821.06
          Zebco                                                                 Contingent
          P.O. Box 270                                                          Unliquidated
          Tulsa, OK 74101                                                       Disputed
          Date(s) debt was incurred      Multiple                            Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 133 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                         Desc Main
                                                                 Document      Page 167 of 214
 Debtor       Tea Olive I, LLC                                                                        Case number (if known)            21-30037
              Name

 3.858     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $50,480.81
           Zep Companies                                                        Contingent
           Country Vet                                                          Unliquidated
           425 Franklin Road Se Suite 530                                       Disputed
           Marietta, GA 30067
                                                                             Basis for the claim:    Trade
           Date(s) debt was incurred Multiple
           Last 4 digits of account number                                   Is the claim subject to offset?        No      Yes


 3.859     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $109.16
           Zimmerman Plumbing, Inc.                                             Contingent
           303 E Albert St                                                      Unliquidated
           Portage, WI 53901                                                    Disputed
           Date(s) debt was incurred Multiple
                                                                             Basis for the claim:    Trade
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any
 4.1       Internal Revenue Service
           Wells Fargo Place                                                                          Line     2.25
           30 E 7th St, Mail Stop 5700
                                                                                                             Not listed. Explain
           Saint Paul, MN 55101


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                  8,153,296.49
 5b. Total claims from Part 2                                                                            5b.    +     $                 29,474,138.42

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.          $                    37,627,434.91




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 134 of 134
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                       Desc Main
                                                                 Document      Page 168 of 214
 Fill in this information to identify the case:

 Debtor name         Tea Olive I, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MINNESOTA

 Case number (if known)         21-30037
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1.        State what the contract or                   Lima Store Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                2/28/2027
                                                                                         Clocktower Plaza, LLC
             List the contract number of any                                             970 Windham Ct
                   government contract                                                   Boardman, OH 44513


 2.2.        State what the contract or                   Lease: Make: ENER,
             lease is for and the nature of               Model: 12-85G-7, Type:
             the debtor's interest                        Battery, Serial #:
                                                          MPA1227340
                  State the term remaining                2/28/2022
                                                                                         Crown Credit Company
             List the contract number of any                                             P.O. Box 640352
                   government contract                                                   Cincinnati, OH 45264


 2.3.        State what the contract or                   Lease: Make: ENER,
             lease is for and the nature of               Model: 12-E140-15,
             the debtor's interest                        Type: Battery, Serial #:
                                                          RNC848645
                  State the term remaining                6/30/2023
                                                                                         Crown Credit Company
             List the contract number of any                                             P.O. Box 640352
                   government contract                                                   Cincinnati, OH 45264


 2.4.        State what the contract or                   Lease: Make: ENER,
             lease is for and the nature of               Model: 18-125P-13,
             the debtor's interest                        Type: Battery, Serial #:
                                                          MNF1205664
                  State the term remaining                5/31/2023
                                                                                         Crown Credit Company
             List the contract number of any                                             P.O. Box 640352
                   government contract                                                   Cincinnati, OH 45264




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 1 of 16
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                      Desc Main
                                                                 Document      Page 169 of 214
 Debtor 1 Tea Olive I, LLC                                                                       Case number (if known)   21-30037
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.5.        State what the contract or                   Lease: Make: DEKA,
             lease is for and the nature of               Model: 18-D125-13,
             the debtor's interest                        Type: Battery, Serial #:
                                                          6043GE
                  State the term remaining                6/30/2023
                                                                                         Crown Credit Company
             List the contract number of any                                             P.O. Box 640352
                   government contract                                                   Cincinnati, OH 45264


 2.6.        State what the contract or                   Lease: Make: DEKA,
             lease is for and the nature of               Model: 18-D125-13,
             the debtor's interest                        Type: Battery, Serial #:
                                                          3863CG
                  State the term remaining                1/31/2025
                                                                                         Crown Credit Company
             List the contract number of any                                             P.O. Box 640352
                   government contract                                                   Cincinnati, OH 45264


 2.7.        State what the contract or                   Lease: Make: DEKA,
             lease is for and the nature of               Model: 18-D85-17, Type:
             the debtor's interest                        Battery, Serial #: 5503DE

                  State the term remaining                12/31/2024
                                                                                         Crown Credit Company
             List the contract number of any                                             P.O. Box 640352
                   government contract                                                   Cincinnati, OH 45264


 2.8.        State what the contract or                   Lease: Make: DEKA,
             lease is for and the nature of               Model: 18-H120-13,
             the debtor's interest                        Type: Battery, Serial #:
                                                          0331DC
                  State the term remaining                7/31/2021
                                                                                         Crown Credit Company
             List the contract number of any                                             P.O. Box 640352
                   government contract                                                   Cincinnati, OH 45264


 2.9.        State what the contract or                   Lease: Make: DEKA,
             lease is for and the nature of               Model: 18-H120-13,
             the debtor's interest                        Type: Battery, Serial #:
                                                          0344DC
                  State the term remaining                5/31/2023
                                                                                         Crown Credit Company
             List the contract number of any                                             P.O. Box 640352
                   government contract                                                   Cincinnati, OH 45264


 2.10.       State what the contract or                   Lease: Make: DEKA,
             lease is for and the nature of               Model: 18-P140-15,
             the debtor's interest                        Type: Battery, Serial #:
                                                          0387AD
                  State the term remaining                12/31/2021                     Crown Credit Company
                                                                                         P.O. Box 640352
             List the contract number of any                                             Cincinnati, OH 45264
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 2 of 16
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                      Desc Main
                                                                 Document      Page 170 of 214
 Debtor 1 Tea Olive I, LLC                                                                       Case number (if known)   21-30037
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.11.       State what the contract or                   Lease: Make: AES,
             lease is for and the nature of               Model: 18Y-865X3, Type:
             the debtor's interest                        Charger, Serial #:
                                                          07L42143
                  State the term remaining                5/31/2023
                                                                                         Crown Credit Company
             List the contract number of any                                             P.O. Box 640352
                   government contract                                                   Cincinnati, OH 45264


 2.12.       State what the contract or                   Lease: Make: AMTK,
             lease is for and the nature of               Model: 750H3-18C,
             the debtor's interest                        Type: Charger, Serial #:
                                                          406CS45504
                  State the term remaining                7/31/2021
                                                                                         Crown Credit Company
             List the contract number of any                                             P.O. Box 640352
                   government contract                                                   Cincinnati, OH 45264


 2.13.       State what the contract or                   Lease: Make: GNB,
             lease is for and the nature of               Model:
             the debtor's interest                        FLX20018750T1H, Type:
                                                          Charger, Serial #:
                                                          10F3368M
                  State the term remaining                5/31/2023
                                                                                         Crown Credit Company
             List the contract number of any                                             P.O. Box 640352
                   government contract                                                   Cincinnati, OH 45264


 2.14.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: FS3-MP324-2,
             the debtor's interest                        Type: Charger, Serial #:
                                                          3E734027
                  State the term remaining                2/28/2022
                                                                                         Crown Credit Company
             List the contract number of any                                             P.O. Box 640352
                   government contract                                                   Cincinnati, OH 45264


 2.15.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: FS3-MP344-1,
             the debtor's interest                        Type: Charger, Serial #:
                                                          3M19090491
                  State the term remaining                12/31/2024
                                                                                         Crown Credit Company
             List the contract number of any                                             P.O. Box 640352
                   government contract                                                   Cincinnati, OH 45264




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 3 of 16
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                       Desc Main
                                                                 Document      Page 171 of 214
 Debtor 1 Tea Olive I, LLC                                                                        Case number (if known)   21-30037
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

 2.16.       State what the contract or                   Lease: Make: ACT,
             lease is for and the nature of               Model: P36750R25SB,
             the debtor's interest                        Type: Charger, Serial #:
                                                          37120046IB
                  State the term remaining                6/30/2023
                                                                                          Crown Credit Company
             List the contract number of any                                              P.O. Box 640352
                   government contract                                                    Cincinnati, OH 45264


 2.17.       State what the contract or                   Lease: Make: GNB,
             lease is for and the nature of               Model:
             the debtor's interest                        SCR20012965T1H,
                                                          Type: Charger, Serial #:
                                                          07J8158M
                  State the term remaining                6/30/2023
                                                                                          Crown Credit Company
             List the contract number of any                                              P.O. Box 640352
                   government contract                                                    Cincinnati, OH 45264


 2.18.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: SC5225-30,
             the debtor's interest                        Type: Sit Down Forklift -
                                                          Electric, Serial #:
                                                          9A189296
                  State the term remaining                12/31/2024
                                                                                          Crown Credit Company
             List the contract number of any                                              P.O. Box 640352
                   government contract                                                    Cincinnati, OH 45264


 2.19.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: C51000-50, Type:
             the debtor's interest                        Sit Down Forklift - LP
                                                          unit, Serial #: 10041960
                  State the term remaining                6/30/2021
                                                                                          Crown Credit Company
             List the contract number of any                                              P.O. Box 640352
                   government contract                                                    Cincinnati, OH 45264


 2.20.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: C51000-50, Type:
             the debtor's interest                        Sit Down Forklift - LP
                                                          unit, Serial #: 10045103
                  State the term remaining                7/31/2021
                                                                                          Crown Credit Company
             List the contract number of any                                              P.O. Box 640352
                   government contract                                                    Cincinnati, OH 45264


 2.21.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: C51000-50, Type:
             the debtor's interest                        Sit Down Forklift - LP          Crown Credit Company
                                                          unit, Serial #: 10069117        P.O. Box 640352
                  State the term remaining                3/30/2022                       Cincinnati, OH 45264
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 4 of 16
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                  Desc Main
                                                                 Document      Page 172 of 214
 Debtor 1 Tea Olive I, LLC                                                                   Case number (if known)   21-30037
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease


             List the contract number of any
                   government contract


 2.22.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: C51000-50, Type:
             the debtor's interest                        Sit Down Forklift - LP
                                                          unit, Serial #: 10054470
                  State the term remaining                9/30/2021
                                                                                     Crown Credit Company
             List the contract number of any                                         P.O. Box 640352
                   government contract                                               Cincinnati, OH 45264


 2.23.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: C51000-50, Type:
             the debtor's interest                        Sit Down Forklift - LP
                                                          unit, Serial #: 10044879
                  State the term remaining                6/30/2021
                                                                                     Crown Credit Company
             List the contract number of any                                         P.O. Box 640352
                   government contract                                               Cincinnati, OH 45264


 2.24.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: C51000-50, Type:
             the debtor's interest                        Sit Down Forklift - LP
                                                          unit, Serial #: 10053221
                  State the term remaining                9/30/2021
                                                                                     Crown Credit Company
             List the contract number of any                                         P.O. Box 640352
                   government contract                                               Cincinnati, OH 45264


 2.25.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: C51000-50, Type:
             the debtor's interest                        Sit Down Forklift - LP
                                                          unit, Serial #: 10034568
                  State the term remaining                3/30/2021
                                                                                     Crown Credit Company
             List the contract number of any                                         P.O. Box 640352
                   government contract                                               Cincinnati, OH 45264


 2.26.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: C51000-50, Type:
             the debtor's interest                        Sit Down Forklift - LP
                                                          unit, Serial #: 10059685
                  State the term remaining                11/30/2021
                                                                                     Crown Credit Company
             List the contract number of any                                         P.O. Box 640352
                   government contract                                               Cincinnati, OH 45264




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                 Page 5 of 16
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                  Desc Main
                                                                 Document      Page 173 of 214
 Debtor 1 Tea Olive I, LLC                                                                   Case number (if known)   21-30037
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.27.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: C51000-50, Type:
             the debtor's interest                        Sit Down Forklift - LP
                                                          unit, Serial #: 10034564
                  State the term remaining                2/28/2021
                                                                                     Crown Credit Company
             List the contract number of any                                         P.O. Box 640352
                   government contract                                               Cincinnati, OH 45264


 2.28.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: C51000-50, Type:
             the debtor's interest                        Sit Down Forklift - LP
                                                          unit, Serial #: 9A232494
                  State the term remaining                9/30/2021
                                                                                     Crown Credit Company
             List the contract number of any                                         P.O. Box 640352
                   government contract                                               Cincinnati, OH 45264


 2.29.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: C51000-50, Type:
             the debtor's interest                        Sit Down Forklift - LP
                                                          unit, Serial #: 9A217224
                  State the term remaining                9/30/2021
                                                                                     Crown Credit Company
             List the contract number of any                                         P.O. Box 640352
                   government contract                                               Cincinnati, OH 45264


 2.30.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: C51000-50, Type:
             the debtor's interest                        Sit Down Forklift - LP
                                                          unit, Serial #: 10028699
                  State the term remaining                12/31/2020
                                                                                     Crown Credit Company
             List the contract number of any                                         P.O. Box 640352
                   government contract                                               Cincinnati, OH 45264


 2.31.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: C51000-60, Type:
             the debtor's interest                        Sit Down Forklift - LP
                                                          unit, Serial #: 9A193839
                  State the term remaining                3/31/2022
                                                                                     Crown Credit Company
             List the contract number of any                                         P.O. Box 640352
                   government contract                                               Cincinnati, OH 45264


 2.32.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: C51050-50, Type:
             the debtor's interest                        Sit Down Forklift - LP
                                                          unit, Serial #: 10023140
                  State the term remaining                10/30/2020                 Crown Credit Company
                                                                                     P.O. Box 640352
             List the contract number of any                                         Cincinnati, OH 45264
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                 Page 6 of 16
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                  Desc Main
                                                                 Document      Page 174 of 214
 Debtor 1 Tea Olive I, LLC                                                                   Case number (if known)   21-30037
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.33.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: C51050-50, Type:
             the debtor's interest                        Sit Down Forklift - LP
                                                          unit, Serial #: 9A230745
                  State the term remaining                12/31/2024
                                                                                     Crown Credit Company
             List the contract number of any                                         P.O. Box 640352
                   government contract                                               Cincinnati, OH 45264


 2.34.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: C51050-50, Type:
             the debtor's interest                        Sit Down Forklift - LP
                                                          unit, Serial #: 10147217
                  State the term remaining                5/30/2023
                                                                                     Crown Credit Company
             List the contract number of any                                         P.O. Box 640352
                   government contract                                               Cincinnati, OH 45264


 2.35.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: C51050-50, Type:
             the debtor's interest                        Sit Down Forklift - LP
                                                          unit, Serial #: 9A226873
                  State the term remaining                9/30/2021
                                                                                     Crown Credit Company
             List the contract number of any                                         P.O. Box 640352
                   government contract                                               Cincinnati, OH 45264


 2.36.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: C51050-50, Type:
             the debtor's interest                        Sit Down Forklift - LP
                                                          unit, Serial #: 9A207939
                  State the term remaining                10/31/2024
                                                                                     Crown Credit Company
             List the contract number of any                                         P.O. Box 640352
                   government contract                                               Cincinnati, OH 45264


 2.37.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: C51050-50, Type:
             the debtor's interest                        Sit Down Forklift - LP
                                                          unit, Serial #: 9A203960
                  State the term remaining                12/31/2024
                                                                                     Crown Credit Company
             List the contract number of any                                         P.O. Box 640352
                   government contract                                               Cincinnati, OH 45264


 2.38.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: C51050-50, Type:    Crown Credit Company
             the debtor's interest                        Sit Down Forklift - LP     P.O. Box 640352
                                                          unit, Serial #: 10147224   Cincinnati, OH 45264
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                 Page 7 of 16
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                   Desc Main
                                                                 Document      Page 175 of 214
 Debtor 1 Tea Olive I, LLC                                                                    Case number (if known)   21-30037
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                  State the term remaining                6/30/2023

             List the contract number of any
                   government contract


 2.39.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: C51050-50, Type:
             the debtor's interest                        Sit Down Forklift - LP
                                                          unit, Serial #: 10021052
                  State the term remaining                11/30/2021
                                                                                      Crown Credit Company
             List the contract number of any                                          P.O. Box 640352
                   government contract                                                Cincinnati, OH 45264


 2.40.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: C51050-50, Type:
             the debtor's interest                        Sit Down Forklift - LP
                                                          unit, Serial #: 10023710
                  State the term remaining                10/30/2020
                                                                                      Crown Credit Company
             List the contract number of any                                          P.O. Box 640352
                   government contract                                                Cincinnati, OH 45264


 2.41.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: RM6025-45,
             the debtor's interest                        Type: Stand-up Reach
                                                          truck, Serial #: 1A421554
                  State the term remaining                5/31/2023
                                                                                      Crown Credit Company
             List the contract number of any                                          P.O. Box 640352
                   government contract                                                Cincinnati, OH 45264


 2.42.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: RR5715-35,
             the debtor's interest                        Type: Stand-up Reach
                                                          truck, Serial #: 1A375578
                  State the term remaining                6/30/2023
                                                                                      Crown Credit Company
             List the contract number of any                                          P.O. Box 640352
                   government contract                                                Cincinnati, OH 45264


 2.43.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: RR5725-35,
             the debtor's interest                        Type: Stand-up Reach
                                                          truck, Serial #: 1A448399
                  State the term remaining                5/31/2023
                                                                                      Crown Credit Company
             List the contract number of any                                          P.O. Box 640352
                   government contract                                                Cincinnati, OH 45264




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                  Page 8 of 16
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                   Desc Main
                                                                 Document      Page 176 of 214
 Debtor 1 Tea Olive I, LLC                                                                    Case number (if known)   21-30037
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.44.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: RR5725-45,
             the debtor's interest                        Type: Stand-up Reach
                                                          truck, Serial #: 1A372937
                  State the term remaining                12/31/2021
                                                                                      Crown Credit Company
             List the contract number of any                                          P.O. Box 640352
                   government contract                                                Cincinnati, OH 45264


 2.45.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: RR5725-45,
             the debtor's interest                        Type: Stand-up Reach
                                                          truck, Serial #: 1A376854
                  State the term remaining                7/31/2021
                                                                                      Crown Credit Company
             List the contract number of any                                          P.O. Box 640352
                   government contract                                                Cincinnati, OH 45264


 2.46.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: RR5725-45,
             the debtor's interest                        Type: Stand-up Reach
                                                          truck, Serial #: 1A399996
                  State the term remaining                5/31/2022
                                                                                      Crown Credit Company
             List the contract number of any                                          P.O. Box 640352
                   government contract                                                Cincinnati, OH 45264


 2.47.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: RR5725-45,
             the debtor's interest                        Type: Stand-up Reach
                                                          truck, Serial #: 1A428572
                  State the term remaining                6/30/2023
                                                                                      Crown Credit Company
             List the contract number of any                                          P.O. Box 640352
                   government contract                                                Cincinnati, OH 45264


 2.48.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: RR5725-45,
             the debtor's interest                        Type: Stand-up Reach
                                                          truck, Serial #: 1A353398
                  State the term remaining                1/31/2025
                                                                                      Crown Credit Company
             List the contract number of any                                          P.O. Box 640352
                   government contract                                                Cincinnati, OH 45264


 2.49.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: SX3000-30, Type:
             the debtor's interest                        Walkie stacker, Serial #:
                                                          5A551256
                  State the term remaining                2/28/2022                   Crown Credit Company
                                                                                      P.O. Box 640352
             List the contract number of any                                          Cincinnati, OH 45264
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                  Page 9 of 16
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                    Desc Main
                                                                 Document      Page 177 of 214
 Debtor 1 Tea Olive I, LLC                                                                     Case number (if known)   21-30037
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                    government contract


 2.50.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: WAV60-118,
             the debtor's interest                        Type: Work Assist
                                                          Vehicle (WAVE), Serial
                                                          #: 10041966
                  State the term remaining                5/30/2021
                                                                                       Crown Credit Company
             List the contract number of any                                           P.O. Box 640352
                   government contract                                                 Cincinnati, OH 45264


 2.51.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: WAV60-118,
             the debtor's interest                        Type: Work Assist
                                                          Vehicle (WAVE), Serial
                                                          #: 10035016
                  State the term remaining                7/31/2021
                                                                                       Crown Credit Company
             List the contract number of any                                           P.O. Box 640352
                   government contract                                                 Cincinnati, OH 45264


 2.52.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: WAV60-118,
             the debtor's interest                        Type: Work Assist
                                                          Vehicle (WAVE), Serial
                                                          #: 10034569
                  State the term remaining                2/28/2021
                                                                                       Crown Credit Company
             List the contract number of any                                           P.O. Box 640352
                   government contract                                                 Cincinnati, OH 45264


 2.53.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: WAV60-118,
             the debtor's interest                        Type: Work Assist
                                                          Vehicle (WAVE), Serial
                                                          #: 10151796
                  State the term remaining                6/30/2023
                                                                                       Crown Credit Company
             List the contract number of any                                           P.O. Box 640352
                   government contract                                                 Cincinnati, OH 45264


 2.54.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: WAV60-118,
             the debtor's interest                        Type: Work Assist
                                                          Vehicle (WAVE), Serial
                                                          #: 10034560
                  State the term remaining                2/28/2021
                                                                                       Crown Credit Company
             List the contract number of any                                           P.O. Box 640352
                   government contract                                                 Cincinnati, OH 45264

Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 10 of 16
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                    Desc Main
                                                                 Document      Page 178 of 214
 Debtor 1 Tea Olive I, LLC                                                                     Case number (if known)   21-30037
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease


 2.55.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: WAV60-118,
             the debtor's interest                        Type: Work Assist
                                                          Vehicle (WAVE), Serial
                                                          #: 10035013
                  State the term remaining                7/31/2021
                                                                                       Crown Credit Company
             List the contract number of any                                           P.O. Box 640352
                   government contract                                                 Cincinnati, OH 45264


 2.56.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: WAV60-118,
             the debtor's interest                        Type: Work Assist
                                                          Vehicle (WAVE), Serial
                                                          #: 10035012
                  State the term remaining                7/31/2021
                                                                                       Crown Credit Company
             List the contract number of any                                           P.O. Box 640352
                   government contract                                                 Cincinnati, OH 45264


 2.57.       State what the contract or                   Lease: Make: CRW,
             lease is for and the nature of               Model: WAV60-118,
             the debtor's interest                        Type: Work Assist
                                                          Vehicle (WAVE), Serial
                                                          #: 10147227
                  State the term remaining                6/30/2023
                                                                                       Crown Credit Company
             List the contract number of any                                           P.O. Box 640352
                   government contract                                                 Cincinnati, OH 45264


 2.58.       State what the contract or                   Findlay Store Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                6/30/2028
                                                                                       Findlay Mall Capital Holding
             List the contract number of any                                           1010 Northern Blvd
                   government contract                                                 Great Neck, NY 11021


 2.59.       State what the contract or                   Contract - Joint
             lease is for and the nature of               Marketing Agreement of
             the debtor's interest                        Co-Branded Credit Card

                  State the term remaining                11/22/2021
                                                                                       First National Bank of Omaha
             List the contract number of any                                           1620 Dodge Street
                   government contract                                                 Omaha, NE 68197




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 11 of 16
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                     Desc Main
                                                                 Document      Page 179 of 214
 Debtor 1 Tea Olive I, LLC                                                                      Case number (if known)   21-30037
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.60.       State what the contract or                   Fleet Equipment Trailer
             lease is for and the nature of               Leases
             the debtor's interest

                  State the term remaining
                                                                                        Fleet Equipment
             List the contract number of any                                            555 E. South Frontage Rd
                   government contract                                                  Bolingbrook, IL 60440


 2.61.       State what the contract or                   Burlington Store Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                4/30/2027
                                                                                        Fox River Plaza, LLC
             List the contract number of any                                            138 Buntrock Ave
                   government contract                                                  Thiensville, WI 53092


 2.62.       State what the contract or                   Getty Images Marketing
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                3/5/2021                      Getty Images
                                                                                        Western Union Telegraph Building
             List the contract number of any                                            195 Broadway
                   government contract                                                  New York, NY 10007


 2.63.       State what the contract or                   Benefits Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                12/31/2021
                                                                                        Guardian Life
             List the contract number of any                                            P.O. Box 677458
                   government contract                                                  Dallas, TX 75267


 2.64.       State what the contract or                   Benefits Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                12/31/2021
                                                                                        Health Care Service Corporation
             List the contract number of any                                            25551 Network Place
                   government contract                                                  Chicago, IL 60673


 2.65.       State what the contract or                   Marion Store Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                11/30/2023                    Home Depot USA, Inc
                                                                                        400 White Clay Center Dr
             List the contract number of any                                            Neward, DE 19711
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 12 of 16
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                     Desc Main
                                                                 Document      Page 180 of 214
 Debtor 1 Tea Olive I, LLC                                                                      Case number (if known)   21-30037
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

                    government contract


 2.66.       State what the contract or                   Benefits Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                12/31/2021
                                                                                        HSA Bank
             List the contract number of any                                            P.O. Box 939
                   government contract                                                  Sheboygan, WI 53082


 2.67.       State what the contract or                   Distribution Center -53
             lease is for and the nature of               Store Lease
             the debtor's interest

                  State the term remaining                8/16/2021
                                                                                        Illiana Realty, LLC
             List the contract number of any                                            Po Box 158
                   government contract                                                  Watseka, IL 60970


 2.68.       State what the contract or                   McHenry Store Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                8/16/2021
                                                                                        Illiana Realty, LLC
             List the contract number of any                                            Po Box 158
                   government contract                                                  Watseka, IL 60970


 2.69.       State what the contract or                   Distribution Center -51
             lease is for and the nature of               Store Lease
             the debtor's interest

                  State the term remaining                8/16/2021
                                                                                        Joda Crabtree
             List the contract number of any                                            Po Box 461
                   government contract                                                  Watseka, IL 60970


 2.70.       State what the contract or                   Portage Store Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                7/31/2024
                                                                                        Juniper I, LLC
             List the contract number of any                                            2600 Eagan Woods Dr
                   government contract                                                  Eagan, MN 55121


 2.71.       State what the contract or                   Lansing Store Lease
             lease is for and the nature of                                             Juniper II, LLC
             the debtor's interest                                                      2600 Eagan Woods Dr
                                                                                        Eagan, MN 55121
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 13 of 16
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                    Desc Main
                                                                 Document      Page 181 of 214
 Debtor 1 Tea Olive I, LLC                                                                     Case number (if known)   21-30037
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                  State the term remaining                8/31/2024

             List the contract number of any
                   government contract


 2.72.       State what the contract or                   Benefits Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                12/31/2021
                                                                                       Lincoln Financial Group
             List the contract number of any                                           Po Box 0821
                   government contract                                                 Carol Stream, IL 60132


 2.73.       State what the contract or                   Contract - Co-Branded
             lease is for and the nature of               Credit Card Provider
             the debtor's interest

                  State the term remaining                5/1/2021                     Mastercard International Incorporated
                                                                                       Attn: Craig Vosburg, President, North Am
             List the contract number of any                                           2000 Purchase Street
                   government contract                                                 Purchase, NY 10577


 2.74.       State what the contract or                   Streator Store Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                8/30/2027
                                                                                       Northpoint Development Holdings LLC
             List the contract number of any                                           20 Northpoint Dr
                   government contract                                                 Streator, IL 61364


 2.75.       State what the contract or                   Bronto Email Services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                4/4/2021
                                                                                       Oracle+Netsuite
             List the contract number of any                                           500 Oracel Parkway
                   government contract                                                 Redwood Shores, CA 94065


 2.76.       State what the contract or                   Contract - Payroll service
             lease is for and the nature of               provider
             the debtor's interest

                  State the term remaining                3/31/2021
                                                                                       People's ETC
             List the contract number of any                                           275 E. Court Street, Suite 201
                   government contract                                                 Kankakee, IL 60901




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 14 of 16
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                     Desc Main
                                                                 Document      Page 182 of 214
 Debtor 1 Tea Olive I, LLC                                                                      Case number (if known)   21-30037
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.77.       State what the contract or                   Distribution Center -52
             lease is for and the nature of               Store Lease
             the debtor's interest

                  State the term remaining                8/16/2021
                                                                                        Pink Dogwood
             List the contract number of any                                            2600 Eagan Woods Dr
                   government contract                                                  Eagan, MN 55121


 2.78.       State what the contract or                   Website Service Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                10/27/2023
                                                                                        Salesforce.com Inc
             List the contract number of any                                            415 Mission Street
                   government contract                                                  San Francisco, CA 94105


 2.79.       State what the contract or                   North Elkhart Store
             lease is for and the nature of               Lease
             the debtor's interest

                  State the term remaining                9/30/2027
                                                                                        Seritage SRC Finance LLC
             List the contract number of any                                            Po Box 776148
                   government contract                                                  Chicago, IL 60677


 2.80.       State what the contract or                   Store Capital Master
             lease is for and the nature of               Lease #1
             the debtor's interest

                  State the term remaining                8/16/2033
                                                                                        Store Capital
             List the contract number of any                                            8377 E. Hartford Dr.
                   government contract                                                  Scottsdale, AZ 85255


 2.81.       State what the contract or                   Store Capital Master
             lease is for and the nature of               Lease #2
             the debtor's interest

                  State the term remaining                8/16/2033
                                                                                        Store Capital
             List the contract number of any                                            8378 E. Hartford Dr.
                   government contract                                                  Scottsdale, AZ 85255


 2.82.       State what the contract or                   Store Capital Master
             lease is for and the nature of               Lease #3
             the debtor's interest

                  State the term remaining                8/16/2033                     Store Capital
                                                                                        8379 E. Hartford Dr.
             List the contract number of any                                            Scottsdale, AZ 85255
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 15 of 16
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                  Desc Main
                                                                 Document      Page 183 of 214
 Debtor 1 Tea Olive I, LLC                                                                   Case number (if known)   21-30037
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.83.       State what the contract or                   Benefits Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                12/31/2021
                                                                                     Vsp Service Plan
             List the contract number of any                                         P.O. Box 742135
                   government contract                                               Los Angeles, CA 90074




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                 Page 16 of 16
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                   Desc Main
                                                                 Document      Page 184 of 214
 Fill in this information to identify the case:

 Debtor name         Tea Olive I, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MINNESOTA

 Case number (if known)         21-30037
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Juniper I, LLC                    2600 Eagan Woods Drive, Suite 120                                                    D
                                               Eagan, MN 55121                                                                      E/F
                                                                                                                                    G




    2.2      Juniper II, LLC                   2600 Eagan Woods Drive, Suite 120                                                    D
                                               Eagan, MN 55121                                                                      E/F
                                                                                                                                    G




    2.3      Juniper, LLC                      2600 Eagan Woods Drive, Suite 120                                                    D
                                               Eagan, MN 55121                                                                      E/F
                                                                                                                                    G




    2.4      Pink Dogwood I,                   2600 Eagan Woods Drive, Suite 120                                                    D
             LLC                               Eagan, MN 55121                                                                      E/F
                                                                                                                                    G




    2.5      Pink Dogwood,                     2600 Eagan Woods Drive, Suite 120                                                    D
             LLC                               Eagan, MN 55121                                                                      E/F
                                                                                                                                    G




Official Form 206H                                                          Schedule H: Your Codebtors                                        Page 1 of 2
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35               Desc Main
                                                                 Document      Page 185 of 214
 Debtor       Tea Olive I, LLC                                                            Case number (if known)   21-30037


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.6      Tea Olive, LLC                    2600 Eagan Woods Drive, Suite 120                                              D
                                               Eagan, MN 55121                                                                E/F
                                                                                                                              G




Official Form 206H                                                         Schedule H: Your Codebtors                                   Page 2 of 2
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                               Desc Main
                                                                 Document      Page 186 of 214



 Fill in this information to identify the case:

 Debtor name         Tea Olive I, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MINNESOTA

 Case number (if known)         21-30037
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                             $3,811,031.90
       From 1/01/2021 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                          $137,727,245.46
       From 1/01/2020 to 12/31/2020
                                                                                                   Other


       For year before that:                                                                       Operating a business                          $183,221,035.23
       From 1/01/2019 to 12/31/2019
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                               Desc Main
                                                                 Document      Page 187 of 214
 Debtor       Tea Olive I, LLC                                                                          Case number (if known) 21-30037



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               See Attached Exhibit A                                                                              $0.00         Secured debt
                                                                                                                                 Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.1.    Matthew F. Whebbe                                           1/1/2020 -                      $211,538.36         Gross Salary
               2600 Eagan Woods Drive, Suite 120                           1/9/2021
               Eagan, MN 55121
               CEO/Owner

       4.2.    Matthew F. Whebbe                                           1/1/2020 -                       $10,991.50         Employer Paid Benefits
               2600 Eagan Woods Drive, Suite 120                           1/9/2021
               Eagan, MN 55121
               CEO/Owner

       4.3.    Matthew F. Whebbe                                           6/5/2020                        $100,601.15         Rent
               2600 Eagan Woods Drive, Suite 120
               Eagan, MN 55121
               Owner

       4.4.    Firethorn Capital                                           6/10/2020 &                     $230,435.14         Rent & Expense Reimbursement
               2600 Eagan Woods Drive, Suite 120                           9/9/2020
               Eagan, MN 55121
               Owner

       4.5.    Juniper I, LLC                                              6/30/2020,                      $145,244.10         Rent
               2600 Eagan Woods Drive, Suite 120                           8/7/2020,
               Eagan, MN 55121                                             9/1/2020,
               Owner                                                       10/5/2020,
                                                                           11/2/2020,
                                                                           11/30/2020

                                                                           ($24,207.35
                                                                           per month)

       4.6.    Juniper II, LLC                                             6/30/2020,                      $240,544.50         Rent
               2600 Eagan Woods Drive, Suite 120                           8/7/2020,
               Eagan, MN 55121                                             9/1/2020,
               Owner                                                       10/5/2020,
                                                                           11/2/2020,
                                                                           11/30/2020

                                                                           ($40,090.75
                                                                           per month)




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 2
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                  Desc Main
                                                                 Document      Page 188 of 214
 Debtor       Tea Olive I, LLC                                                                          Case number (if known) 21-30037



       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.7.    Pink Dogwood I                                              6/30/2020,                      $163,876.00           Rent
               2600 Eagan Woods Drive, Suite 120                           8/7/2020,
               Eagan, MN 55121                                             9/1/2020,
               Owner                                                       10/5/2020,
                                                                           11/2/2020,
                                                                           11/30/2020

                                                                           ($31,313.00
                                                                           per month)

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    Sexstone Enterprises, Inc dba                    Civil                      Superior Court of                             Pending
               Tri-State Trading v. Tea Olive I,                                           Mecklenburg County                            On appeal
               LLC dba Stock+Field                                                         882 East Fourth St.
                                                                                                                                         Concluded
               21-CVS-678                                                                  Charlotte, NC 28202

       7.2.    All-Star Sports & More, LLC v.                   Money Judgement            Dane County, WI Circuit                       Pending
               Tea Olive I, LLC dba                                                        Court                                         On appeal
               Stock+Field                                                                 Dane County Courthouse
                                                                                                                                         Concluded
               2020CV002277                                                                Room 1000
                                                                                           215 S Hamilton St.
                                                                                           Madison, WI 53703

       7.3.    CITGO Petroleum Corporation                      Civil                      District Court of Harris                      Pending
               v. Tea Olive I, LLC dba                                                     County, Texas                                 On appeal
               Stock+Field                                                                 201 Caroline, Suite 420
                                                                                                                                         Concluded
               2020-79499                                                                  Houston, TX 77002

       7.4.    Michigan West Shore Nursery,                     Civil                      Circuit Court of Cook County,                 Pending
               Inc. v. Tea Olive I, LLC dba                                                Illinois                                      On appeal
               Stock+Field                                                                 50 West Washington Street,
                                                                                                                                         Concluded
               20201124951                                                                 Suite 1303
                                                                                           Chicago, IL 60602

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 3
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                           Desc Main
                                                                 Document      Page 189 of 214
 Debtor       Tea Olive I, LLC                                                                          Case number (if known) 21-30037



               Case title                                       Nature of case             Court or agency's name and          Status of case
               Case number                                                                 address
       7.5.    FeraDyne Outdoors, LLC v. Tea                                               Dakota County District Court            Pending
               Olive I, LLC dba Stock+field                                                14955 Galaxie Avenue West               On appeal
               Not Yet Filed                                                               Apple Valley, MN 55124
                                                                                                                                   Concluded

       7.6.    Normark Corporation dba                          Civil                      Circuit Court of Cook County,           Pending
               Rapala USA v. Tea Olive I, LLC                                              Illinois                                On appeal
               dba Stock+Field                                                             50 West Washington Street,
                                                                                                                                   Concluded
               11050139                                                                    Suite 1303
                                                                                           Chicago, IL 60602

       7.7.    Parkhill Family Enterprises, LLC                 Civil                      Circuit Court of the 21st               Pending
               dba My Favorite Chicken v. Tea                                              Judicial Circuit Iroquis County         On appeal
               Olive I, LLC dba Stock+Field                                                550 S 10th Street
                                                                                                                                   Concluded
               2020LM63                                                                    Watseka, IL 60970

       7.8.    Allied Big R Stores, LLC et al v.                Civil                      Illinois Central District Court         Pending
               Tea Olive I, LLC et al                                                      151 U.S. Courthouse 600 E.              On appeal
               20-L-00080                                                                  Monroe Street
                                                                                                                                   Concluded
                                                                                           Springfield, IL 62701

       7.9.    FKS Enterprises, Inc., Farm                      Civil                      Hennepin County District                Pending
               King Supply, LLC, Azelia                                                    Court                                   On appeal
               Company, LLC, Rick A. Severs,                                               6125 Shingle Creek Crossing
                                                                                                                                   Concluded
               and Bradley D. Severs                                                       #200
               vs                                                                          Brooklyn Center, MN 55430
               Matthew Whebbe, Flowering
               Crab Apple, LLC, Magnolia I,
               LLC, Pampas I, LLC, Tea Olive
               I, LLC d/b/a Big R Stores
               27-CV-19-13794

       7.10 ADK Properties, LLC vs. Tea                         Civil                      Porter County Circuit &                 Pending
       .    Olive I, LLC                                                                   Superior Court                          On appeal
               64D02-2010-PL-008432                                                        16 Lincolnway, #209
                                                                                                                                   Concluded
                                                                                           Valparaiso, IN 46383

       7.11 Meeco Mfg. CO. Inc, vs Tea                          Civil                      N/A                                     Pending
       .    Olive I, LLC dba Stock+Field fka                                                                                       On appeal
               BigR Stores
                                                                                                                                   Concluded
               Not Yet Filed

       7.12 Pro-4 Marketing LLC vs Tea                          Civil                      Circuit Court of Cook County,           Pending
       .    Olive I, LLC dba Stock+Field                                                   Illinois                                On appeal
               20211100423                                                                 50 West Washington Street,
                                                                                                                                   Concluded
                                                                                           Suite 1303
                                                                                           Chicago, IL 60602

       7.13 Opperman Construction Co. vs.                       Civil                      Circuit Court of 11th Judicial          Pending
       .    Tea Olive I, LLC dba                                                           Circuit                                 On appeal
               Stock+Field Stores                                                          110 North Main Street
                                                                                                                                   Concluded
               21-SC-6                                                                     Pontiac, IL 61764


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 4
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               Case 21-30037                   Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                Desc Main
                                                                 Document      Page 190 of 214
 Debtor        Tea Olive I, LLC                                                                            Case number (if known) 21-30037



 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

                Recipient's name and address                    Description of the gifts or contributions                Dates given                       Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                 Dates of loss        Value of property
       how the loss occurred                                                                                                                               lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates           Total amount or
                 the transfer?                                                                                                                          value
                 Address
       11.1.     Clear Thinking Group LLC
                 401 Towne Centre Drive                                                                                        10/31/2020 -
                 Hillsborough, NJ 08844                                                                                        01/07/2021         $390,029.00

                 Email or website address
                 www.clearthinkinggroup.com

                 Who made the payment, if not debtor?




       11.2.     Fredrikson & Byron PA
                 200 South 6th Street
                 Suite 4000                                                                                                    12/18/2020 -
                 Minneapolis, MN 55402                                                                                         01/08/2021         $248,869.00

                 Email or website address
                 www.fredlaw.com

                 Who made the payment, if not debtor?




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 5
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               Case 21-30037                   Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                  Desc Main
                                                                 Document      Page 191 of 214
 Debtor        Tea Olive I, LLC                                                                          Case number (if known) 21-30037



                 Who was paid or who received                        If not money, describe any property transferred           Dates             Total amount or
                 the transfer?                                                                                                                            value
                 Address
       11.3.     Donlin Recano & Company, Inc.
                 6201 15th Avenue
                 Brooklyn, NY 11219                                                                                            1/7/2021              $50,000.00

                 Email or website address
                 www.donlinrecano.com

                 Who made the payment, if not debtor?




       11.4.     Steeplechase Advisors LLC
                 601 Carlson Parkway
                 Suite 1050                                                                                                    10/01/2020 -
                 Hopkins, MN 55305                                                                                             01/08/2021          $208,617.68

                 Email or website address
                 www.steeplechasemn.com

                 Who made the payment, if not debtor?




       11.5.     Tiger Group
                 99 Park Avenue #1930
                 New York, NY 10016                                                                                            12/23/2020          $175,000.00

                 Email or website address
                 www.tigergroup.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

       Name of trust or device                                       Describe any property transferred                Dates transfers            Total amount or
                                                                                                                      were made                           value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

                Who received transfer?                          Description of property transferred or                   Date transfer           Total amount or
                Address                                         payments received or debts paid in exchange              was made                         value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 6
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               Case 21-30037                   Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                               Desc Main
                                                                 Document      Page 192 of 214
 Debtor        Tea Olive I, LLC                                                                         Case number (if known) 21-30037



                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                      Nature of the business operation, including type of services           If debtor provides meals
                                                                the debtor provides                                                    and housing, number of
                                                                                                                                       patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

                  1. Company Email List: Names, Email Addresses, Phone number and
                  2. AG Plus Program: Names, Addresses, Phone Number, Email
                  (no privacy policy for AG Plus Program)
                  Does the debtor have a privacy policy about that information?
                    No
                      Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                       Yes. Fill in below:

 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or          Date account was              Last balance
               Address                                          account number            instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred
       18.1.     Bank of Pontiac                                XXXX-5312                    Checking                 12/4/2019                              $0.00
                 P.O. Box 710                                                                Savings
                 Pontiac, IL 61764-0710
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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               Case 21-30037                   Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                               Desc Main
                                                                 Document      Page 193 of 214
 Debtor        Tea Olive I, LLC                                                                         Case number (if known) 21-30037



                 Financial Institution name and                 Last 4 digits of          Type of account or          Date account was           Last balance
                 Address                                        account number            instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.2.     Central Bank                                   XXXX-6473                    Checking                 12/4/2019                           $0.00
                 340 May Mart Drive                                                          Savings
                 Rochelle, IL 61068
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.3.     JP Morgan Chase Bank                           XXXX-3379                    Checking                 12/4/2019                           $0.00
                 P.O. Box 182051                                                             Savings
                 Columbus, OH 43218-2051
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.4.     Fifth Third Bank                               XXXX-6192                    Checking                 12/4/2019                           $0.00
                 P.O. Box 630900                                                             Savings
                 Cincinnati, OH 45263
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.5.     First Farmers Bank & Trust                     XXXX-5324                    Checking                 12/4/2019                           $0.00
                 123 N. Jefferson                                                            Savings
                 Converse, IN 46919
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.6.     First Midwest Bank                             XXXX-6088                    Checking                 12/4/2019                           $0.00
                 220 West Main Street                                                        Savings
                 Morris, IL 60450
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.7.     Heartland Bank                                 XXXX-7555                    Checking                 12/4/2019                           $0.00
                 130 N Church Street                                                         Savings
                 Gibson City, IL 60936
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.8.     Hoosier Heartland State Bank                   XXXX-6223                    Checking                 12/4/2019                           $0.00
                 1661 US-231                                                                 Savings
                 Crawfordsville, IN 47933
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.9.     Lake City Bank                                 XXXX-7480                    Checking                 12/4/2019                           $0.00
                 P.O. Box 1387                                                               Savings
                 Warsaw, IN 46581
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 8
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                               Desc Main
                                                                 Document      Page 194 of 214
 Debtor      Tea Olive I, LLC                                                                           Case number (if known) 21-30037



                Financial Institution name and                  Last 4 digits of          Type of account or          Date account was           Last balance
                Address                                         account number            instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.10 Midland States Bank                                XXXX-6755                    Checking                 12/4/2019                            $0.00
       .     201 E Main Street                                                               Savings
                Streator, IL 61364
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.11 Old National Bank                                  XXXX-2705                    Checking                 12/4/2019                            $0.00
       .     P.O. Box 718                                                                    Savings
                Evansville, IN 47705
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.12 Star Financial Bank                                XXXX-9557                    Checking                 12/4/2019                            $0.00
       .     2948 S. Western Avenue                                                          Savings
                Marion, IN 46953
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.13 Greenwood State                                    XXXX-1307                    Checking                 12/4/2019                            $0.00
       .     Bank/formerly Fox River                                                         Savings
                500 Interchange N
                                                                                             Money Market
                Lake Geneva, WI 53147
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 9
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                                   Desc Main
                                                                 Document      Page 195 of 214
 Debtor      Tea Olive I, LLC                                                                           Case number (if known) 21-30037



      Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
      medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Worldwide Distributors                           Buying Group                                     EIN:         XX-XXXXXXX
             P.O. BOX 88607
             Seattle, WA 98138                                                                                 From-To      2/25/2019 - Current


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Randall Johnson                                                                                                            8/19/2018 - 4/30/2020
                    200 N. Ernest Grove Parkway
                    Watseka, IL 60970
       26a.2.       Amy McGill                                                                                                                 8/19/2018 -
                    200 N. Ernest Grove Parkway                                                                                                12/29/2019
                    Watseka, IL 60970

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 10
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                            Desc Main
                                                                 Document      Page 196 of 214
 Debtor      Tea Olive I, LLC                                                                           Case number (if known) 21-30037



       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26a.3.       M'Lissa Howe                                                                                                          8/19/2018 - 6/12/2020
                    200 N. Ernest Grove Parkway
                    Watseka, IL 60970
       26a.4.       Brenna Swartz                                                                                                         10/8/2018 - 3/11/2020
                    200 N. Ernest Grove Parkway
                    Watseka, IL 60970
       26a.5.       Jonathan Peters                                                                                                       10/23/2018 -
                    200 N. Ernest Grove Parkway                                                                                           11/14/2018
                    Watseka, IL 60970
       26a.6.       Jason Pass                                                                                                            3/4/2019 - 2/7/2020
                    2600 Eagan Woods Drive, Suite 120
                    Eagan, MN 55121
       26a.7.       Thomas Murphy                                                                                                         6/8/2020 - 7/10/2020
                    2600 Eagan Woods Drive, Suite 120
                    Eagan, MN 55121
       26a.8.       James Beard                                                                                                           6/15/2020 - Present
                    2600 Eagan Woods Drive, Suite 120
                    Eagan, MN 55121
       26a.9.       Samantha Lee                                                                                                          6/15/2020 - Present
                    2600 Eagan Woods Drive, Suite 120
                    Eagan, MN 55121
       26a.10.      Steven Ferm                                                                                                           6/15/2020 - 8/4/2020
                    2600 Eagan Woods Drive, Suite 120
                    Eagan, MN 55121
       26a.11.      Jennifer DeMars                                                                                                       11/2/2020 - Present
                    2600 Eagan Woods Drive, Suite 120
                    Eagan, MN 55121

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.1.       Copeland Buhl and Company, PLLP                                                                                       6/1/2018 - Present
                    800 Wayzata Blvd E, Suite 300
                    Wayzata, MN 55391

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       James Beard
                    2600 Eagan Woods Drive, Suite 120
                    Eagan, MN 55121
       26c.2.       Samantha Lee
                    2600 Eagan Woods Drive, Suite 120
                    Eagan, MN 55121



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 11
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                             Desc Main
                                                                 Document      Page 197 of 214
 Debtor      Tea Olive I, LLC                                                                           Case number (if known) 21-30037



       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.3.       Jennifer DeMars
                    2600 Eagan Woods Drive, Suite 120
                    Eagan, MN 55121

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       See Attached - Exhibit B



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory
       27.1 Ken Frey                                                                        12/16/2019 -
       .                                                                                    01/17/2020               $66,673,360.00 - Average Cost

                Name and address of the person who has possession of
                inventory records
                Tea Olive I, LLC, held at each store
                2600 Eagan Woods Drive, Suite 120
                Eagan, MN 55121


       27.2 Ken Frey - COO                                                                  01/04/2019 -
       .                                                                                    2/23/2019                $62,993,454.00 - Average Cost

                Name and address of the person who has possession of
                inventory records
                Tea Olive I, LLC, held at each store
                2600 Eagan Woods Drive, Suite 120
                Eagan, MN 55121


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Matthew F. Whebbe                              2600 Eagan Woods Drive, Suite 120                   CEO                                   99.0%
                                                      Eagan, MN 55121

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Michael Wesley                                 401 Towne Centre Drive                              CRO                                   0.0%
                                                      Hillsborough, NJ 08844



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 12
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                             Desc Main
                                                                 Document      Page 198 of 214
 Debtor      Tea Olive I, LLC                                                                           Case number (if known) 21-30037




            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value
       30.1 Matthew F. Whebbe
       .    2600 Eagan Woods Drive
               Suite 120                                                                                                 1/1/2020 -
               Eagan, MN 55121                                  $211,538.36                                              1/9/2021          Gross Salary

               Relationship to debtor
               CEO/Owner


       30.2 Matthew F. Whebbe
       .    2600 Eagan Woods Drive
               Suite 120                                                                                                 1/1/2020 -        Employer Paid
               Eagan, MN 55121                                  $10,991.50                                               1/9/2021          Benefits

               Relationship to debtor
               CEO/Owner


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 13
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35                           Desc Main
                                                                 Document      Page 199 of 214
 Debtor      Tea Olive I, LLC                                                                           Case number (if known) 21-30037




 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         February 8, 2021

 /s/ Matthew F. Whebbe                                                  Matthew F. Whebbe
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Chairman and Chief Executive Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 14
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                                       Case 21-30037                Doc 128           Filed 02/08/21 Entered 02/08/21 16:11:35
                                                                                                            Tea Olive I, LLC
                                                                                                                                                                                      Desc Main
                                                                                     Document      Page 200 of 214
                                                                             Certain payments or transfers to creditors within 90 days before filing this case



Form 207 - Statement of Financial Affairs # 3 - EXHIBIT A

                                                                                                                                                                                         Payment                     Reason for Payment or
               Creditor's Name                               Address 1                              Address 2                             City                State   ZIP   Country        Date    Payment Amount          Transfer
ADP 401K                                       PO BOX 842875                                                                  BOSTON                         MA     02284   USA       10/13/20             $145.38        BENEFITS
ADP 401K                                       PO BOX 842875                                                                  BOSTON                         MA     02284   USA       10/15/20          $19,826.18        BENEFITS
GUARDIAN                                       P.O. BOX 677458                                                                DALLAS                         TX     75267   USA       10/16/20           $9,866.81        BENEFITS
ADP 401K                                       PO BOX 842875                                                                  BOSTON                         MA     02284   USA       10/20/20              $60.04        BENEFITS
ADP 401K                                       PO BOX 842875                                                                  BOSTON                         MA     02284   USA       10/28/20             $120.08        BENEFITS
ADP 401K                                       PO BOX 842875                                                                  BOSTON                         MA     02284   USA       10/29/20          $13,767.70        BENEFITS
ADP, INC.                                      PO BOX 842875                                                                  BOSTON                         MA     02284   USA       10/30/20             $877.33        BENEFITS
GUARDIAN                                       P.O. BOX 677458                                                                DALLAS                         TX     75267   USA       10/30/20           $9,200.79        BENEFITS
ADP 401K                                       PO BOX 842875                                                                  BOSTON                         MA     02284   USA       11/12/20          $19,169.01        BENEFITS
ADP 401K                                       PO BOX 842875                                                                  BOSTON                         MA     02284   USA       11/25/20          $20,472.44        BENEFITS
ADP 401K                                       PO BOX 842875                                                                  BOSTON                         MA     02284   USA       12/10/20          $22,672.54        BENEFITS
ADP, INC.                                      PO BOX 842875                                                                  BOSTON                         MA     02284   USA       12/15/20             $895.34        BENEFITS
HEALTH CARE SERVICE CORPORATION                25551 NETWORK PLACE                                                            CHICAGO                        IL     60673   USA       12/18/20         $156,069.24        BENEFITS
ADP 401K                                       PO BOX 842875                                                                  BOSTON                         MA     02284   USA       12/24/20          $22,263.13        BENEFITS
ADP 401K                                       PO BOX 842875                                                                  BOSTON                         MA     02284   USA       1/4/21            $14,071.03        BENEFITS
ADP, INC.                                      PO BOX 842875                                                                  BOSTON                         MA     02284   USA       1/7/21               $901.35        BENEFITS
LINCOLN FINANCIAL GROUP                        PO BOX 0821                                                                    CAROL STREAM                   IL     60132   USA       10/16/20          $49,040.28        BENEFITS
CHUBB                                          P.O. BOX 382001                                                                PITTSBURGH                     PA     15250   USA       10/16/20          $13,570.00       INSURANCE
LIBERTY MUTUAL INSURANCE                       PO BOX 91012                                                                   CHICAGO                        IL     60680   USA       10/16/20         $198,910.26       INSURANCE
FIRST INSURANCE FUNDING                        450 SKOKIE BLVD, SUITE 1000                                                    NORTHBROOK                     IL     60062   USA       10/23/20          $43,104.66       INSURANCE
CHUBB                                          P.O. BOX 382001                                                                PITTSBURGH                     PA     15250   USA       11/17/20          $13,581.95       INSURANCE
CSU PRODUCER RESOURCES INC                     PO BOX 145416                                                                  CINCINNATI                     OH     45250   USA       11/17/20          $22,158.25       INSURANCE
FIRST INSURANCE FUNDING                        450 SKOKIE BLVD, SUITE 1000                                                    NORTHBROOK                     IL     60062   USA       11/18/20          $43,104.66       INSURANCE
LIBERTY MUTUAL INSURANCE                       PO BOX 91012                                                                   CHICAGO                        IL     60680   USA       12/18/20         $204,371.57       INSURANCE
FIRST INSURANCE FUNDING                        450 SKOKIE BLVD, SUITE 1000                                                    NORTHBROOK                     IL     60062   USA       12/21/20          $43,104.66       INSURANCE
SUPERVALU                                      2611 NORTH LINCOLN AVENUE                                                      URBANA                         IL     61802   USA       10/12/20         $113,692.93         OTHER
WORLDWIDE DISTRIBUTORS                         P.O. BOX 88607                                                                 SEATTLE                        WA     98138   USA       10/13/20          $30,330.51         OTHER
HICKSGAS                                       1620 E WALNUT                                                                  WATSEKA                        IL     60970   USA       10/14/20             $211.32         OTHER
HICKSGAS                                       1620 E WALNUT                                                                  WATSEKA                        IL     60970   USA       10/14/20           $9,407.18         OTHER
ABSORBENT PRODUCTS                             724 SARCEE ST EAST                                                             KAMLOOPS                       BC V2H 1E7     CAN       10/16/20           $3,461.80         OTHER
AMERICAN BOTTLING COMPANY/ 7-UP                21431 NETWORK PLACE                                                            CHICAGO                        IL     60673   USA       10/16/20             $944.95         OTHER
C & L TRUCKING & MAINTENANCE                   300 N VETERANS PARKWAY                                                         WATSEKA                        IL     60970   USA       10/16/20          $29,298.98         OTHER
CARLA LLOYD                                    1211 STONE RIDGE TERRACE                                                       ROCHELLE                       IL     61068   USA       10/16/20             $289.47         OTHER
CHAMPAIGN-DANVILLE OVERHEAD                        DOORS, INC.                          BOX 27                                OGDEN                          IL     61859   USA       10/16/20             $252.94         OTHER
CHS SUNFLOWER                                  220 CLEMENT AVE                                                                GRANDIN                        ND     58038   USA       10/16/20          $19,868.75         OTHER
CLEAR THINKING GROUP LLC                       401 TOWNE CENTRE DR                                                            HILLSBOROUGH                   NJ     08844   USA       10/16/20           $3,700.00         OTHER
COCA COLA BOTTLING CO.                         P.O. BOX 602937                                                                CHARLOTTE                      NC     28260   USA       10/16/20           $3,062.93         OTHER
COCA-COLA BOTTLING - PLYMOUTH                  1701 PIDCO DRIVE                                                               PLYMOUTH                       IN     46563   USA       10/16/20             $295.00         OTHER
COMPASS MINERALS AMERICA                       9900 WEST 109TH STREET                   SUITE 600                             OVERLAND PARK                  KS     66210   USA       10/16/20          $52,309.59         OTHER
CONFIDENTIAL ON-SITE PAPER                     SHREDDING                                422 S. WHITE OAK ROAD                 NORMAL                         IL     61761   USA       10/16/20             $236.49         OTHER
CURT MANUFACTURING                             6208 INDUSTRIAL DRIVE                                                          EAU CLAIRE                     WI     54701   USA       10/16/20          $56,751.93         OTHER
DAN & JERRY'S GREENHOUSES                      2121 90TH ST NE                                                                MONTICELLO                     MN     55362   USA       10/16/20          $25,210.26         OTHER
EASY HEAT WOOD PELLETS                         15 SPRAQUE ROAD                                                                SOUTH CHARLESTON               OH     45368   USA       10/16/20          $16,213.12         OTHER
ECHO GLOBAL LOGISTICS INC.                     ACCOUNTS RECEIVABLE                      22168 NETWORK PLACE                   CHICAGO                        IL     60673   USA       10/16/20          $22,104.00         OTHER
EILLIEN'S CANDIES, INC.                        PO BOX 28017                                                                   GREEN BAY                      WI     54324   USA       10/16/20         $117,125.88         OTHER
HILL'S PET NUTRITION                           P.O. BOX 148                                                                   TOPEKA                         KS     66601   USA       10/16/20          $13,891.00         OTHER
HOBART RETAIL SALES                            600 WEST MAIN STREET                                                           TROY                           OH     45373   USA       10/16/20          $13,458.80         OTHER
ICC BUSINESS PRODUCTS                          PO BOX 26058                                                                   INDIANAPOLIS                   IN     46226   USA       10/16/20           $4,257.58         OTHER
ILLINOIS DEPT. OF AGRICULTURE                  PO BOX 19281                                                                   SPRINGFIELD                    IL     62794   USA       10/16/20             $600.00         OTHER
ILLINOIS STATE POLICE                          FTIP - PAYMENT PROGRAM                   PO BOX 19210                          SPRINGFIELD                    IL     62794   USA       10/16/20           $1,010.00         OTHER
INDERA MILLS COMPANY                           19 FIVE POINTS ROAD                                                            MERTZTOWN                      PA     19539   USA       10/16/20          $47,949.94         OTHER
J & C PET SUPPLY                               1095A TOWBIN AVE                                                               LAKEWOOD                       NJ     08701   USA       10/16/20           $9,921.75         OTHER
JUDY DUWALDT                                                                                                                  PEKIN                               0     0   USA       10/16/20             $258.78         OTHER
KONTOOR BRANDS--WRANGLER                       2050 N. STEMMONS FREEWAY                 ROOM 7004, UNIT 162                   DALLAS                         TX     75207   USA       10/16/20          $22,463.94         OTHER
LANDMANN USA, INC.                             7405 GRAHAM ROAD                                                               FAIRBURN,                      GA     30213   USA       10/16/20          $11,699.25         OTHER
LOCOMOTIVE SOLUTIONS LLC                       2663 GRANDBURY GROVE ROAD                                                      LAKELAND                       FL     33811   USA       10/16/20           $3,595.74         OTHER
MAG INSTRUMENT                                 2001 SOUTH HELLMAN AVE                                                         ONTARIO                        CA     91761   USA       10/16/20          $19,639.14         OTHER
MASONTOPS INC                                  RPO SHEPPARD PLAZA                       SUITE 524                             ONTARIO                        ON M3H6A7      CAN       10/16/20          $18,462.05         OTHER
MIDWEST FASTENER                               9031 SHAVER ROAD                                                               KALAMAZOO                      MI     49024   USA       10/16/20          $89,207.52         OTHER
PETEDGE DEALER SERVICES                        P.O. BOX 1000                                                                  BEVERLY                        MA     01915   USA       10/16/20          $11,304.38         OTHER
PETTY CASH - BURLINGTON STORE #2               1058 MILWAUKEE AVE                                                             BURLINGTON                     WI     53105   USA       10/16/20             $250.41         OTHER
PEZ CANDY INC                                  35 PRINDLE HILL ROAD                                                           ORANGE                         CT     06477   USA       10/16/20           $5,104.80         OTHER




                                                                                                               Page 1 of 10
                                       Case 21-30037              Doc 128          Filed 02/08/21 Entered 02/08/21 16:11:35
                                                                                                         Tea Olive I, LLC
                                                                                                                                                                                   Desc Main
                                                                                  Document      Page 201 of 214
                                                                          Certain payments or transfers to creditors within 90 days before filing this case



Form 207 - Statement of Financial Affairs # 3 - EXHIBIT A

                                                                                                                                                                                     Payment                     Reason for Payment or
             Creditor's Name                                   Address 1                       Address 2                               City                State   ZIP   Country       Date    Payment Amount          Transfer
PIVOTAL PARTNERS                               16040 POWERS FERRY ROAD               BLDG 5, SUITE 300                     MARIETTA                       GA     30067   USA       10/16/20          $7,825.50         OTHER
PR TRADING COMPANY, INC.                       PR SUNGLASSES                         7596 HARWIN DRIVE                     HOUSTON                        TX     77036   USA       10/16/20          $1,731.49         OTHER
PRESTIGE PATIO CO, LTD                         42 WEST 38TH ST                       RM 802                                NEW YORK                       NY     10018   USA       10/16/20         $19,810.09         OTHER
QUINCY AIR MASTER                              701 North Dobson Ave                                                        BAY MINETTE                    AL     36507   USA       10/16/20         $48,319.00         OTHER
ROBERT HALF MANAGEMENT RESOURCES               PO BOX 743295                                                               LOS ANGELES                    CA     90074   USA       10/16/20         $33,995.56         OTHER
SCHOMMER CONSTRUCTION LLC                      W6313 MILITARY RD                                                           PORTAGE                        WI     53901   USA       10/16/20         $16,040.00         OTHER
SPRINGFIELD ARMORY                             420 WEST MAIN STREET                                                        GENESEO                        IL     61254   USA       10/16/20         $97,630.00         OTHER
STRATEGIC DISTRIBUTION/CAREISMAT               C/O PAUL HABER                        15221VIBURNUM RD                      FRISCO                         TX     75035   USA       10/16/20         $57,343.88         OTHER
THE AMERICAN BOTTLING COMPANY                  21431 NETWORK PLACE                                                         CHICAGO                        IL     60673   USA       10/16/20            $419.50         OTHER
VIRTUAL GRAFFITI INC.                          9979 MUIRLANDS BLVD.                                                        IRVINE                         CA     92618   USA       10/16/20         $11,179.21         OTHER
WELLS LAMONT                                   6640 WEST TOUHY AVENUE                                                      NILES                          IL     60714   USA       10/16/20         $67,853.44         OTHER
YARDMAX                                        534 CONGRESS CIRCLE NORTH0                                                  ROSELLE                        IL     60172   USA       10/16/20         $50,089.15         OTHER
FORNEY INDUSTRIES, INC                         P.O. BOX 563                                                                FORT COLLINS                   CO     80522   USA       10/19/20         $28,390.50         OTHER
SUPERVALU                                      2611 NORTH LINCOLN AVENUE                                                   URBANA                         IL     61802   USA       10/19/20        $250,139.84         OTHER
BRYAN EQUIPMENT SALES, INC                     6300 Smith Road                                                             LOVELAND                       OH     45140   USA       10/20/20        $178,892.15         OTHER
HICKSGAS                                       1620 E WALNUT                                                               WATSEKA                        IL     60970   USA       10/20/20            $408.97         OTHER
HICKSGAS                                       1620 E WALNUT                                                               WATSEKA                        IL     60970   USA       10/20/20          $5,521.62         OTHER
HICKSGAS                                       1620 E WALNUT                                                               WATSEKA                        IL     60970   USA       10/20/20            $800.45         OTHER
HICKSGAS                                       1620 E WALNUT                                                               WATSEKA                        IL     60970   USA       10/20/20          $3,490.79         OTHER
HICKSGAS                                       1620 E WALNUT                                                               WATSEKA                        IL     60970   USA       10/20/20          $2,143.56         OTHER
HICKSGAS                                       1620 E WALNUT                                                               WATSEKA                        IL     60970   USA       10/20/20          $3,036.27         OTHER
HICKSGAS                                       1620 E WALNUT                                                               WATSEKA                        IL     60970   USA       10/20/20          $8,017.96         OTHER
HICKSGAS                                       1620 E WALNUT                                                               WATSEKA                        IL     60970   USA       10/20/20          $7,308.98         OTHER
HICKSGAS                                       1620 E WALNUT                                                               WATSEKA                        IL     60970   USA       10/20/20         $10,925.92         OTHER
HICKSGAS                                       1620 E WALNUT                                                               WATSEKA                        IL     60970   USA       10/20/20          $3,448.44         OTHER
HICKSGAS                                       1620 E WALNUT                                                               WATSEKA                        IL     60970   USA       10/20/20          $6,080.18         OTHER
JERRY FLAHERTY                                 13335 FIRESTONE DR                                                          ORLAND PARK                    IL     60462   USA       10/20/20         $10,000.00         OTHER
KELSEY WASSERBURGER                            5625 COLFAX AVE S                                                           MINNEAPOLIS                    MN     55419   USA       10/20/20          $3,200.00         OTHER
STIHL                                          C/O CRADER DISTRIBUTING               808 Hwy 34 West                       MARBLE HILL                    MO     63764   USA       10/20/20          $5,033.28         OTHER
WORLDWIDE DISTRIBUTORS                         P.O. BOX 88607                                                              SEATTLE                        WA     98138   USA       10/20/20        $161,629.85         OTHER
CONSUMER SUPPLY                                P.O. BOX 404322                                                             ATLANTA                        GA     30384   USA       10/21/20         $10,800.50         OTHER
HICKSGAS                                       1620 E WALNUT                                                               WATSEKA                        IL     60970   USA       10/21/20            $541.53         OTHER
HICKSGAS                                       1620 E WALNUT                                                               WATSEKA                        IL     60970   USA       10/21/20          $2,333.49         OTHER
HICKSGAS                                       1620 E WALNUT                                                               WATSEKA                        IL     60970   USA       10/22/20          $4,144.29         OTHER
MICHIGAN WEST SHORE NURSERY                    9 EAST MAIN STREET                                                          ZEELAND                        MI     49464   USA       10/22/20         $11,179.82         OTHER
AMERICAN DISTRIBUTION & MANUFACT               7900 97TH STREET SOUTH                                                      COTTAGE GROVE                  MN     55016   USA       10/23/20        $137,118.82         OTHER
ANTHONY LANE                                   4250 FRANCE AVE S                                                           EDINA                          MN     55416   USA       10/23/20            $381.74         OTHER
AQUATIC CONTROL                                P.O. BOX 100                                                                SEYMOUR                        IN     47274   USA       10/23/20         $53,723.88         OTHER
BILL HICKS COMPANY                             15155 23RD AVE NORTH                                                        MINNEAPOLIS                    MN     55447   USA       10/23/20         $59,632.92         OTHER
BUSINESS IMPACT GROUP                          2411 GALPIN COURT                     SUITE 120                             CHANHASSES                     MN     55317   USA       10/23/20          $5,236.51         OTHER
C & L TRUCKING & MAINTENANCE                   300 N VETERANS PARKWAY                                                      WATSEKA                        IL     60970   USA       10/23/20         $28,950.50         OTHER
CLEAR THINKING GROUP LLC                       401 TOWNE CENTRE DR                                                         HILLSBOROUGH                   NJ     08844   USA       10/23/20          $3,450.00         OTHER
COCA COLA BOTTLING CO.                         P.O. BOX 602937                                                             CHARLOTTE                      NC     28260   USA       10/23/20          $2,851.90         OTHER
COMPASS MINERALS AMERICA                       9900 WEST 109TH STREET                SUITE 600                             OVERLAND PARK                  KS     66210   USA       10/23/20         $76,681.19         OTHER
DAN & JERRY'S GREENHOUSES                      2121 90TH ST NE                                                             MONTICELLO                     MN     55362   USA       10/23/20          $6,979.90         OTHER
GORDINI USA, INC.                              CARHARTT GLOVES                       67 ALLEN MARTIN DRIVE                 ESSEX JUNCTION                 VT     05451   USA       10/23/20         $28,322.28         OTHER
GREAT LAKES COCA-COLA DIST.                    P.O. BOX 809082                                                             CHICAGO                        IL     60680   USA       10/23/20            $490.18         OTHER
HILL'S PET NUTRITION                           P.O. BOX 148                                                                TOPEKA                         KS     66601   USA       10/23/20         $21,893.77         OTHER
ICC BUSINESS PRODUCTS                          PO BOX 26058                                                                INDIANAPOLIS                   IN     46226   USA       10/23/20          $3,295.18         OTHER
INSIGHT DIRECT                                 PO BOX 731069                                                               DALLAS                         TX     75373   USA       10/23/20         $17,488.31         OTHER
J & C PET SUPPLY                               1095A TOWBIN AVE                                                            LAKEWOOD                       NJ     08701   USA       10/23/20          $9,921.75         OTHER
KONTOOR BRANDS--WRANGLER                       2050 N. STEMMONS FREEWAY              ROOM 7004, UNIT 162                   DALLAS                         TX     75207   USA       10/23/20         $22,463.94         OTHER
LEVI STRAUSS & CO.                             1155 BATTERY STREET, LS/5                                                   SAN FRANCISCO                  CA     94111   USA       10/23/20         $61,582.30         OTHER
MASONTOPS INC                                  RPO SHEPPARD PLAZA                    SUITE 524                             ONTARIO                        ON M3H6A7      CAN       10/23/20         $18,462.04         OTHER
MU KITCHEN                                     5310 W 23RD ST, STE 120                                                     ST LOUIS PARK                  MN     55416   USA       10/23/20         $14,657.84         OTHER
NEXT GENERATION DIST INC                       225 W BARGES ST                                                             ARKRON                         OH     44307   USA       10/23/20         $29,111.00         OTHER
PEPSI-COLA                                     P.O. BOX 75944                                                              CHICAGO                        IL     60675   USA       10/23/20            $504.03         OTHER
PEPSI-COLA                                     P.O. BOX 75944                                                              CHICAGO                        IL     60675   USA       10/23/20            $536.00         OTHER
PETEDGE DEALER SERVICES                        P.O. BOX 1000                                                               BEVERLY                        MA     01915   USA       10/23/20            $824.94         OTHER
PETTY CASH - WARSAW STORE #7                   3660 COMMERCE DR                                                            WARSAW                         IN     46580   USA       10/23/20            $104.49         OTHER
PETTY CASH - WASHINGTON STORE #1               70 CHERRY TREE SHOPPING CNTR                                                WASHINGTON                     IL     61571   USA       10/23/20            $322.91         OTHER
PIVOTAL PARTNERS                               16040 POWERS FERRY ROAD               BLDG 5, SUITE 300                     MARIETTA                       GA     30067   USA       10/23/20          $8,787.00         OTHER




                                                                                                            Page 2 of 10
                                       Case 21-30037               Doc 128         Filed 02/08/21 Entered 02/08/21 16:11:35
                                                                                                         Tea Olive I, LLC
                                                                                                                                                                                 Desc Main
                                                                                  Document      Page 202 of 214
                                                                          Certain payments or transfers to creditors within 90 days before filing this case



Form 207 - Statement of Financial Affairs # 3 - EXHIBIT A

                                                                                                                                                                                   Payment                     Reason for Payment or
             Creditor's Name                                     Address 1                    Address 2                                City                State   ZIP Country       Date    Payment Amount          Transfer
POWER DISTIBUTING, LLC                         RED BULL - ELMHURST                   24537 NETWORK PLACE         CHICAGO                                  IL     60673 USA       10/23/20          $1,028.13         OTHER
PRESTIGE PATIO CO, LTD                         42 WEST 38TH ST                       RM 802                      NEW YORK                                 NY     10018 USA       10/23/20         $19,810.09         OTHER
QUINCY AIR MASTER                              701 North Dobson Ave                                              BAY MINETTE                              AL     36507 USA       10/23/20         $35,000.00         OTHER
ROBERT HALF MANAGEMENT RESOURCES               PO BOX 743295                                                     LOS ANGELES                              CA     90074 USA       10/23/20         $12,628.37         OTHER
SELLERS PUBLISHING (RSVP CARDS)                161 JOHN ROBERTS ROAD                                             SOUTH PORTLAND                           ME     04106 USA       10/23/20         $10,881.05         OTHER
SOUTH 40 SNACKS LLC                            140 LAKESIDE AVE                      STE A-158                   SEATTLE                                  WA     98122 USA       10/23/20         $22,440.00         OTHER
SPOONTIQUES                                    111 ISLAND STREET                                                 STOUGHTON                                MA     02072 USA       10/23/20          $4,168.28         OTHER
STEEPLECHASE ADVISORS, LLC                     601 CARLSON PKWY                      SUITE 1050                  MINNETONKA                               MN     55305 USA       10/23/20         $19,702.25         OTHER
TOM STURGIS PRETZELS INC                       2267 LANCASTER PIKE                                               READING                                  PA     19601 USA       10/23/20          $7,527.60         OTHER
TORO/LAWNBOY                                   8111 LYNDALE AVENUE SOUTH                                         BLOOMINGTON                              MN     55420 USA       10/23/20          $6,862.31         OTHER
VTECH ELECTRONICS                              1156 W SHURE DRIVE                    SUITE 200                   ARLINGTON HTS                            IL     60004 USA       10/23/20         $86,225.21         OTHER
WELLS LAMONT                                   6640 WEST TOUHY AVENUE                                            NILES                                    IL     60714 USA       10/23/20         $66,845.58         OTHER
WEST PAW, IINC. DBA WEST PAW DES               32050 E FRONTAGE RD                                               BOZEMAN                                  MT     59715 USA       10/23/20         $64,827.00         OTHER
WP BEVERAGES, LLC                              DBA PEPSI-COLA OF ROCKFORD            P.O. BOX 7425               MADISON                                  WI     53707 USA       10/23/20          $1,874.00         OTHER
AMERICAN EXPRESS                               BOX 0001                                                          LOS ANGELES                              CA     90096 USA       10/26/20         $10,911.53         OTHER
SUPERVALU                                      2611 NORTH LINCOLN AVENUE                                         URBANA                                   IL     61802 USA       10/26/20         $99,787.73         OTHER
WORLDWIDE DISTRIBUTORS                         P.O. BOX 88607                                                    SEATTLE                                  WA     98138 USA       10/26/20         $91,867.03         OTHER
BILL HICKS COMPANY                             15155 23RD AVE NORTH                                              MINNEAPOLIS                              MN     55447 USA       10/27/20        $121,593.95         OTHER
SPINMASTER TOYS                                BERKLEY CASTLEET WEST                 250 THE ESPLANADE SUITE 400 TORONTO                                  ON     M5A15 CAN       10/28/20         $19,212.07         OTHER
HICKSGAS                                       1620 E WALNUT                                                     WATSEKA                                  IL     60970 USA       10/29/20          $4,875.61         OTHER
AMERICAN DIST                                  PO BOX 9201                                                       MINNEAPOLIS                              MN     55480 USA       10/30/20         $59,470.09         OTHER
BASIC SPORTSWEAR CO.                           120 BROADWAY                          SUITE 2121                  NEW YORK                                 NY     10271 USA       10/30/20          $5,355.00         OTHER
BOEHLKE BOTTLED GAS CORP                       1020 HIGHWAY 60                                                   CEDARBURG                                WI     53012 USA       10/30/20          $1,645.37         OTHER
BRYAN PARISH                                   545 FAIRFIELD DR                                                  WABASH                                   IN     46992 USA       10/30/20            $124.80         OTHER
C & L TRUCKING & MAINTENANCE                   300 N VETERANS PARKWAY                                            WATSEKA                                  IL     60970 USA       10/30/20         $30,761.38         OTHER
CALLA PRODUCTS, LLC                            PO BOX 926                                                        DIABLO                                   CA     94528 USA       10/30/20         $12,000.00         OTHER
CARLA LLOYD                                    1211 STONE RIDGE TERRACE                                          ROCHELLE                                 IL     61068 USA       10/30/20            $124.93         OTHER
CENTURY DRILL & TOOL CORP.                     1160 CONTRACT DR                                                  GREEN BAY                                WI     54304 USA       10/30/20         $50,796.72         OTHER
CHS SUNFLOWER                                  220 CLEMENT AVE                                                   GRANDIN                                  ND     58038 USA       10/30/20         $11,921.25         OTHER
CLEAR THINKING GROUP LLC                       401 TOWNE CENTRE DR                                               HILLSBOROUGH                             NJ     08844 USA       10/30/20        $110,750.00         OTHER
CRC INDUSTRIES                                 PO BOX 33127                                                      LOUISVILLE                               KY     40232 USA       10/30/20          $3,877.41         OTHER
DAN & JERRYS GREENHOUSES                       2121 90TH STREET NE                                               MONTICELLO                               MN     55362 USA       10/30/20          $5,153.78         OTHER
DEPARTMENT OF NATURAL RESOURCES                NURSERY DEALER LICENSING PROG         402 W. WASHINGTON ST, ROOM INDIANAPOLIS                              IN     46204 USA       10/30/20            $400.00         OTHER
DIAMOND PET FOODS                              103 NORTH OLIVE                       P.O. BOX 156                META                                     MO     65058 USA       10/30/20         $88,733.34         OTHER
EAGLE IMPORTS                                  1750 Brielle Avenue                   UNIT B-1                    WANAMASSA                                NJ     07712 USA       10/30/20         $19,576.50         OTHER
EASY HEAT WOOD PELLETS                         15 SPRAQUE ROAD                                                   SOUTH CHARLESTON                         OH     45368 USA       10/30/20         $15,781.92         OTHER
EVERSOLE RUN                                   2194 WESTBELT DRIVE                                               COLUMBUS                                 OH     43228 USA       10/30/20          $8,518.50         OTHER
EZE CASTLE INTEGRATION                         100 HIGH STREET                       16TH FLOOR                  BOSTON                                   MA      2110 USA       10/30/20          $1,259.58         OTHER
HATSAN USA, INC.                               PO BOX 576                                                        BENTONVILLE                              AR     72712 USA       10/30/20         $13,983.25         OTHER
HILL'S PET NUTRITION                           P.O. BOX 148                                                      TOPEKA                                   KS     66601 USA       10/30/20         $10,084.41         OTHER
HOBART RETAIL SALES                            600 WEST MAIN STREET                                              TROY                                     OH     45373 USA       10/30/20         $14,672.78         OTHER
HUNTER SAFETY SYSTEM                           8237 DANVILLE ROAD                                                DANVILLE                                 AL     35619 USA       10/30/20         $12,882.63         OTHER
ICC BUSINESS PRODUCTS                          PO BOX 26058                                                      INDIANAPOLIS                             IN     46226 USA       10/30/20          $2,484.14         OTHER
ILLINOIS DEPT. OF REVENUE                      LEGAL SERVICES OFFICE-RM 5-500        101 W Jefferson St          SPRINGFIELD                              IL     62707 USA       10/30/20            $738.00         OTHER
J & C PET SUPPLY                               1095A TOWBIN AVE                                                  LAKEWOOD                                 NJ     08701 USA       10/30/20          $9,921.75         OTHER
JOHNSON MECHANICAL, LLC                        2601 PORTAGE RD                                                   PORTAGE                                  WI     53901 USA       10/30/20         $13,964.00         OTHER
KONTOOR BRANDS--WRANGLER                       2050 N. STEMMONS FREEWAY              ROOM 7004, UNIT 162         DALLAS                                   TX     75207 USA       10/30/20         $22,463.94         OTHER
LANDMANN USA, INC.                             7405 GRAHAM ROAD                                                  FAIRBURN,                                GA     30213 USA       10/30/20         $11,699.25         OTHER
LEGO                                           555 TAYLOR ROAD                       PO BOX 1600                 ENFIELD                                  CT     06083 USA       10/30/20         $10,000.00         OTHER
LOCOMOTIVE SOLUTIONS LLC                       2663 GRANDBURY GROVE ROAD                                         LAKELAND                                 FL     33811 USA       10/30/20          $3,504.00         OTHER
MARTIN LUBRICANTS                              484 EAST 6TH STREET                   2727 ROE LANE               SMACKOVER                                AR     71762 USA       10/30/20          $6,716.64         OTHER
MARY CARLEY                                    P.O. BOX 40                                                       CRESCENT CITY                            IL     60928 USA       10/30/20             $35.00         OTHER
MONTGOMERY COUNTY HEALTH DEPARTM               110 W. SOUTH BLVD                                                 CRAWFORDSVILLE                           IN     47933 USA       10/30/20            $175.00         OTHER
MORTON SALT INC (ICE MELT) r70                 123 NORTH WACKER DRIVE                                            CHICAGO                                  IL     60606 USA       10/30/20          $7,396.39         OTHER
ORGILL DISTRIBUTING                            3742 TYNDALE DRIVE                                                MEMPHIS                                  TN     38125 USA       10/30/20        $761,559.37         OTHER
PRESTIGE PATIO CO, LTD                         42 WEST 38TH ST                       RM 802                      NEW YORK                                 NY     10018 USA       10/30/20         $19,810.09         OTHER
PRIVATE BRAND/JODY OF CALIF                    Private Brand Merchandising           214 W Olympic Blvd          LOS ANGELES                              CA     90015 USA       10/30/20          $3,366.45         OTHER
SALUS BRANDS LLC                               201 E AVE                             SUITE 206                   TEMPE                                    AZ     85282 USA       10/30/20         $56,564.00         OTHER
SCHOMMER CONSTRUCTION LLC                      W6313 MILITARY RD                                                 PORTAGE                                  WI     53901 USA       10/30/20          $5,000.00         OTHER
ST SERVICES, LLC                               10919 N PRINCEVILLE JUBILEE RD                                    BRIMFIELD                                IL     61517 USA       10/30/20          $6,500.00         OTHER
STEEPLECHASE ADVISORS, LLC                     601 CARLSON PKWY                      SUITE 1050                  MINNETONKA                               MN     55305 USA       10/30/20         $19,824.36         OTHER
STEVE MERKEL                                   P.O. BOX 6263                                                     CHAMPAIGN                                IL     61826 USA       10/30/20          $5,143.88         OTHER




                                                                                                            Page 3 of 10
                                       Case 21-30037                Doc 128          Filed 02/08/21 Entered 02/08/21 16:11:35
                                                                                                           Tea Olive I, LLC
                                                                                                                                                                                       Desc Main
                                                                                    Document      Page 203 of 214
                                                                            Certain payments or transfers to creditors within 90 days before filing this case



Form 207 - Statement of Financial Affairs # 3 - EXHIBIT A

                                                                                                                                                                                         Payment                     Reason for Payment or
             Creditor's Name                                   Address 1                         Address 2                               City                State     ZIP   Country        Date   Payment Amount          Transfer
STRATEGIC DISTRIBUTION/CAREISMAT               C/O PAUL HABER                          15221VIBURNUM RD                      FRISCO                         TX       75035   USA       10/30/20            $154.56         OTHER
TEK NEK TOYS INTL INC       D                  1904 INDUSTRIAL BLVD                    STE 1000101                           COLLEYVILLE                    TX       76034   USA       10/30/20         $15,132.56         OTHER
THE AMERICAN BOTTLING COMPANY                  21431 NETWORK PLACE                                                           CHICAGO                        IL       60673   USA       10/30/20            $251.00         OTHER
TIFFANY SHENEFIELD                             435 N COMSTOCK ST                                                             WABASH                         IN       46992   USA       10/30/20             $29.60         OTHER
VALASSIS                                       199775 VICTOR PARKWAY                                                         LIVONIA                        MI       48152   USA       10/30/20         $57,668.64         OTHER
WUNDERMAN                                      466 LEXINGTON AVE, 4TH FLOOR                                                  NEW YORK                       NY       10017   USA       10/30/20         $12,000.00         OTHER
SUPERVALU                                      2611 NORTH LINCOLN AVENUE                                                     URBANA                         IL       61802   USA       11/2/20         $360,469.63         OTHER
ILLINOIS DEPT. OF REVENUE                      LEGAL SERVICES OFFICE-RM 5-500          101 W Jefferson St                    SPRINGFIELD                    IL       62707   USA       11/3/20             $106.00         OTHER
ILLINOIS DEPT. OF REVENUE                      LEGAL SERVICES OFFICE-RM 5-500          101 W Jefferson St                    SPRINGFIELD                    IL       62707   USA       11/4/20              $52.00         OTHER
AMERICAN DIST                                  PO BOX 9201                                                                   MINNEAPOLIS                    MN       55480   USA       11/6/20             $872.70         OTHER
BASIC SPORTSWEAR CO.                           120 BROADWAY                            SUITE 2121                            NEW YORK                       NY       10271   USA       11/6/20           $5,355.00         OTHER
GRABBER PERFORMANCE GROUP                      4600 DANVERS SE                                                               GRAND RAPIDS                   MI       49512   USA       11/6/20          $20,000.00         OTHER
GRAND & BENEDICTS, INC.                        6140 SW MACADAM AVE.                                                          PORTLAND                       OR       97239   USA       11/6/20           $5,949.88         OTHER
ILLINOIS DEPT. OF REVENUE                      LEGAL SERVICES OFFICE-RM 5-500          101 W Jefferson St                    SPRINGFIELD                    IL       62707   USA       11/6/20              $46.00         OTHER
MWI VETERINARY SUPPLY, INC.                    3041 W. PASADENA DR                                                           BOISE                          ID       83705   USA       11/6/20          $90,645.36         OTHER
SUPERVALU                                      2611 NORTH LINCOLN AVENUE                                                     URBANA                         IL       61802   USA       11/9/20         $210,622.69         OTHER
HOUSEWARE DISTRIBUTORS                         P.O. BOX 855                            145 PROGRESS DRIVE                    WEST BEND                      WI       53095   USA       11/11/20          $7,520.12         OTHER
SUMMIT BRAND                                   a/k/a IRON OUT                          7201 ENGLE ROAD                       FORT WAYNE                     IN       46804   USA       11/11/20          $5,600.66         OTHER
BRYAN EQUIPMENT SALES, INC                     6300 Smith Road                                                               LOVELAND                       OH       45140   USA       11/12/20         $15,355.99         OTHER
BRYAN EQUIPMENT SALES, INC                     6300 Smith Road                                                               LOVELAND                       OH       45140   USA       11/12/20          $2,779.17         OTHER
RADIANS, INC                                   5305 DISTRIPLEX FARMS DR                                                      MEMPHIS                        TN       38141   USA       11/12/20         $24,559.51         OTHER
RADIANS, INC                                   5305 DISTRIPLEX FARMS DR                                                      MEMPHIS                        TN       38141   USA       11/12/20          $7,620.48         OTHER
STIHL                                          C/O CRADER DISTRIBUTING                 808 Hwy 34 West                       MARBLE HILL                    MO       63764   USA       11/12/20          $3,096.16         OTHER
WORLDWIDE DISTRIBUTORS                         P.O. BOX 88607                                                                SEATTLE                        WA       98138   USA       11/12/20        $471,457.95         OTHER
WORLDWIDE DISTRIBUTORS                         P.O. BOX 88607                                                                SEATTLE                        WA       98138   USA       11/12/20         $46,471.48         OTHER
BASIC SPORTSWEAR CO.                           120 BROADWAY                            SUITE 2121                            NEW YORK                       NY       10271   USA       11/13/20          $5,355.00         OTHER
BRYAN PARISH                                   545 FAIRFIELD DR                                                              WABASH                         IN       46992   USA       11/13/20             $31.20         OTHER
CONTINENTAL LINEN SERVICE                      4200 MANCHESTER RD                                                            KALAMAZOO                      MI       49001   USA       11/13/20          $1,262.33         OTHER
JACQUELINE PIPES                               400 S HOUGH ST.                                                               BARRINGTON                     MN       60010   USA       11/13/20            $597.50         OTHER
JOE MALONE                                     7519 N HONEYSUCKLE CT                                                         BRIMFIELD                      IL       61517   USA       11/13/20            $668.77         OTHER
JOHN ANDREWS                                   1705 LARK AVE                                                                 MAPLEWOOD                      MN       55109   USA       11/13/20             $58.76         OTHER
JOHNIE SKEEN                                   440 FIREFLY DRIVE                                                             MICHIGAN CITY                  IN       46360   USA       11/13/20            $481.32         OTHER
KEITH MAYS                                     4296 WHITE PINE CIRCLE                                                        ST JOSEPH                      MI       49085   USA       11/13/20             $62.35         OTHER
KOSCIUSKO COUNTY HEALTH DEPARTME               100 WEST CENTER STREET                                                        WARSAW                         IN       46580   USA       11/13/20             $20.00         OTHER
PETTY CASH - MCHENRY STORE #11                 1860 N RICHMOND RD                                                            MC HENRY                       IL       60050   USA       11/13/20            $300.00         OTHER
PETTY CASH - PORTAGE STORE #26                 STOCK + FIELD                           2935 NEW PINERY RD                    PORTAGE                        WI       53901   USA       11/13/20            $154.60         OTHER
STEEPLECHASE ADVISORS, LLC                     601 CARLSON PKWY                        SUITE 1050                            MINNETONKA                     MN       55305   USA       11/13/20         $19,883.93         OTHER
WABASH CO. HEALTH DEPARTMENT                   ATTN: FOOD DIVISION                     89 WEST HILL ST.                      WABASH                         IN       46992   USA       11/13/20            $125.00         OTHER
WILLIAM A. HASSER                              8716 W 599 NORTH ROAD                                                         EARL PARK                      IN       47942   USA       11/13/20            $554.00         OTHER
PETTY CASH - BURLINGTON STORE #2               1058 MILWAUKEE AVE                                                            BURLINGTON                     WI       53105   USA       11/16/20            $260.00         OTHER
PETTY CASH - CRAWFORDSVILLE STOR               1601 US HWY 231                                                               CRAWFORDSVILLE                 IN       47933   USA       11/16/20            $410.00         OTHER
PETTY CASH - DANVILLE STORE #3                 3363 N WEMILION ST                                                            DANVILLE                       IL       61832   USA       11/16/20            $310.00         OTHER
PETTY CASH - ELKHART STORE #14                 3501 S MAIN ST                                                                ELKHART                        IN       46517   USA       11/16/20            $330.00         OTHER
PETTY CASH - ELKHART STORE #24                 3101 NORTHVIEW DR                                                             NORTH ELKHART                  IN       46514   USA       11/16/20            $350.00         OTHER
PETTY CASH - FINDLAY STORE #22                 1800 TIFFIN RD                                                                FINDLAY                        OH       45840   USA       11/16/20            $230.00         OTHER
PETTY CASH - GIBSON STORE #2                   623 E FIRST ST                                                                GIBSON CITY                    IL       60936   USA       11/16/20            $220.00         OTHER
PETTY CASH - HOMER GLEN STORE #1               15830 S BELL RD                                                               HOMER GLEN                     IL       60491   USA       11/16/20            $410.00         OTHER
PETTY CASH - LANSING STORE #27                 STOCK + FIELD                           340 E EDGEWOOD BLVD                   LANSING                        MI       48911   USA       11/16/20            $420.00         OTHER
PETTY CASH - LIMA STORE #12                    975 N CABLE RD                                                                LIMA                           OH       45805   USA       11/16/20            $350.00         OTHER
PETTY CASH - MARION STORE #21                  1401 W 26TH ST                                                                MARION                         IN       46953   USA       11/16/20            $320.00         OTHER
PETTY CASH - MICHIGAN CITY STORE               4301 S FRANKLIN ST                                                            MICHIGAN CITY                  IN       46360   USA       11/16/20            $350.00         OTHER
PETTY CASH - MORRIS STORE #6                   2655 SYCAMORE DR                                                              MORRIS                         IL       60450   USA       11/16/20            $350.00         OTHER
PETTY CASH - PEKIN STORE #13                   3315 COURT ST                                                                 PEKIN                          IL       61554   USA       11/16/20            $290.00         OTHER
PETTY CASH - PONTIAC STORE #5                  1027 W REYNOLDS ST                                                            PONTIAC                        IL       61764   USA       11/16/20            $330.00         OTHER
PETTY CASH - PORTAGE STORE #26                 STOCK + FIELD                           2935 NEW PINERY RD                    PORTAGE                        WI       53901   USA       11/16/20            $390.00         OTHER
PETTY CASH - ROCHELLE STORE #16                1240 N 7TH ST                                                                 ROCHELLE                       IL       61068   USA       11/16/20            $330.00         OTHER
PETTY CASH - ROCHESTER STORE #17               2100 PEACE TREE VILLAGE                                                       ROCHESTER                      IN       46975   USA       11/16/20            $290.00         OTHER
PETTY CASH - STREATOR STORE #23                11 NORTHPOINT DR                                                              STREATOR                       IL       61364   USA       11/16/20            $230.00         OTHER
PETTY CASH - TILTON STORE #4                   1625 S GEORGETOWN RD                                                          TILTON                         IL       61833   USA       11/16/20            $350.00         OTHER
PETTY CASH - WABASH STORE #18                  1550 N CASS ST                                                                WABASH                         IN       46992   USA       11/16/20            $330.00         OTHER
PETTY CASH - WARSAW STORE #7                   3660 COMMERCE DR                                                              WARSAW                         IN       46580   USA       11/16/20            $340.00         OTHER
PETTY CASH - WASHINGTON STORE #1               70 CHERRY TREE SHOPPING CNTR                                                  WASHINGTON                     IL       61571   USA       11/16/20            $340.00         OTHER




                                                                                                              Page 4 of 10
                                       Case 21-30037             Doc 128          Filed 02/08/21 Entered 02/08/21 16:11:35
                                                                                                        Tea Olive I, LLC
                                                                                                                                                                                    Desc Main
                                                                                 Document      Page 204 of 214
                                                                         Certain payments or transfers to creditors within 90 days before filing this case



Form 207 - Statement of Financial Affairs # 3 - EXHIBIT A

                                                                                                                                                                                      Payment                     Reason for Payment or
             Creditor's Name                                     Address 1                      Address 2                             City                State     ZIP   Country        Date   Payment Amount          Transfer
PETTY CASH - WATSEKA STORE #1                  1200 E WALNUT ST                                                 WATSEKA                                  IL       60970   USA       11/16/20            $290.00         OTHER
SUPERVALU                                      2611 NORTH LINCOLN AVENUE                                        URBANA                                   IL       61802   USA       11/16/20         $51,527.54         OTHER
ARMORED AUTO GROUP                             555 WHITE PLAINS ROAD                                            TARRYTOWN                                NY       10591   USA       11/17/20         $19,879.68         OTHER
B&B BEDDING                                    aka BACALAND IN ILLINOIS             2245 275TH STREET           OSKALOOSA                                IA       52577   USA       11/17/20          $4,545.80         OTHER
C & L TRUCKING & MAINTENANCE                   300 N VETERANS PARKWAY                                           WATSEKA                                  IL       60970   USA       11/17/20         $62,018.00         OTHER
HOUSEWARE DISTRIBUTORS                         P.O. BOX 855                         145 PROGRESS DRIVE          WEST BEND                                WI       53095   USA       11/17/20          $7,520.12         OTHER
IL SECRETARY OF STATE                          213 State Capitol                                                SPRINGFIELD                              IL       62707   USA       11/17/20            $241.00         OTHER
IL SECRETARY OF STATE                          213 State Capitol                                                SPRINGFIELD                              IL       62707   USA       11/17/20            $241.00         OTHER
IL SECRETARY OF STATE                          213 State Capitol                                                SPRINGFIELD                              IL       62707   USA       11/17/20            $241.00         OTHER
IL SECRETARY OF STATE                          213 State Capitol                                                SPRINGFIELD                              IL       62707   USA       11/17/20            $214.00         OTHER
IL SECRETARY OF STATE                          213 State Capitol                                                SPRINGFIELD                              IL       62707   USA       11/17/20            $241.00         OTHER
IL SECRETARY OF STATE                          213 State Capitol                                                SPRINGFIELD                              IL       62707   USA       11/17/20            $241.00         OTHER
IL SECRETARY OF STATE                          213 State Capitol                                                SPRINGFIELD                              IL       62707   USA       11/17/20            $241.00         OTHER
IL SECRETARY OF STATE                          213 State Capitol                                                SPRINGFIELD                              IL       62707   USA       11/17/20            $241.00         OTHER
IL SECRETARY OF STATE                          213 State Capitol                                                SPRINGFIELD                              IL       62707   USA       11/17/20            $241.00         OTHER
IL SECRETARY OF STATE                          213 State Capitol                                                SPRINGFIELD                              IL       62707   USA       11/17/20            $268.00         OTHER
IL SECRETARY OF STATE                          213 State Capitol                                                SPRINGFIELD                              IL       62707   USA       11/17/20            $214.00         OTHER
IOWA STEEL AND WIRE                            1500 WEST VAN BUREN                                              CENTERVILLE                              IA       52544   USA       11/17/20         $31,133.78         OTHER
KURT S. ADLER                                  1107 BROADWAY                                                    NEW YORK                                 NY       10010   USA       11/17/20        $108,279.24         OTHER
ORGILL DISTRIBUTING                            3742 TYNDALE DRIVE                                               MEMPHIS                                  TN       38125   USA       11/17/20        $555,712.79         OTHER
RAPALA VMC CORPORATION                         10395 YELLOW CIRCLE DRIVE                                        MINNETONKA                               MN       55343   USA       11/17/20         $21,548.00         OTHER
GRAND & BENEDICTS, INC.                        6140 SW MACADAM AVE.                                             PORTLAND                                 OR       97239   USA       11/18/20          $5,949.89         OTHER
MWI VETERINARY SUPPLY, INC.                    3041 W. PASADENA DR                                              BOISE                                    ID       83705   USA       11/18/20         $50,041.53         OTHER
WILSON'S GENERAL STORE & CAFE                  11120 BROADWAY                                                   EVANSVILLE                               IN       47712   USA       11/18/20          $3,420.00         OTHER
AMERICAN DIST                                  PO BOX 9201                                                      MINNEAPOLIS                              MN       55480   USA       11/19/20        $126,560.27         OTHER
RADIANS, INC                                   5305 DISTRIPLEX FARMS DR                                         MEMPHIS                                  TN       38141   USA       11/19/20        $132,313.00         OTHER
WORLDWIDE DISTRIBUTORS                         P.O. BOX 88607                                                   SEATTLE                                  WA       98138   USA       11/19/20         $23,034.19         OTHER
ARROW PEST CONTROL                             P.O. BOX 515                                                     PLYMOUTH                                 IN       46563   USA       11/20/20          $2,301.76         OTHER
CHS                                            220 CLEMENT AVE                                                  GRANDIN                                  ND       58038   USA       11/20/20         $11,921.25         OTHER
CLEAR THINKING GROUP LLC                       401 TOWNE CENTRE DR                                              HILLSBOROUGH                             NJ       08844   USA       11/20/20         $60,629.00         OTHER
DATASITE LLC                                   733 S MARQUETTE AVE                  SUITE 600                   Minneapolis                              MN       55402   USA       11/20/20          $3,190.20         OTHER
MU KITCHEN                                     5310 W 23RD ST, STE 120                                          ST LOUIS PARK                            MN       55416   USA       11/20/20          $1,582.16         OTHER
PLAYMONSTER                                    1400 E. Inman Parkway                                            BELOIT                                   WI       53511   USA       11/20/20         $18,452.00         OTHER
PRESTIGE PATIO                                 42 West 38th Street                  RM. 802                     New York                                 NY       10018   USA       11/20/20         $19,810.07         OTHER
PYRAMEX SAFETY                                 281-A MOORELANE                                                  COLLIERVILLE                             TN       38017   USA       11/20/20          $3,783.60         OTHER
REAL SODA                                      3110 KAYJAY DRIVE                                                NORTHBROOK                               IL       60062   USA       11/20/20         $25,132.32         OTHER
STEEPLECHASE ADVISORS, LLC                     601 CARLSON PKWY                     SUITE 1050                  MINNETONKA                               MN       55305   USA       11/20/20         $19,570.24         OTHER
CHICAGO AMERICAN MFG                           4500 WEST 47TH ST                                                CHICAGO                                  IL       60632   USA       11/23/20         $30,108.00         OTHER
DIAMOND PET FOODS                              103 NORTH OLIVE                      P.O. BOX 156                META                                     MO       65058   USA       11/23/20         $87,734.56         OTHER
HOUSEWARE DISTRIBUTORS                         P.O. BOX 855                         145 PROGRESS DRIVE          WEST BEND                                WI       53095   USA       11/23/20          $3,070.79         OTHER
KONTOOR BRANDS--LEE LABEL                      2969 RIDGE COURT                                                 GREENLEAF                                WI       54126   USA       11/23/20         $22,463.94         OTHER
ROBERT HALF MANAGEMENT RESOURCES               PO BOX 743295                                                    LOS ANGELES                              CA       90074   USA       11/23/20         $34,997.49         OTHER
SUPERVALU                                      2611 NORTH LINCOLN AVENUE                                        URBANA                                   IL       61802   USA       11/23/20        $100,508.89         OTHER
VALASSIS                                       199775 VICTOR PARKWAY                                            LIVONIA                                  MI       48152   USA       11/23/20        $171,385.33         OTHER
FAVORITE FISHING USA                           603 N 9TH ST                                                     THAYER                                   MO       65791   USA       11/24/20        $120,860.00         OTHER
JOHNIE SKEEN                                   440 FIREFLY DRIVE                                                MICHIGAN CITY                            IN       46360   USA       11/24/20            $194.89         OTHER
KOLE IMPORTS                                   24600 MAIN ST                                                    CARSON                                   CA       90745   USA       11/24/20         $20,820.88         OTHER
MOEWS FARMS                                    15332 EAST 2430 NORTH RD                                         DANVILLE                                 IL       61834   USA       11/24/20          $4,393.75         OTHER
PETTY CASH - CRAWFORDSVILLE STOR               1601 US HWY 231                                                  CRAWFORDSVILLE                           IN       47933   USA       11/24/20            $247.90         OTHER
PETTY CASH - GIBSON STORE #2                   623 E FIRST ST                                                   GIBSON CITY                              IL       60936   USA       11/24/20            $100.81         OTHER
PETTY CASH - WASHINGTON STORE #1               70 CHERRY TREE SHOPPING CNTR                                     WASHINGTON                               IL       61571   USA       11/24/20            $300.00         OTHER
SALESFORCE.COM, INC                            SALESFORCE TOWER                     415 MISSION STREET 3RD FLOO SAN FRANCISCO                            CA       94105   USA       11/24/20         $60,000.00         OTHER
HOUSEWARE DISTRIBUTORS                         P.O. BOX 855                         145 PROGRESS DRIVE          WEST BEND                                WI       53095   USA       11/25/20          $4,449.93         OTHER
MWI VETERINARY SUPPLY, INC.                    3041 W. PASADENA DR                                              BOISE                                    ID       83705   USA       11/25/20         $49,969.48         OTHER
CONSUMER SUPPLY                                P.O. BOX 404322                                                  ATLANTA                                  GA       30384   USA       11/30/20          $8,784.90         OTHER
ORGILL DISTRIBUTING                            3742 TYNDALE DRIVE                                               MEMPHIS                                  TN       38125   USA       11/30/20        $301,953.42         OTHER
SUPERVALU                                      2611 NORTH LINCOLN AVENUE                                        URBANA                                   IL       61802   USA       11/30/20         $32,704.85         OTHER
COTTAGE WATCHMAN SECURITY SYSTEM               883 S 900 E                                                      PIERCETON                                IN       46562   USA       12/1/20           $2,086.75         OTHER
ORGILL DISTRIBUTING                            3742 TYNDALE DRIVE                                               MEMPHIS                                  TN       38125   USA       12/1/20         $300,000.00         OTHER
OHIO DEPT OF AGRICULTURE                       DIVISION OF PLANT HEALTH             8995 EAST MAIN ST           REYNOLDSBURG                             OH       43068   USA       12/2/20             $250.00         OTHER
TOM STURGIS PRETZELS INC                       2267 LANCASTER PIKE                                              READING                                  PA       19601   USA       12/2/20          $13,158.00         OTHER
WISCONSIN DEPARTMENT OF AGRICULT               TRADE AND CONSUMER PROTECTION                                    MILWAUKEE                                WI       53293   USA       12/2/20             $100.00         OTHER




                                                                                                           Page 5 of 10
                                       Case 21-30037                Doc 128           Filed 02/08/21 Entered 02/08/21 16:11:35
                                                                                                            Tea Olive I, LLC
                                                                                                                                                                                        Desc Main
                                                                                     Document      Page 205 of 214
                                                                             Certain payments or transfers to creditors within 90 days before filing this case



Form 207 - Statement of Financial Affairs # 3 - EXHIBIT A

                                                                                                                                                                                          Payment                     Reason for Payment or
             Creditor's Name                                     Address 1                          Address 2                             City                State     ZIP   Country        Date   Payment Amount          Transfer
SAFEWAY PEST MANAGEMENT, INC                   S83 W 18622 SATURN DR                                                        MUSKEGO                          WI       53150   USA       12/4/20             $150.60         OTHER
SUPERVALU                                      2611 NORTH LINCOLN AVENUE                                                    URBANA                           IL       61802   USA       12/7/20          $44,396.86         OTHER
BEN JOHNSON                                    5800 SHERIDAN AVE S                                                          MINNEAPOLIS                      MN       55410   USA       12/8/20             $141.57         OTHER
BRYAN PARISH                                   545 FAIRFIELD DR                                                             WABASH                           IN       46992   USA       12/8/20              $60.80         OTHER
CHAD DAVIS                                     60260 SAINT JOSEPH ST.                                                       SOUTH BEND                       IN       46614   USA       12/8/20             $329.88         OTHER
CLEAR THINKING GROUP LLC                       401 TOWNE CENTRE DR                                                          HILLSBOROUGH                     NJ       08844   USA       12/8/20          $60,000.00         OTHER
DEVYN MORRIS                                   3640 WOODDALE AVE S                                                      212 ST LOUIS PARK                    MN       55416   USA       12/8/20             $366.51         OTHER
FREDERICK JAMES                                410 S 7TH ST                                                                 PIERCETON                        IN       46562   USA       12/8/20              $42.08         OTHER
IL SECRETARY OF STATE                          213 State Capitol                                                            SPRINGFIELD                      IL       62707   USA       12/8/20             $268.00         OTHER
IROQUOIS COUNTY HEALTH DEPT                    1001 EAST GRANT ST                                                           WATSEKA                          IL       60970   USA       12/8/20             $300.00         OTHER
JOE BRADY                                      306 E ELLIS STREET                       PO BOX 92                           MARINTON                         IL       60951   USA       12/8/20              $16.40         OTHER
JOHN CHRISTIE                                  224 S MAIN                                                                   GILMAN                           IL       60938   USA       12/8/20             $397.90         OTHER
MATTHEW KIESEL                                 2533 US-23                                                                   ALVADA                           OH       44802   USA       12/8/20             $280.86         OTHER
MEGHAN KROHN                                   1479 24TH STREET                                                             HOULTON                          WI       54082   USA       12/8/20             $152.93         OTHER
NICOLE A. HURST                                306 E PLUMB ST                                                               RANSOM                           IL       60470   USA       12/8/20              $48.00         OTHER
PETTY CASH - ELKHART STORE #24                 3101 NORTHVIEW DR                                                            NORTH ELKHART                    IN       46514   USA       12/8/20             $214.35         OTHER
PETTY CASH - STREATOR STORE #23                11 NORTHPOINT DR                                                             STREATOR                         IL       61364   USA       12/8/20             $167.86         OTHER
RANDY FORSHEE                                  W9934 HWY 127                                                                PORTAGE                          WI       53901   USA       12/8/20             $146.01         OTHER
ROBERT HALF MANAGEMENT RESOURCES               PO BOX 743295                                                                LOS ANGELES                      CA       90074   USA       12/8/20          $70,967.70         OTHER
STEEPLECHASE ADVISORS, LLC                     601 CARLSON PKWY                         SUITE 1050                          MINNETONKA                       MN       55305   USA       12/8/20          $19,993.70         OTHER
SUPERIOR LANDSCAPING                           709 S LADD ST                                                                PONTIAC                          IL       61764   USA       12/8/20             $770.00         OTHER
WDATCP                                         STATE OF WISCONSIN WDATCP                BOX 93479                           MILWAUKEE                        WI       53293   USA       12/8/20             $200.00         OTHER
ALARMAX INC.                                   3424 N SR 63                                                                 CAYUGA                           IN       47928   USA       12/11/20          $5,457.33         OTHER
DLS TRUCKING ENT, INC                          21 WALDRON AVE                                                               KANKAKEE                         IL       06091   USA       12/11/20          $8,500.00         OTHER
JASON INDUSTRIES                               258 WESTGATE DRIVE                                                           CAROL STREAM                     IL       60188   USA       12/11/20          $4,770.63         OTHER
METAL WARE/NESCO                               1700 MONROE STREET                                                           TWO RIVERS                       WI       54241   USA       12/11/20          $2,076.23         OTHER
PETEDGE DEALER SERVICES                        P.O. BOX 1000                                                                BEVERLY                          MA       01915   USA       12/11/20          $1,972.18         OTHER
ORGILL DISTRIBUTING                            3742 TYNDALE DRIVE                                                           MEMPHIS                          TN       38125   USA       12/14/20        $202,500.00         OTHER
SUPERVALU                                      2611 NORTH LINCOLN AVENUE                                                    URBANA                           IL       61802   USA       12/14/20         $46,914.23         OTHER
FARM INNOVATORS                                P.O. BOX 546                                                                 PLYMOUTH                         IN       46563   USA       12/15/20        $105,185.80         OTHER
ORGILL DISTRIBUTING                            3742 TYNDALE DRIVE                                                           MEMPHIS                          TN       38125   USA       12/15/20        $352,881.94         OTHER
WIDOJ                                                                                                                                                                         USA       12/16/20         $10,980.00         OTHER
AARON MUELLER                                  215 S. MAIN STREET                                                             KIMBERLY                       WIL      54136   USA       12/18/20            $626.51         OTHER
ALARMAX INC.                                   3424 N SR 63                                                                   CAYUGA                         IN       47928   USA       12/18/20            $723.00         OTHER
ARAMARK UNIFORM & CAREER APPAREL               AUS ST.LOUIS MC LOCKBOX                  26792 NETWORK PLACE                   CHICAGO                        IL       60673   USA       12/18/20          $2,449.76         OTHER
ARMALY BRANDS                                  1900 Easy Street                                                               Comm Charter TWP               MI       48390   USA       12/18/20          $2,832.54         OTHER
BASIC SPORTSWEAR CO.                           120 BROADWAY                             SUITE 2121                            NEW YORK                       NY       10271   USA       12/18/20          $5,355.00         OTHER
BEHRENS MANUFACTURING                          1250 E SANBORN STREET                                                          WINONA                         MN       55987   USA       12/18/20          $3,780.00         OTHER
BENEBONE LLC                                   17 SANDHOPPER TRAIL                                                            WESTPORT                       CT       06880   USA       12/18/20         $48,313.19         OTHER
BILL HICKS COMPANY                             15155 23RD AVE NORTH                                                           MINNEAPOLIS                    MN       55447   USA       12/18/20         $27,646.90         OTHER
BRANDON FETTER - STRAW                         7661 E 100 S                                                                   MARION                         IN       46953   USA       12/18/20          $3,964.50         OTHER
BRYAN PARISH                                   545 FAIRFIELD DR                                                               WABASH                         IN       46992   USA       12/18/20            $280.18         OTHER
C & L TRUCKING & MAINTENANCE                   300 N VETERANS PARKWAY                                                         WATSEKA                        IL       60970   USA       12/18/20         $29,622.00         OTHER
CAM 2 INTERNATIONAL 10                         3412 PEMBERTON SQUARE BLV                SUITE 2-317                           VICKSBURG                      MS       39180   USA       12/18/20         $10,353.96         OTHER
CITY OF PEKIN                                  111 SOUTH CAPITOL ST.                                                          PEKIN                          IL       61554   USA       12/18/20             $50.00         OTHER
CLEAR THINKING GROUP LLC                       401 TOWNE CENTRE DR                                                            HILLSBOROUGH                   NJ       08844   USA       12/18/20         $20,000.00         OTHER
CROWN LIFT TRUCKS                              P.O. BOX 641173                                                                CINCINNATI                     OH       45264   USA       12/18/20          $6,093.40         OTHER
CUTTING EDGE LAWN CARE                         1725 DELL RD                                                                   LANSING                        MI       48911   USA       12/18/20          $3,505.00         OTHER
FAVORITE FISHING USA                           603 N 9TH ST                                                                   THAYER                         MO       65791   USA       12/18/20         $17,074.00         OTHER
FREDRIKSON & BRYAN P.A.                        P.O. BOX 1484                                                                  MINNEAPOLIS                    MN       55480   USA       12/18/20         $50,774.00         OTHER
GREEN LEAF                                     P.O. BOX 88                                                                    FONTANET                       IN       47851   USA       12/18/20          $7,699.03         OTHER
HALSTED CORPORATION                            51 COMMERCE DR.                                                                CRANBURY                       NJ       08512   USA       12/18/20          $2,500.00         OTHER
INSIGHT DIRECT                                 PO BOX 731069                                                                  DALLAS                         TX       75373   USA       12/18/20         $10,051.00         OTHER
JCS APPAREL GROUP INC        17                1407 BROADWAY, SUITE 202                                                       NEW YORK                       NY       10018   USA       12/18/20          $3,585.00         OTHER
JEAN LAVVORN                                   1987 N US HWY 421                                                              MICHIGAN CITY                  IN       46360   USA       12/18/20             $88.16         OTHER
JOHNSON CONTROL SECURITY SOLUTIO               P.O. BOX 371967                                                                PITTSBURGH                     PA       15250   USA       12/18/20          $1,717.34         OTHER
JONATHAN LOPEZ                                 14150 OSAGE ST NW                                                              ANDOVER                        MN       55304   USA       12/18/20          $8,558.04         OTHER
KEITH MAYS                                     4296 WHITE PINE CIRCLE                                                         ST JOSEPH                      MI       49085   USA       12/18/20            $698.45         OTHER
KEN FREY                                       W6839 WINDWARD DR.                                                             GREENVILLE                     WI       54942   USA       12/18/20            $288.86         OTHER
KOLE IMPORTS                                   24600 MAIN ST                                                                  CARSON                         CA       90745   USA       12/18/20          $5,205.22         OTHER
MATCO FIRE PROTECTION, INC.                    1195 E. PELLS                            SUITE B                               PAXTON                         IL       60957   USA       12/18/20         $11,070.00         OTHER
MIDWEST CAN COMPANY                            1950 N MANNHEIM RD                                                             MELROSE PARK                   IL       60160   USA       12/18/20         $17,798.75         OTHER




                                                                                                               Page 6 of 10
                                       Case 21-30037              Doc 128          Filed 02/08/21 Entered 02/08/21 16:11:35
                                                                                                         Tea Olive I, LLC
                                                                                                                                                                                       Desc Main
                                                                                  Document      Page 206 of 214
                                                                          Certain payments or transfers to creditors within 90 days before filing this case



Form 207 - Statement of Financial Affairs # 3 - EXHIBIT A

                                                                                                                                                                                          Payment                       Reason for Payment or
             Creditor's Name                                     Address 1                       Address 2                 City                              State     ZIP   Country        Date     Payment Amount           Transfer
MIDWEST STIHL                                  301 COMMERCE PARKWAY                                              COTTAGE GROVE                              WI       53527   USA       12/18/20            $21,083.83         OTHER
NAVEGATE, INC                                  1300 MENDOTA HEIGHTS ROAD                                         MENDOTA HEIGHTS                            MN       55120   USA       12/18/20            $10,925.00         OTHER
PETTY CASH - WABASH STORE #18                  1550 N CASS ST                                                    WABASH                                     IN       46992   USA       12/18/20               $280.18         OTHER
POO-POURRI                                     4901 KELLER SPRINGS RD                SUITE 106D                  ADDISON                                    TX       75001   USA       12/18/20             $2,280.00         OTHER
ROBERT HALF MANAGEMENT RESOURCES               PO BOX 743295                                                     LOS ANGELES                                CA       90074   USA       12/18/20            $14,077.06         OTHER
SALESFORCE.COM, INC                            SALESFORCE TOWER                      415 MISSION STREET 3RD FLOO SAN FRANCISCO                              CA       94105   USA       12/18/20            $60,000.00         OTHER
SOPUS / SHELL / ROTELLA                        609 SCIENCE DRIVE                                                 MOORPARK                                   CA       93021   USA       12/18/20            $10,000.00         OTHER
STEEPLECHASE ADVISORS, LLC                     601 CARLSON PKWY                      SUITE 1050                  MINNETONKA                                 MN       55305   USA       12/18/20            $19,228.95         OTHER
TRUE MEDIA                                     500 BUSINESS LOOP 70 WEST                                         COLUMBIA                                   MO       65203   USA       12/18/20            $50,000.00         OTHER
UNITED PAVING                                  P.O. BOX 67                                                       PAXTON                                     IL       60957   USA       12/18/20             $2,976.10         OTHER
VETERAN SHREDDING, LLC                         1800 CLIFF ROAD EAST                  SUITE 9                     BURNSVILLE                                 MN       55337   USA       12/18/20               $225.00         OTHER
WELLS FARGO EQUIPMENT FINANCE                  MANUFACTURER SERVICE GROUP            PO BOX 1433                 DES MOINES                                 IA       50306   USA       12/18/20               $847.62         OTHER
LOOMIS                                         DEPT CH 10500                                                     PALATINE                                   IL       60055   USA       12/21/20          $102,175.66          OTHER
SUPERVALU                                      2611 NORTH LINCOLN AVENUE                                         URBANA                                     IL       61802   USA       12/21/20            $75,578.38         OTHER
CLEAR THINKING GROUP LLC                       401 TOWNE CENTRE DR                                               HILLSBOROUGH                               NJ       08844   USA       12/23/20            $20,000.00         OTHER
ORACLE AMERICA, INC.                           BANK OF AMERICA LOCKBOX SERV          15612 COLLECTIONS CTR DR    CHICAGO                                    IL       60693   USA       12/23/20             $3,591.00         OTHER
C & L TRUCKING & MAINTENANCE                   300 N VETERANS PARKWAY                                            WATSEKA                                    IL       60970   USA       12/28/20            $31,270.36         OTHER
JMC COMPANY, INC                               40 SOUTH 7TH ST                       STE 212-314                 MINNEAPOLIS                                MN       55402   USA       12/28/20            $13,945.00         OTHER
KIDSEMBRACE                                    INSPIRED PRODUCTS                     6711 ODESSA AVE             VAN NUYS                                   CA       91406   USA       12/28/20            $23,940.00         OTHER
JACQUELINE PIPES                               400 S HOUGH ST.                                                   BARRINGTON                                 MN       60010   USA       12/29/20               $928.48         OTHER
CLEAR THINKING GROUP LLC                       401 TOWNE CENTRE DR                                               HILLSBOROUGH                               NJ       08844   USA       12/30/20            $20,000.00         OTHER
LOCOMOTIVE SOLUTIONS LLC                       2663 GRANDBURY GROVE ROAD                                         LAKELAND                                   FL       33811   USA       12/30/20            $13,500.60         OTHER
C & L TRUCKING & MAINTENANCE                   300 N VETERANS PARKWAY                                            WATSEKA                                    IL       60970   USA       12/31/20            $99,125.62         OTHER
CROWN CREDIT COMPANY                           P.O. BOX 640352                                                   CINCINNATI                                 OH       45264   USA       12/31/20            $24,094.68         OTHER
HICKSGAS                                       1620 E WALNUT                                                     WATSEKA                                    IL       60970   USA       12/31/20               $104.50         OTHER
HICKSGAS                                       1620 E WALNUT                                                     WATSEKA                                    IL       60970   USA       12/31/20               $257.40         OTHER
LEVI STRAUSS & CO.                             1155 BATTERY STREET, LS/5                                         SAN FRANCISCO                              CA       94111   USA       12/31/20                 $0.01         OTHER
ORGILL DISTRIBUTING                            3742 TYNDALE DRIVE                                                MEMPHIS                                    TN       38125   USA       12/31/20                 $0.02         OTHER
STEEPLECHASE ADVISORS, LLC                     601 CARLSON PKWY                      SUITE 1050                  MINNETONKA                                 MN       55305   USA       12/31/20            $19,341.50         OTHER
ORACLE AMERICA, INC.                           BANK OF AMERICA LOCKBOX SERV          15612 COLLECTIONS CTR DR    CHICAGO                                    IL       60693   USA       1/6/21              $20,067.70         OTHER
CLEAR THINKING GROUP LLC                       401 TOWNE CENTRE DR                                               HILLSBOROUGH                               NJ       08844   USA       1/7/21            $104,400.00          OTHER
DONLIN RECANO & COMPANY, INC.                  6201 15th Ave                                                     BROOKLYN                                   NY       11219   USA       1/7/21              $50,000.00         OTHER
FREDRIKSON & BRYAN P.A.                        P.O. BOX 1484                                                     MINNEAPOLIS                                MN       55480   USA       1/7/21            $125,000.00          OTHER
ICC BUSINESS PRODUCTS                          PO BOX 26058                                                      INDIANAPOLIS                               IN       46226   USA       1/7/21              $42,972.55         OTHER
JENNY DEMARS                                   6322 JEWEL BAY S                                                  COTTAGE GROVE                              MN       55016   USA       1/7/21               $1,384.60         OTHER
LOCOMOTIVE SOLUTIONS LLC                       2663 GRANDBURY GROVE ROAD                                         LAKELAND                                   FL       33811   USA       1/7/21               $3,360.00         OTHER
STEEPLECHASE ADVISORS, LLC                     601 CARLSON PKWY                      SUITE 1050                  MINNETONKA                                 MN       55305   USA       1/7/21              $31,731.25         OTHER
FREDRIKSON & BRYAN P.A.                        P.O. BOX 1484                                                     MINNEAPOLIS                                MN       55480   USA       1/8/21              $73,095.00         OTHER
ALL STATES DNR                                 216 EDWARDS DRIVE                                                                                                             USA       01/01-01/09          $1,809.50         OTHER
CARGILL                                        841 GRAPHIC ARTS ROAD                                                       EMPORIA                          KA       66801   USA       01/01-01/09       $122,983.57          OTHER
ALL STATES DNR                                 216 EDWARDS DRIVE                                                                                                             USA       December            $37,185.05         OTHER
CARGILL                                        841 GRAPHIC ARTS ROAD                                                       EMPORIA                          KA       66801   USA       December          $431,407.08          OTHER
ALL STATES DNR                                 216 EDWARDS DRIVE                                                                                                             USA       November          $226,520.55          OTHER
CARGILL                                        841 GRAPHIC ARTS ROAD                                                       EMPORIA                          KA       66801   USA       November          $574,006.90          OTHER
ALL STATES DNR                                 216 EDWARDS DRIVE                                                                                                             USA       October           $129,007.65          OTHER
CARGILL                                        841 GRAPHIC ARTS ROAD                                                       EMPORIA                          KA       66801   USA       October            $294,729.86         OTHER
HICKSGAS                                       1620 E WALNUT                                                               WATSEKA                          IL       60970   USA       October             $13,946.15         OTHER
PEOPLE'S ETC                                   275 E. Court Street                   Suite 201                             KANKAKEE                         IL       60901   USA       10/15/20          $735,049.79         PAYROLL
PEOPLE'S ETC                                   275 E. Court Street                   Suite 201                             KANKAKEE                         IL       60901   USA       10/15/20             $5,117.75        PAYROLL
PEOPLE'S ETC                                   275 E. Court Street                   Suite 201                             KANKAKEE                         IL       60901   USA       10/16/20                $97.72        PAYROLL
PEOPLE'S ETC                                   275 E. Court Street                   Suite 201                             KANKAKEE                         IL       60901   USA       10/29/20          $747,772.18         PAYROLL
PEOPLE'S ETC                                   275 E. Court Street                   Suite 201                             KANKAKEE                         IL       60901   USA       11/10/20          $755,157.53         PAYROLL
PEOPLE'S ETC                                   275 E. Court Street                   Suite 201                             KANKAKEE                         IL       60901   USA       11/24/20          $748,636.27         PAYROLL
PEOPLE'S ETC                                   275 E. Court Street                   Suite 201                             KANKAKEE                         IL       60901   USA       12/8/20           $769,972.66         PAYROLL
PEOPLE'S ETC                                   275 E. Court Street                   Suite 201                             KANKAKEE                         IL       60901   USA       12/9/20              $4,746.61        PAYROLL
PEOPLE'S ETC                                   275 E. Court Street                   Suite 201                             KANKAKEE                         IL       60901   USA       12/9/20                $189.18        PAYROLL
PEOPLE'S ETC                                   275 E. Court Street                   Suite 201                             KANKAKEE                         IL       60901   USA       12/15/20               $236.83        PAYROLL
PEOPLE'S ETC                                   275 E. Court Street                   Suite 201                             KANKAKEE                         IL       60901   USA       12/22/20          $748,663.59         PAYROLL
PEOPLE'S ETC                                   275 E. Court Street                   Suite 201                             KANKAKEE                         IL       60901   USA       1/4/21                 $613.98        PAYROLL
PEOPLE'S ETC                                   275 E. Court Street                   Suite 201                             KANKAKEE                         IL       60901   USA       1/6/21           $1,043,841.82        PAYROLL
PEOPLE'S ETC                                   275 E. Court Street                   Suite 201                             KANKAKEE                         IL       60901   USA       1/7/21               $3,640.15        PAYROLL
KEY BANK                                                                                                                                                0        0       0   USA       11/1/20           $630,635.87            RENT




                                                                                                            Page 7 of 10
                                       Case 21-30037                  Doc 128      Filed 02/08/21 Entered 02/08/21 16:11:35
                                                                                                         Tea Olive I, LLC
                                                                                                                                                                                     Desc Main
                                                                                  Document      Page 207 of 214
                                                                          Certain payments or transfers to creditors within 90 days before filing this case



Form 207 - Statement of Financial Affairs # 3 - EXHIBIT A

                                                                                                                                                                                       Payment                     Reason for Payment or
              Creditor's Name                                Address 1                           Address 2                             City                State     ZIP   Country        Date   Payment Amount          Transfer
CENTRAL BIG R                                  PO BOX 158                                                                  WATSEKA                        IL       60970   USA       11/2/20          $20,000.00           RENT
CLOCKTOWER PLAZA, LLC                          970 WINDHAM COURT                     SUITE 7                               BOARDMAN                       OH       44512   USA       11/2/20          $29,948.75           RENT
FINDLAY MALL CAPITAL HOLDING, LL               1010 NORTHERN BLVD                    SUITE 212                             GREAT NECK                     NY       11021   USA       11/2/20          $30,472.58           RENT
FOX RIVER PLAZA, LLC                           138 BUNTROCK AVE                                                            THIENSVILLE                    WI       53092   USA       11/2/20          $20,000.00           RENT
HOME DEPOT USA, INC.                           ATTN: LOCKBOX 7491                    400 WHITE CLAY CENTER DR.             NEWARD                         DE       19711   USA       11/2/20          $15,812.50           RENT
ILLIANA REALTY LLC                             PO BOX 158                                                                  WATSEKA                        IL       60970   USA       11/2/20           $2,000.00           RENT
JUNIPER I, LLC                                 3435 PROMENADE AVE #1001                                                    EAGAN                          MN       55123   USA       11/2/20          $24,207.35           RENT
JUNIPER II, LLC                                3435 PROMENADE AVE #1001                                                    EAGAN                          MN       55123   USA       11/2/20          $40,090.75           RENT
NORTHPOINT DEVELOPMENT HOLDINGS                ATTN: KEITH WEINSTEIN                 20 NORTHPOINT DR                      STREATOR                       IL       61364   USA       11/2/20          $14,089.00           RENT
PINK DOGWOOD I                                 3435 PROMENADE AVE #1001                                                    EAGAN                          MN       55123   USA       11/2/20          $25,312.50           RENT
SERITAGE SRC FINANCE LLC                       PO BOX 776148                                                               CHICAGO                        IL       60677   USA       11/2/20          $28,292.18           RENT
JUNIPER I, LLC                                 3435 PROMENADE AVE #1001                                                    EAGAN                          MN       55123   USA       11/30/20         $24,207.35           RENT
JUNIPER II, LLC                                3435 PROMENADE AVE #1001                                                    EAGAN                          MN       55123   USA       11/30/20         $40,090.75           RENT
PINK DOGWOOD I                                 3435 PROMENADE AVE #1001                                                    EAGAN                          MN       55123   USA       11/30/20         $25,312.50           RENT
CENTRAL BIG R                                  PO BOX 158                                                                  WATSEKA                        IL       60970   USA       12/1/20          $20,000.00           RENT
ILLIANA REALTY LLC                             PO BOX 158                                                                  WATSEKA                        IL       60970   USA       12/1/20           $2,000.00           RENT
JODA CRABTREE                                  PO BOX 461                                                                  WATSEKA                        IL       60970   USA       12/1/20           $8,000.00           RENT
KEY BANK                                                                                                                                                0      0       0   USA       12/1/20         $630,635.87           RENT
CLOCKTOWER PLAZA, LLC                          970 WINDHAM COURT                     SUITE 7                               BOARDMAN                       OH       44512   USA       12/18/20         $29,948.75           RENT
FINDLAY MALL CAPITAL HOLDING, LL               1010 NORTHERN BLVD                    SUITE 212                             GREAT NECK                     NY       11021   USA       12/18/20         $30,472.58           RENT
FOX RIVER PLAZA, LLC                           138 BUNTROCK AVE                                                            THIENSVILLE                    WI       53092   USA       12/18/20         $20,000.00           RENT
HOME DEPOT USA, INC.                           ATTN: LOCKBOX 7491                    400 WHITE CLAY CENTER DR.             NEWARD                         DE       19711   USA       12/18/20         $15,812.50           RENT
NORTHPOINT DEVELOPMENT HOLDINGS                ATTN: KEITH WEINSTEIN                 20 NORTHPOINT DR                      STREATOR                       IL       61364   USA       12/18/20         $14,089.00           RENT
SERITAGE SRC FINANCE LLC                       PO BOX 776148                                                               CHICAGO                        IL       60677   USA       12/18/20         $28,292.18           RENT
WHITEWATER MANAGEMENT                          12301 WHITEWATER DRIVE                SUITE 110                             MINNETONKA                     MN       55343   USA       November         $14,315.00           RENT
WHITEWATER MANAGEMENT                          12301 WHITEWATER DRIVE                SUITE 110                             MINNETONKA                     MN       55343   USA       December         $14,845.76           RENT
OGLE COUNTY COLLECTOR                          P.O. BOX 40                                                                 OGLE                           IL               USA       10/13/20         $21,148.80          TAXES
TAZEWELL COUNTY COLLECTOR                      11 S. 4TH ST. STE 308                                                       TAZEWELL                       IL               USA       10/13/20         $24,581.44          TAXES
INDIANA DEPT. OF REVENUE                       P.O. BOX 1674                                                               INDIANAPOLIS                   IN       46206   USA       10/16/20        $312,089.65          TAXES
OHIO                                                                                                                                                                       USA       10/26/20         $37,084.22          TAXES
OHIO                                                                                                                                                                       USA       10/26/20         $35,542.97          TAXES
COMCAST                                        PO BOX 70219                                                                PHILADELPHIA                   PA       19176   USA       10/12/20            $431.98        UTILITIES
COMCAST                                        PO BOX 70219                                                                PHILADELPHIA                   PA       19176   USA       10/15/20            $220.27        UTILITIES
COMCAST                                        PO BOX 70219                                                                PHILADELPHIA                   PA       19176   USA       10/15/20            $173.35        UTILITIES
AMEREN ILLINOIS                                P.O. BOX 88034                                                              CHICAGO                        IL       60680   USA       10/16/20            $361.97        UTILITIES
AMEREN ILLINOIS                                P.O. BOX 88034                                                              CHICAGO                        IL       60680   USA       10/19/20          $2,040.24        UTILITIES
INDIANA MICHIGAN POWER                         P.O. BOX 371496                                                             PITTSBURGH                     PA       15250   USA       10/19/20          $4,902.24        UTILITIES
ILLINOIS-AMERICAN WATER CO.                    P.O. BOX 6029                                                               CAROL STEAM                    IL       60197   USA       10/20/20          $1,000.00        UTILITIES
MORRIS MUNICIPAL SERVICES BUILDI               700 N DIVISION ST                                                           MORRIS                         IL       60450   USA       10/20/20            $851.74        UTILITIES
SYMMETRY ENERGY SOLUTIONS LLC                  1111 LOUISIANA ST                     B-241                                 HOUSTON                        TX       77002   USA       10/22/20          $1,196.19        UTILITIES
INDIANA-AMERICAN WATER CO., INC.               P.O. BOX 6029                                                               CAROL STREAM                   IL       60197   USA       10/26/20            $417.24        UTILITIES
NIPSCO                                         P.O. BOX 13007                                                              MERRILLVILLE                   IN       46411   USA       10/26/20         $15,656.77        UTILITIES
AMEREN ILLINOIS                                P.O. BOX 88034                                                              CHICAGO                        IL       60680   USA       10/27/20          $4,698.29        UTILITIES
CITY OF LIMA UTILITIES DEPT.                   P.O. BOX 183199                                                             COLUMBUS                       OH       43218   USA       10/29/20          $2,772.13        UTILITIES
CONSUMERS ENERGY                               PAYMENT CENTER                        PO BOX 740309                         CINCINNATI                     OH       45274   USA       10/29/20          $3,091.60        UTILITIES
AMERICAN ELECTRIC POWER                        P.O BOX 371496                                                              PITTSBURG                      PA       15250   USA       10/30/20          $6,361.64        UTILITIES
DYNEGY ENERGY SERVICES                         27679 NETWORK PLAZA                                                         CHICAGO                        IL       60673   USA       10/30/20         $25,798.21        UTILITIES
FRONTIER                                       PO BOX 740407                                                               CINCINNATI                     OH       45274   USA       10/30/20            $348.87        UTILITIES
MARION MUNICIPAL UTILITIES                     P.O. BOX 718                                                                MARION                         IN       46952   USA       10/30/20          $2,991.50        UTILITIES
SPECTRUM ENTERPRISE                            TIME WARNER CABLE                     BOX 223085                            PITTSBURGH                     PA       15251   USA       10/30/20            $473.40        UTILITIES
CITY OF WATSEKA                                P.O. BOX 338                                                                WATSEKA                        IL       60970   USA       11/2/20              $25.14        UTILITIES
ELKHART PUPLIC UTILITIES                       P.O. BOX 116                                                                GOSHEN                         IN       46527   USA       11/5/20             $217.69        UTILITIES
AMERICAN ELECTRIC POWER                        P.O BOX 371496                                                              PITTSBURG                      PA       15250   USA       11/9/20              $38.18        UTILITIES
INDIANA MICHIGAN POWER                         P.O. BOX 371496                                                             PITTSBURGH                     PA       15250   USA       11/9/20           $7,763.16        UTILITIES
INDIANA MICHIGAN POWER                         P.O. BOX 371496                                                             PITTSBURGH                     PA       15250   USA       11/9/20           $8,282.87        UTILITIES
INDIANA MICHIGAN POWER                         P.O. BOX 371496                                                             PITTSBURGH                     PA       15250   USA       11/9/20             $233.45        UTILITIES
AMEREN ILLINOIS                                P.O. BOX 88034                                                              CHICAGO                        IL       60680   USA       11/10/20          $1,439.59        UTILITIES
CRAWFORDSVILLE ELECTRIC LIGHT                  P.O. BOX 428                                                                CRAWFORDSVILLE                 IN       47933   USA       11/10/20         $10,218.41        UTILITIES
ILLINOIS-AMERICAN WATER CO.                    P.O. BOX 6029                                                               CAROL STEAM                    IL       60197   USA       11/10/20            $420.90        UTILITIES
ILLINOIS-AMERICAN WATER CO.                    P.O. BOX 6029                                                               CAROL STEAM                    IL       60197   USA       11/10/20            $122.94        UTILITIES
SWAYZEE PHONE CO                               214 S WASHINGTON ST.                                                        SWAYZEE                        IN       46986   USA       11/10/20            $319.24        UTILITIES
ALLIANT ENERGY                                 PO BOX 3062                                                                 CEDAR RAPIDS                   IA       52406   USA       11/12/20          $3,449.25        UTILITIES




                                                                                                            Page 8 of 10
                                       Case 21-30037                 Doc 128      Filed 02/08/21 Entered 02/08/21 16:11:35
                                                                                                        Tea Olive I, LLC
                                                                                                                                                                                    Desc Main
                                                                                 Document      Page 208 of 214
                                                                         Certain payments or transfers to creditors within 90 days before filing this case



Form 207 - Statement of Financial Affairs # 3 - EXHIBIT A

                                                                                                                                                                                      Payment                     Reason for Payment or
             Creditor's Name                                Address 1                           Address 2                             City                State     ZIP   Country        Date   Payment Amount          Transfer
MICHIANA RECYCLING AND DISPOSAL                P.O. BOX 1148                                                              NILES                          MI       49120   USA       11/12/20            $583.50        UTILITIES
AMERICAN ELECTRIC POWER                        P.O BOX 371496                                                             PITTSBURG                      PA       15250   USA       11/16/20         $11,566.35        UTILITIES
INDIANA MICHIGAN POWER                         P.O. BOX 371496                                                            PITTSBURGH                     PA       15250   USA       11/16/20          $4,275.19        UTILITIES
NIPSCO                                         P.O. BOX 13007                                                             MERRILLVILLE                   IN       46411   USA       11/17/20         $16,150.05        UTILITIES
AMEREN ILLINOIS                                P.O. BOX 88034                                                             CHICAGO                        IL       60680   USA       11/18/20         $11,599.26        UTILITIES
AMEREN ILLINOIS                                P.O. BOX 88034                                                             CHICAGO                        IL       60680   USA       11/18/20          $1,880.86        UTILITIES
LANSING BOARD OF WATER AND LIGHT               148 S CEDAR ST.                                                            LANSING                        MI       48912   USA       11/18/20         $26,089.50        UTILITIES
AMEREN ILLINOIS                                P.O. BOX 88034                                                             CHICAGO                        IL       60680   USA       11/19/20            $289.74        UTILITIES
AMEREN ILLINOIS                                P.O. BOX 88034                                                             CHICAGO                        IL       60680   USA       11/19/20            $175.04        UTILITIES
AMEREN ILLINOIS                                P.O. BOX 88034                                                             CHICAGO                        IL       60680   USA       11/20/20            $700.80        UTILITIES
AT&T                                           P.O.BOX 5014                                                               CAROL STREAM                   IL       60197   USA       11/20/20            $175.56        UTILITIES
INDIANA MICHIGAN POWER                         P.O. BOX 371496                                                            PITTSBURGH                     PA       15250   USA       11/20/20          $4,144.04        UTILITIES
AMEREN ILLINOIS                                P.O. BOX 88034                                                             CHICAGO                        IL       60680   USA       11/23/20          $1,929.15        UTILITIES
DYNEGY ENERGY SERVICES                         27679 NETWORK PLAZA                                                        CHICAGO                        IL       60673   USA       11/23/20         $56,287.44        UTILITIES
AMEREN ILLINOIS                                P.O. BOX 88034                                                             CHICAGO                        IL       60680   USA       12/1/20           $6,011.28        UTILITIES
AQUA ILLINOIS                                  P.O BOX 70279                                                              PHILADELPHIA                   PA       19176   USA       12/2/20             $620.89        UTILITIES
DUKE ENERGY                                    P.O. BOX 1326                                                              CHARLOTTE                      NC       28201   USA       12/2/20          $10,008.50        UTILITIES
DUKE ENERGY                                    P.O. BOX 1326                                                              CHARLOTTE                      NC       28201   USA       12/2/20           $8,584.85        UTILITIES
DUKE ENERGY                                    P.O. BOX 1326                                                              CHARLOTTE                      NC       28201   USA       12/2/20           $9,919.78        UTILITIES
INDIANA-AMERICAN WATER CO., INC.               P.O. BOX 6029                                                              CAROL STREAM                   IL       60197   USA       12/2/20             $516.95        UTILITIES
INDIANA-AMERICAN WATER CO., INC.               P.O. BOX 6029                                                              CAROL STREAM                   IL       60197   USA       12/2/20             $415.36        UTILITIES
INDIANA-AMERICAN WATER CO., INC.               P.O. BOX 6029                                                              CAROL STREAM                   IL       60197   USA       12/2/20             $391.27        UTILITIES
ILLINOIS-AMERICAN WATER CO.                    P.O. BOX 6029                                                              CAROL STEAM                    IL       60197   USA       12/3/20             $135.26        UTILITIES
ILLINOIS-AMERICAN WATER CO.                    P.O. BOX 6029                                                              CAROL STEAM                    IL       60197   USA       12/3/20             $255.22        UTILITIES
ILLINOIS-AMERICAN WATER CO.                    P.O. BOX 6029                                                              CAROL STEAM                    IL       60197   USA       12/3/20             $182.27        UTILITIES
INDIANA-AMERICAN WATER CO., INC.               P.O. BOX 6029                                                              CAROL STREAM                   IL       60197   USA       12/3/20             $275.06        UTILITIES
INDIANA-AMERICAN WATER CO., INC.               P.O. BOX 6029                                                              CAROL STREAM                   IL       60197   USA       12/3/20             $275.06        UTILITIES
AMEREN ILLINOIS                                P.O. BOX 88034                                                             CHICAGO                        IL       60680   USA       12/4/20           $1,719.74        UTILITIES
AMEREN ILLINOIS                                P.O. BOX 88034                                                             CHICAGO                        IL       60680   USA       12/4/20           $1,518.00        UTILITIES
AQUA ILLINOIS                                  P.O BOX 70279                                                              PHILADELPHIA                   PA       19176   USA       12/4/20              $68.70        UTILITIES
AQUA ILLINOIS                                  P.O BOX 70279                                                              PHILADELPHIA                   PA       19176   USA       12/4/20             $484.73        UTILITIES
VECTREN ENERGY DELIVERY                        P.O. BOX 1423                                                              HOUSTON                        TX       77251   USA       12/4/20             $951.06        UTILITIES
COMCAST                                        PO BOX 70219                                                               PHILADELPHIA                   PA       19176   USA       12/7/20             $545.94        UTILITIES
COMCAST                                        PO BOX 70219                                                               PHILADELPHIA                   PA       19176   USA       12/7/20             $444.29        UTILITIES
ILLINOIS-AMERICAN WATER CO.                    P.O. BOX 6029                                                              CAROL STEAM                    IL       60197   USA       12/7/20             $208.81        UTILITIES
INDIANA MICHIGAN POWER                         P.O. BOX 371496                                                            PITTSBURGH                     PA       15250   USA       12/7/20           $6,962.81        UTILITIES
AMERICAN ELECTRIC POWER                        P.O BOX 371496                                                             PITTSBURG                      PA       15250   USA       12/8/20              $38.75        UTILITIES
AMEREN ILLINOIS                                P.O. BOX 88034                                                             CHICAGO                        IL       60680   USA       12/9/20           $1,931.86        UTILITIES
AMERICAN ELECTRIC POWER                        P.O BOX 371496                                                             PITTSBURG                      PA       15250   USA       12/9/20           $4,687.88        UTILITIES
AT&T                                           P.O.BOX 5014                                                               CAROL STREAM                   IL       60197   USA       12/9/20             $369.91        UTILITIES
AT&T                                           P.O.BOX 5014                                                               CAROL STREAM                   IL       60197   USA       12/9/20             $310.44        UTILITIES
COMCAST                                        PO BOX 70219                                                               PHILADELPHIA                   PA       19176   USA       12/9/20             $153.35        UTILITIES
AMEREN ILLINOIS                                P.O. BOX 88034                                                             CHICAGO                        IL       60680   USA       12/10/20          $1,931.86        UTILITIES
AMERICAN ELECTRIC POWER                        P.O BOX 371496                                                             PITTSBURG                      PA       15250   USA       12/11/20         $12,007.85        UTILITIES
AMEREN ILLINOIS                                P.O. BOX 88034                                                             CHICAGO                        IL       60680   USA       12/14/20         $12,785.60        UTILITIES
AMEREN ILLINOIS                                P.O. BOX 88034                                                             CHICAGO                        IL       60680   USA       12/14/20            $434.00        UTILITIES
AQUA ILLINOIS                                  P.O BOX 70279                                                              PHILADELPHIA                   PA       19176   USA       12/14/20            $166.52        UTILITIES
AQUA ILLINOIS                                  P.O BOX 70279                                                              PHILADELPHIA                   PA       19176   USA       12/14/20            $511.58        UTILITIES
LANSING BOARD OF WATER AND LIGHT               148 S CEDAR ST.                                                            LANSING                        MI       48912   USA       12/14/20         $26,086.54        UTILITIES
AMEREN ILLINOIS                                P.O. BOX 88034                                                             CHICAGO                        IL       60680   USA       12/15/20            $161.25        UTILITIES
AMEREN ILLINOIS                                P.O. BOX 88034                                                             CHICAGO                        IL       60680   USA       12/15/20          $2,091.06        UTILITIES
AMEREN ILLINOIS                                P.O. BOX 88034                                                             CHICAGO                        IL       60680   USA       12/15/20            $858.95        UTILITIES
CALL ONE                                       PO BOX 76112                                                               CLEVELAND                      OH       44101   USA       12/15/20         $14,370.17        UTILITIES
AMEREN ILLINOIS                                P.O. BOX 88034                                                             CHICAGO                        IL       60680   USA       12/16/20          $2,168.39        UTILITIES
AMEREN ILLINOIS                                P.O. BOX 88034                                                             CHICAGO                        IL       60680   USA       12/16/20            $399.97        UTILITIES
AQUA ILLINOIS                                  P.O BOX 70279                                                              PHILADELPHIA                   PA       19176   USA       12/16/20          $1,108.85        UTILITIES
CONSUMERS ENERGY                               PAYMENT CENTER                       PO BOX 740309                         CINCINNATI                     OH       45274   USA       12/16/20          $1,467.97        UTILITIES
CITY OF FINDLAY - WATER AND                    WASTEWATER DEPT.                     136 N. BLANCHARD ST.                  FINDLAY                        OH       45840   USA       12/18/20            $441.41        UTILITIES
CRAWFORDSVILLE ELECTRIC LIGHT                  P.O. BOX 428                                                               CRAWFORDSVILLE                 IN       47933   USA       12/18/20          $9,724.45        UTILITIES
DUKE ENERGY                                    P.O. BOX 1326                                                              CHARLOTTE                      NC       28201   USA       12/18/20             $70.00        UTILITIES
SPECTRUM ENTERPRISE                            TIME WARNER CABLE                    BOX 223085                            PITTSBURGH                     PA       15251   USA       12/18/20            $201.59        UTILITIES
AMEREN ILLINOIS                                P.O. BOX 88034                                                             CHICAGO                        IL       60680   USA       12/22/20         $23,819.31        UTILITIES




                                                                                                           Page 9 of 10
                                       Case 21-30037               Doc 128       Filed 02/08/21 Entered 02/08/21 16:11:35
                                                                                                       Tea Olive I, LLC
                                                                                                                                                                                   Desc Main
                                                                                Document      Page 209 of 214
                                                                        Certain payments or transfers to creditors within 90 days before filing this case



Form 207 - Statement of Financial Affairs # 3 - EXHIBIT A

                                                                                                                                                                                      Payment                     Reason for Payment or
             Creditor's Name                                Address 1                          Address 2                            City                 State     ZIP   Country        Date    Payment Amount          Transfer
ILLINOIS-AMERICAN WATER CO.                    P.O. BOX 6029                                                              CAROL STEAM                   IL       60197   USA       12/23/20             $998.05        UTILITIES
ILLINOIS-AMERICAN WATER CO.                    P.O. BOX 6029                                                              CAROL STEAM                   IL       60197   USA       12/23/20             $143.51        UTILITIES
ILLINOIS-AMERICAN WATER CO.                    P.O. BOX 6029                                                              CAROL STEAM                   IL       60197   USA       12/23/20             $132.34        UTILITIES
MEDIACOM                                       611 S. 4TH ST                                                              CHILLICOTHE                   IL       61523   USA       12/28/20           $2,099.01        UTILITIES
CALL ONE                                       PO BOX 76112                                                               CLEVELAND                     OH       44101   USA       12/31/20           $4,075.80        UTILITIES
INDIANA MICHIGAN POWER                         P.O. BOX 371496                                                            PITTSBURGH                    PA       15250   USA       1/4/21               $205.15        UTILITIES
NIPSCO                                         P.O. BOX 13007                                                             MERRILLVILLE                  IN       46411   USA       1/4/21               $325.58        UTILITIES
ILLINOIS-AMERICAN WATER CO.                    P.O. BOX 6029                                                              CAROL STEAM                   IL       60197   USA       1/6/21               $209.18        UTILITIES
ILLINOIS-AMERICAN WATER CO.                    P.O. BOX 6029                                                              CAROL STEAM                   IL       60197   USA       1/6/21               $442.99        UTILITIES
ILLINOIS-AMERICAN WATER CO.                    P.O. BOX 6029                                                              CAROL STEAM                   IL       60197   USA       1/6/21                $15.00        UTILITIES
ILLINOIS-AMERICAN WATER CO.                    P.O. BOX 6029                                                              CAROL STEAM                   IL       60197   USA       1/6/21               $105.80        UTILITIES
ILLINOIS-AMERICAN WATER CO.                    P.O. BOX 6029                                                              CAROL STEAM                   IL       60197   USA       1/6/21                $92.00        UTILITIES
INDIANA-AMERICAN WATER CO., INC.               P.O. BOX 6029                                                              CAROL STREAM                  IL       60197   USA       1/6/21               $478.45        UTILITIES
INDIANA-AMERICAN WATER CO., INC.               P.O. BOX 6029                                                              CAROL STREAM                  IL       60197   USA       1/6/21             $3,381.45        UTILITIES
INDIANA-AMERICAN WATER CO., INC.               P.O. BOX 6029                                                              CAROL STREAM                  IL       60197   USA       1/6/21               $367.10        UTILITIES
INDIANA-AMERICAN WATER CO., INC.               P.O. BOX 6029                                                              CAROL STREAM                  IL       60197   USA       1/6/21               $683.44        UTILITIES
INDIANA-AMERICAN WATER CO., INC.               P.O. BOX 6029                                                              CAROL STREAM                  IL       60197   USA       1/6/21               $524.75        UTILITIES
INDIANA-AMERICAN WATER CO., INC.               P.O. BOX 6029                                                              CAROL STREAM                  IL       60197   USA       1/6/21               $417.25        UTILITIES
NICOR                                          P.O. BOX 5407                                                              CAROL STREAM                  IL       60197   USA       1/6/21               $450.66        UTILITIES
NICOR                                          P.O. BOX 5407                                                              CAROL STREAM                  IL       60197   USA       1/6/21               $178.48        UTILITIES
NICOR                                          P.O. BOX 5407                                                              CAROL STREAM                  IL       60197   USA       1/6/21               $858.32        UTILITIES
AMERICAN ELECTRIC POWER                        P.O BOX 371496                                                             PITTSBURG                     PA       15250   USA       December          $16,156.65        UTILITIES
AT&T                                           P.O.BOX 5014                                                               CAROL STREAM                  IL       60197   USA       December           $3,957.79        UTILITIES
COMCAST                                        PO BOX 70219                                                               PHILADELPHIA                  PA       19176   USA       December           $4,497.42        UTILITIES
IN/IL AMERICAN WATER                           870 IN-32                                                                  WINCHESTER                    IN       47394   USA       December             $842.58        UTILITIES
STEEPLECHASE ADVISORS, LLC                     601 CARLSON PKWY                    SUITE 1050                             MINNETONKA                    MN       55305   USA       12/23/2020        $19,341.50         OTHER
TIGER CAPITAL GROUP                            99 PARK AVE                         #1930                                  NEW YORK                      NY       10016   USA       12/23/2020       $175,000.00         OTHER




                                                                                                          Page 10 of 10
                             Case 21-30037               Doc 128             Filed 02/08/21 Entered 02/08/21 16:11:35 Desc Main
                                                                                         Tea Olive I, LLC
                                                                           Document            Page 210 of 214
                         All financial institutions, creditors, and other parties to whom the debtor issued a financial statement within 2 years before filing this case




Form 207 - Statement of Financial Affairs #26D - Exhibit B

                     Name                                      Address 1                             Address 2             Address 3                 City               State    ZIP    Country
ARIAT INTERNATIONAL                           PO BOX 201282                                                                              DALLAS                        TX       75320    USA
Atradius                                      211 Schilling Circle                           Suite 200                                   Hunt Valley                   MD       21031    USA
BLACK DIAMOND GROUP/CARHARTT FOO              BLACK DIAMOND GROUP                            PO BOX 715108                               CINCINNATI                    OH       45271    USA
BRYAN EQUIPMENT SALES, INC                    PO BOX 645549                                                                              CINCINNATI                    OH       45264    USA
C.O. LYNCH ENTERPRISES                        2655 FAIRVIEW AVENUE                                                                       ROSEVILLE                     MN       55113    USA
CARHARTT                                      PO BOX 856843                                                                              MINNEAPOLIS                   MN       55485    USA
CHAMPION POWER EQUIPMENT                      12039 SMITH AVE                                                                            SANTA FE SPRINGS              CA       90670    USA
CITGO, PETROLEUM CORP                         1293 ELDRIDGE PARKWAY                                                                      HOUSTON                       TX       77077    USA
COLUMBIA SPORTSWEAR                           PO BOX 1450                                                                                MINNEAPOLIS                   MN       55485    USA
Credit International                          204 Stonehinde Ln                                                                          Carle Place                   NY       11514    USA
CROW SHOOTING SUPPLY                          200 SOUTH FRONT STREET                                                                     MONTEZUMA                     IA       50171    USA
DAVIDSON'S GUNS                               6100 WILKINSON DRIVE                                                                       PRESCOTT                      AZ       86301    USA
FACTORY MOTOR PARTS                           PO BOX 9107                                                                                MINNEAPOLIS                   MN       55480    USA
FORNEY INDUSTRIES, INC                        P.O. BOX 563                                   FAX #970-498-9505                           FORT COLLINS                  CO       80522    USA
GENERAC POWER SYSTEMS                         29330 NETWORK PLACE                                                                        CHICAGO                       IL       60673    USA
GERSON COMPANY                                PO BOX 1209                                                                                OLATHE                        KS       66051    USA
GORDINI USA, INC.                             67 ALLEN MARTIN DRIVE                          PO BOX 8440                                 ESSEX JUNCTION                VT       05451    USA
HONEYWELL SAFETY PRODUCTS                     P.O. BOX 418430                                                                            BOSTON                        MA       02241    USA
HUSQVARNA                                     PO BOX 2774                                                                                CAROL STREAM                  IL       60132    USA
INDERA MILLS COMPANY                          PO BOX 890614                                                                              CHARLOTTE                     NC       28289    USA
JESCO FOOTWEAR GROUP INC                      37 WEST 37TH STREET #301                                                                   New York                      NY       10018    USA
JUSTIN BOOTS                                  JUSTIN BRANDS INC                              PO BOX 99188                                FORT WORTH                    TX       76199    USA
KEY INDUSTRIES                                PO BOX 505305                                                                              SAINT LOUIS                   MO       63150    USA
KING KUTTER INC.                              P.O. BOX 1200                                  305 COMMERCE DRIVE                          Winfield                      AL       35594    USA

KNOX FERTILIZER                               2600 E 100 S                                   PO BOX 248                                  KNOX                          IN       46534    USA
KONTOOR BRANDS--WRANGLER                      VF JEANSWEAR L.P                               PO BOX 640017                               PITTSBURGH                    PA       15264    USA
LEVI STRAUSS & CO.                            2313 COLLECTIONS CENTER DR.                                                                CHICAGO                       IL       60693    USA
LIBMAN COMPANY                                5167 EAGLE WAY                                                                             CHICAGO                       IL       60678    USA
MANNA PRO                                     P.O. BOX 959074                                                                            ST. LOUIS                     MO       63195    USA
MIDWEST STIHL                                 PO BOX 117245                                                                              ATLANTA                       GA       30368    USA
NFI FOOTWEAR, INC.                            NATIONAL FASHION IMPORTS INC                   54 FREEMAN ST                               NEWARK                        NJ       07105    USA
ORGILL DISTRIBUTING                           ORGILL INC.                                    P O BOX 1000 DEPT 7                         MEMPHIS                       TN       38148    USA
PERFORMANCE SEED                              Performance Seed                               PO Box 7126                                 St Cloud                      MN       56302    USA
PRESSMAN TOY CORP DBA GOLIATH                 GOLIATH                                        DEPT#3842                  PO BOX           DALLAS                        TX       75312    USA
                                                                                                                        123842
RED WING SHOE                                 24062 NETWORK PLACE                                                                        CHICAGO                       IL       60673    USA
RUST-OLEUM CORPORATION                        PO BOX 931946                                                                              CLEVELAND                     OH       44193    USA
SA CONSUMER PRODUCTS                          3305 W 132ND ST                                                                            LEAKWOOD                      KS       66209    USA
SUTTON HOME FASHIONS                          CIT GROUP COMMERCIAL SERVICES                  PO BOX 1036                                 CHARLOTTE                     NC       28201    USA



                                                                                           Page 1 of 3
                              Case 21-30037               Doc 128             Filed 02/08/21 Entered 02/08/21 16:11:35 Desc Main
                                                                                          Tea Olive I, LLC
                                                                            Document            Page 211 of 214
                          All financial institutions, creditors, and other parties to whom the debtor issued a financial statement within 2 years before filing this case




Form 207 - Statement of Financial Affairs #26D - Exhibit B

               Name                                          Address 1                                Address 2             Address 3              City                  State    ZIP    Country
TOYSMITH                                       3101 WEST VALLEY HWY EAST                                                                  SUMNER                        WA       98390    USA
VELOCITY GREAT OUTDOORS                        1300 VIRGINIA DR.                              SUITE 119                                   FT. WASHINGTON                PA       19034    USA
WABASH VALLEY FARMS                            WABASH VALLEY FARMS, INC.                      6323 N 150 E                                Monon                         IN       47959    USA
WILLIAMSON-DICKIE MFG. CO                      PO BOX 915156                                                                              DALLAS                        TX       75391    USA
WOLVERINE                                      WOLVERINE WORLD WIDE, INC                      25759 NETWORK                               CHICAGO                       IL       60673    USA
                                                                                              PLACE
WORLD MARKETING                                P.O. BOX 192                                                                               MILL CREEK                    PA       17060    USA
WORDLWIDE DISTRIBUTORS                         P.O. BOX 88607                                                                             SEATTLE                       WA       98138    USA
YARDMAX                                        534 CONGRESS CIRCLE NORTH                                                                  ROSELLE                       IL       60172    USA
Nolan Capital                                  58 11th St                                                                                 Hermosa Beach                 CA       90254    USA
Pacific Avenue Capital                         2321 Rosecrans Ave #3255                                                                   El Segundo/Los Angeles        CA       90245    USA
Balmoral Funds LLC                             11150 Santa Monica Blvd #825,                                                              Los Angeles                   CA       90025    USA
Goode Partners                                 767 3rd Ave #22,                                                                           New York                      NY       10017    USA
Bruckmann, Rosser, Sherril & Co.               126 East 56th Street, 29th Floor                                                           New York                      NY       10022    USA
Prospect Hill Growth Partners                  500 Totten Pond Rd, 6th Floor                                                              Waltham                       MA       02451    USA
TA Associates                                  200 Clarendon St, 56th Floor                                                               Boston                        MA       02116    USA
Great Range Capital                            1968 Shawnee Mission Pkwy.                                                                 Mission Woods                 KS       66205    USA
Sun Capital                                    5200 Town Center Cir, 4th Floor                                                            Boca Raton                    FL       33486    USA
Wellspring Capital Mgmt LLC                    390 Park Ave # 5                                                                           New York                      NY       10022    USA
Platinum Equity                                52 Vanderbilt Ave # 1                                                                      New York                      NY       10017    USA
Spell Capital                                  222 South Ninth Street, Suite 2800                                                         Minneapolis                   MN       55402    USA
Critical Point Capital                         1230 Rosecrans Avenue, Suite 170                                                           Los Angeles                   CA       90226    USA
Kingswood Capital Management                   11777 San Vicente Blvd.                                                                    Los Angeles                   CA       90049    USA
Mason Asset Management                         747 Middle Neck Road, Suite 101                                                            Great Neck                    NY       11024    USA
Silverpoint Capital                            20 Horseneck Ln #6300,                                                                     Greenwich                     CT       06830    USA
Schneiders                                     8255 E Washington St.                                                                      Chagrin Falls                 OH       44023    USA
Tyndale Advisors / Orgill                      4100 S Houston Levee Rd                                                                    Collierville                  TN       38017    USA
Runnings                                       901 US-59                                                                                  Marshall                      MN       56258    USA
Menards                                        5101 Menard Dr, Eau Claire                                                                 Eau Claire                    WI       54703    USA
Northern Tool + Equipment                      2800 Southcross Drive West Burnsville                                                      Burnsville                    MN       55306    USA
Pathlight Capital                              18 Shipyard Dr,                                                                            Boston                        MA       02043    USA
Crystal Financial                              Two International Place,17th Floor                                                         Boston                        MA       02110    USA
Gordon Brothers Capital Finance / Callodine    Prudential Tower 800 Boylston Street, 27th Floor                                           Boston                        MA       02199    USA
Hilco Capital Finance                          5 Revere Dr. Suite 206                                                                     Chicago IL                    IL       60062    USA
Tiger Debt/Capital                             60 State St. 11th Floor                                                                    Boston                        MA       02109    USA
Sandton Capital                                16 West 46th Street, 11th Floor                                                            New York                      NY       10036    USA
Solheim Investment Partners LLC                275 Market Street, Suite 600                                                               Minneapolis                   MN       55405    USA
Peak Rock Capital                              13413 Galleria Cir #300                                                                    Austin                        TX       78738    USA
Citizen's Bank                                 One Citizen's Plaza                                                                        Providence                    RI       02903    USA
PNC Business Credit                            1 N Franklin St. Ste 2500                                                                  Chicago IL                    IL       60606    USA



                                                                                            Page 2 of 3
                             Case 21-30037               Doc 128             Filed 02/08/21 Entered 02/08/21 16:11:35 Desc Main
                                                                                         Tea Olive I, LLC
                                                                           Document            Page 212 of 214
                         All financial institutions, creditors, and other parties to whom the debtor issued a financial statement within 2 years before filing this case




Form 207 - Statement of Financial Affairs #26D - Exhibit B

                   Name                                       Address 1                              Address 2             Address 3                City                State    ZIP    Country
White Oak Commercial Finance                  300 N LaSalle, Suite 1825                                                                  Chicago IL                    IL       60654    USA
Assembled Brands                              76 Greene St. 4th floor                                                                    New York                      NY       10012    USA
Tiger Group                                   99 Park Avenue, 19th Floor,                                                                New York                      NY       10016    USA
Hilco Global                                  5 Revere Dr. Suite 206                                                                     Northbrook                    IL       60062    USA
Gordon Brothers                               800 Boylston Street, 27th Floor                                                            Boston                        MA       02199    USA
Great American/B. Riley                       2901 28th Street, Suite 100                                                                Los Angeles                   CA       90405    USA
SB360 Capital Partners                        75 Second Avenue, Suite 570                                                                Needham                       MA       02494    USA
Bank of America                               1 Bryant Park                                                                              New York                      NY       10036    USA
Second Avenue Capital Partners                1010 Northern Blvd.                            Suite 340                                   Great Neck                    NY       11021    USA
CIT/Northbridge                               1010 Northern Blvd.                            Suite 340                                   Great Neck                    NY       11021    USA
Steeplechase Advisors LLC                     5850 Opus Pkwy                                                                             Minnetonka                    MN       55343    USA
Clear Thinking Group                          401 Towne Centre Dr.                                                                       Hillsborough                  NJ       08844    USA
Copeland and Buhl                             800 Wayzata Blvd E                             Suite 300                                   Wayzata                       MN       55391    USA
Eide Bailly                                   800 Nicollet Mall                              Ste 1300                                    Minneapolis                   MN       55402    USA




                                                                                           Page 3 of 3
              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35    Desc Main
                                                                 Document      Page 213 of 214
LOCAL FORM 1007-1
REVISED 06/16
                                                               United States Bankruptcy Court
                                                                      District of Minnesota
 In re      Tea Olive I, LLC                                                                    Case No.   21-30037
                                                                               Debtor(s)        Chapter    11


                             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named
debtor(s) and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be
paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the
bankruptcy case is as follows:

 For legal Services, I have agreed to accept ............................ $ See Application to Employ Fredrikson & Byron, P.A.
 Prior to the filing of this statement I have received                     .............. $ 135,703.00
 Balance Due ............................................................................ $ Amounts to be allowed by the Court

2.     The source of the compensation paid to me was:
             Debtor                               Other (specify)

3.     The source of the compensation to be paid to me is:
             Debtor                                 Other (specify)

4.      I have not agreed to share the above-disclosed compensation with any other person unless they are members and
associates of my law firm.

        I have agreed to share the above-disclosed compensation with another person or persons who are not members or
associates of my law firm. A copy of the agreement, together with a list of the names of the people or entities sharing in
the compensation, is attached.

5.    In return for the above-disclosed fee, together with such further fee, if any, as is provided in the written contract
required by 11 U.S.C. §528(a)(1), I have agreed to render legal service for all aspects of the bankruptcy case, including:

         A. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining whether to file a
         petition in bankruptcy;

         B. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

         C. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings
         thereof;

         D. Representation of the debtor in contested bankruptcy matters; and

         E. Other services reasonably necessary to represent the debtor(s).

6. Pursuant to Local Rules 1007-1 and 1007-3-1, I have advised the debtor of the requirements in the Statement of
Financial Affairs to disclose all payments made, or property transferred, by or on behalf of the debtor to any person,
including attorneys, for consultation concerning debt consolidation or reorganization, relief under bankruptcy law, or
preparation of a petition in bankruptcy. I have reviewed the debtor's disclosures and they are accurate and complete to the
best of my knowledge.



                                                                       CERTIFICATION
                                                                            Page 1 of 2
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              Case 21-30037                    Doc 128            Filed 02/08/21 Entered 02/08/21 16:11:35   Desc Main
                                                                 Document      Page 214 of 214
LOCAL FORM 1007-1
REVISED 06/16


       I certify that the foregoing, together with the written contract required by 11 U.S.C. §528(a)(1), is a complete
statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this bankruptcy case.

 Dated: 2/8/2021                                                              Signature of Attorney
                                                                              /e/ Clinton E. Cutler
                                                                              Clinton E. Cutler 158094




                                                                            Page2 of 2
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